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                        IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
                                    www.flsb.uscourts.gov

                                                                    Chapter 11
In re:
                                                                    Case No. 18-19121-RBR
I GLOBAL CAPITAL LLC, et al.,1
                                                                    (Jointly Administered)
                                   Debtor.



                  GLOBAL NOTES, RESERVATION OF RIGHTS, AND
                STATEMENT OF LIMITATIONS, METHODOLOGY AND
            DISCLAIMER REGARDING DEBTORS’ SCHEDULES AND SOFAs

        1 Global Capital LLC and 1 West Capital LLC (the “Debtors”) are contemporaneously
filing these Global Notes (as defined below) as a supplement to and integral part of their
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the
“SOFAs”) filed in the Bankruptcy Court for the Southern District of Florida (the “Bankruptcy
Court”). The Debtors prepared their Schedules and SOFAs pursuant to section 521 of Title 11 of
the United States Code, as amended (the “Bankruptcy Code”), and Rule 1007 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), with the assistance of their advisors.
These Global Notes, Reservation of Rights, and Statement of Limitations, Methodology and
Disclaimer Regarding Debtors’ Schedules and SOFAs (the “Global Notes”) pertain to, are
incorporated by reference into, and comprise an integral part of, each of the Schedules and
SOFAs, and should be reviewed in connection with any review of the Schedules and SOFAs.

        The Debtors and their officers, employees, agents, attorneys and financial advisors relied
on financial data derived from the Debtors’ books and records that was available at the time of
preparation, do not guarantee or warrant the accuracy or completeness of the data that is
provided in the Schedules and SOFAs and shall not be liable for any loss or injury arising out of
or caused in whole or in part by any acts or omissions, in procuring, compiling, collecting,
interpreting, reporting, communicating or delivering the information contained herein or in the
Schedules and SOFAs. Except as expressly required by the Bankruptcy Code, the Debtors and
their officers, employees, agents, attorneys and financial advisors do not undertake any
obligation to update, modify, revise or re-categorize the information provided herein or in the
Schedules and SOFAs or to notify any third party should the information be updated, modified,
revised or re-categorized. The Debtors, on behalf of themselves, their officers, employees,
agents and advisors, disclaim any liability to any third party arising out of or related to the
information contained in the Schedules and SOFAs and reserve all rights with respect thereto.

1
 The business addresses and the last four (4) digits of this Debtors’ federal tax identification number is: 1 Global
Capital LLC, 1250 E. Hallandale Beach Blvd., Suite 409, Hallandale Beach, FL 33009 (9517); 1 West Capital LLC,
1250 E. Hallandale Beach Blvd., Suite 409, Hallandale Beach, FL 33009 (1711).
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        The Schedules and SOFAs have been signed by an authorized representative of each of
the Debtors. In reviewing and signing the Schedules and SOFAs, this representative relied upon
the efforts, statements and representations of the Debtors’ other personnel and professionals. The
representative has not (and could not have) personally verified the accuracy of each such
statement and representation, including, for example, statements and representations concerning
amounts owed to creditors and their addresses.

                          Global Notes and Overview of Methodology

         1. Reservation of Rights. Reasonable efforts have been made to prepare and file
complete and accurate Schedules and SOFAs; however, inadvertent errors or omissions may
exist and conflicting, revised, or subsequent information may be discovered. The Debtors (i)
reserve all rights to amend or supplement the Schedules and SOFAs from time to time, in all
respects, as may be necessary or appropriate, including, without limitation, the right to amend the
Schedules and SOFAs with respect to claim (“Claim”) description, designation, or Debtor
against which the Claim is asserted; (ii) dispute or otherwise assert offsets or defenses to any
Claim reflected in the Schedules and SOFAs as to amount, liability, priority, status, or
classification; (iii) subsequently designate any Claim as “disputed,” “contingent,” or
“unliquidated;” or (iv) object to the extent, validity, enforceability, priority, or avoidability of
any Claim. Any failure to designate a Claim in the Schedules as “disputed,” “contingent,” or
“unliquidated” does not constitute an admission by the Debtors that such Claim or amount is not
“disputed,” “contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of
liability by the Debtor against which the Claim is listed or against any of the Debtors.
Furthermore, nothing contained in the Schedules and SOFAs shall constitute a waiver of rights
with respect to the Debtors’ chapter 11 cases (the “Chapter 11 Cases”), including, without
limitation, issues involving Claims, substantive consolidation, defenses, equitable subordination,
recharacterization, and/or Causes of Action (defined below) arising under the provisions of
chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets
or avoid transfers.

        The listing in the Schedules or SOFAs (including, without limitation, Schedule A/B and
Schedule E/F) by the Debtors of any obligation between one Debtor and the other Debtor is a
statement of what appears in the Debtors’ books and records and may not be an accurate
reflection whether such amount would be allowed as a Claim or how such obligations may be
classified and/or characterized in a plan of reorganization or by the Bankruptcy Court. The
Debtors reserve all rights with respect to such obligations. For example, listing a Claim (i) in
Schedule D as “secured,” (ii) in Schedule E as “priority” or (iii) in Schedule F as “unsecured
nonpriority,” or listing a contract in Schedule G as “executory” or “unexpired,” does not
constitute an admission by the Debtor of the legal rights of the claimant or a waiver of the
Debtors' right to recharacterize or reclassify such Claim or contract.

        Any specific reservation of rights contained elsewhere in the Global Notes does not limit
in any respect the foregoing general reservation of rights.

      2. Basis of Presentation. The Schedules and SOFAs reflect financial information for
the Debtors only and do not purport to represent financial statements prepared in accordance
with Generally Accepted Accounting Principles in the United States (“GAAP”), nor are they


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intended to be fully reconciled with any financial statements otherwise prepared and/or
distributed by the Debtors. Additionally, the Schedules and SOFAs contain unaudited
information that is subject to further review and potential adjustment, and reflect the Debtors’
reasonable efforts to report the assets and liabilities of each Debtor on an unconsolidated basis.
Moreover, given, among other things, the valuation and nature of certain liabilities, to the extent
that a Debtor shows more assets than liabilities, this is not a conclusion that such Debtor was
solvent at the petition date. Likewise, to the extent that a Debtor shows more liabilities than
assets, this is not a conclusion that such Debtor was insolvent at the petition date or any time
prior to the petition date.

       3. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

      4. Fiscal Year. Each Debtor’s fiscal year is reported on a 52-week fiscal year, ending
on December 31st.

        5. Recharacterization. Notwithstanding the Debtors’ reasonable best efforts to properly
characterize, classify, categorize or designate certain Claims, assets, executory contracts,
unexpired leases and other items reported in the Schedules and SOFAs, the Debtors may,
nevertheless, have improperly characterized, classified, categorized, designated, or omitted
certain items due to the complexity and size of the Debtors’ businesses. Accordingly, the
Debtors reserve all of their rights to recharacterize, reclassify, recategorize, redesignate, add or
delete items reported in the Schedules and SOFAs at a later time as is necessary or appropriate as
additional information becomes available.

        6. Fair Market Value; Book Value. It would be prohibitively expensive and unduly
burdensome for the Debtors to obtain current market valuations of all of their assets.
Accordingly, unless otherwise indicated, the Schedules and SOFAs reflect net book values for
assets as of the dates stated in the Global Notes as reflected in the Debtors’ books and records.
Amounts ultimately realized may vary from net book value, and such variance may be material.
The asset amounts listed do not include material write-downs that may be necessary. Operating
cash is presented as bank balances as of the petition date. Certain other assets, such as intangible
assets, are listed as undetermined amounts as of the petition date because the book values may
materially differ from fair market values or the Debtors did not capitalize such assets. Claims
listed as being owed to an entity under a memorandum of indebtedness or similar document
(collectively, the “Lenders”) are presented exclusive of any alleged accrued interest.

        7. Estimates. To prepare and file the Schedules in accordance with the deadline
established in these Chapter 11 Cases, the Debtors were required to make certain estimates and
assumptions that affected the reported amounts of assets and liabilities as of the petition date.
The Debtors reserve the right to amend the reported amounts of assets, liabilities, and expenses
to reflect changes in those estimates or assumptions.

       8. Totals and Undetermined Amounts. All totals that are included in the Schedules
and SOFAs represent totals of known amounts only and do not include any undetermined
amounts. To the extent there are unknown or otherwise undetermined amounts, the actual total
may be materially different than the listed total. The description of an amount as “unknown,”
“disputed,” “contingent,” “unliquidated,” or “undetermined” is not intended to reflect upon the


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materiality of such amount. Due to unliquidated, contingent and/or disputed Claims, summary
statistics in the Schedules, SOFAs and Global Notes may significantly understate the Debtors’
liabilities.

       9. Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities
between the pre- and postpetition periods based on the information and research conducted in
connection with the preparation of the Schedules and SOFAs. As additional information
becomes available and further research is conducted, the allocation of liabilities between the pre-
and postpetition periods may change.

       The liabilities listed on the Schedules do not reflect any analysis of Claims under section
503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to dispute
or challenge the characterization, validity, or amount of any asserted Claims under section
503(b)(9) of the Bankruptcy Code.

       The Debtors have excluded potential rejection damage Claims, if any, of counterparties to
executory contracts and unexpired leases. Certain liabilities (including but not limited to certain
reserves, deferred charges, and future contractual obligations) may not be included in the
Debtors’ Schedules. Other immaterial assets and liabilities may also have been excluded.

       The estimate of Claims set forth in the Schedules may not reflect assertions by the
Debtors’ creditors of a right to have such Claims paid or reclassified under the Bankruptcy Code
or orders of the Bankruptcy Court.

        10. Property and Equipment. Nothing in the Schedules or SOFAs (including, without
limitation the failure to list leased property or equipment as owned property or equipment) is, or
shall be construed as, an admission as to the determination of legal status of any lease (including
whether any lease is a true lease or financing arrangement). Property and equipment listed in the
Schedules and SOFAs are presented without consideration of any liens that may attach (or have
attached) to such property and equipment.

        11. Leases. In the ordinary course of business, the Debtors may have leased equipment
and facilities under various operating leases. These agreements are carried by the Debtors at a
zero book value. Any such equipment and facilities leases are reported on Schedule G. To the
extent that there was an amount outstanding under any of these agreements as of the petition
date, the amount owed to the applicable lessor has been listed on Schedule E/F of the Debtors.

        12. Guaranties and Other Secondary Liability Claims. The Debtors have made
reasonable efforts to locate and identify guaranties and other secondary liability Claims
(collectively, the “Guaranties”) in each of the executory contracts, unexpired leases, secured
financings, debt instruments and other such agreements. Where Guaranties have been identified,
they have been included in the relevant Schedule for each Debtor. It is possible that certain
Guaranties embedded in the Debtors’ executory contracts, unexpired leases, secured financings,
debt instruments and other such agreements may have been inadvertently omitted. The Debtors
reserve the right to amend the Schedules to the extent additional Guaranties are identified or such
Guaranties are discovered to have expired or be unenforceable. In addition, the Debtors reserve
the right (i) to amend the Schedules and SOFAs and to recharacterize or reclassify any such



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contract or Claim, and (ii) to contest the validity or enforceability of any such Guaranties.
Additionally, failure to list any Guaranties in the Schedules and SOFAs, including in any future
amendments to the Schedules and SOFAs, shall not affect the enforceability of any Guaranties
not listed.

        13. Claims of Third-Party Related Entities. Although the Debtors have made
reasonable efforts to properly classify each Claim listed in the Schedules as being either disputed
or undisputed, liquidated or unliquidated and/or contingent or noncontingent, the Debtors have
not been able to fully reconcile all payments made to certain third parties and their related
entities on account of the Debtors’ obligations to both such entities and their affiliates.
Therefore, to the extent that the Debtors have classified Claims of a creditor as “disputed”,
“unliquidated” and/or “contingent”, all Claims of such creditor’s affiliates listed in the Schedules
shall similarly be considered as disputed, unliquidated and/or contingent, whether or not they are
designated as such.

        14. Insiders. For purposes of the Schedules and SOFAs, the Debtors define “insider”
pursuant to section 101(31) of the Bankruptcy Code as, (a) officers, (b) relatives of officers of a
Debtor, (c) entities owned or managed by relatives of officers of a Debtor (d) any managing or
registered agent or managing member of a Debtor and (e) entities under common ownership with
a Debtor. Payments to insiders listed in (a) through (e) above are set forth on SOFA Item 4.
Persons listed as “insiders” have been included for informational purposes only. The Debtors
did not take any position with respect to whether such individual or entity could successfully
argue that such individual or entity is not an “insider” under applicable law, including without
limitation, the federal securities laws, or with respect to any theories of liability or for any other
purpose.

        15. Intellectual Property Rights. The exclusion of any intellectual property shall not be
construed as an admission that such intellectual property rights have been abandoned,
terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
acquisition, or other transaction.

       In addition, although the Debtors attribute ownership of all intellectual property to one
Debtor, in certain instances, intellectual property may, in fact, be owned by another Debtor.

       16. Executory Contracts and Unexpired Leases. The Debtors have not necessarily set
forth executory contracts and unexpired leases as assets in the Schedules and SOFAs, even
though these contracts and leases may have some value to the Debtors’ estates. The Debtors’
executory contracts and unexpired leases have been set forth in Schedule G. Additionally, the
Debtors may have listed certain contracts as executory contracts when, under further review and
analysis, such contracts may not be executory. The Debtors’ rejection of executory contracts and
unexpired leases may result in the assertion of rejection damage Claims. The Schedules and
SOFAs do not reflect any Claims for rejection damages. The Debtors reserve the right to make
any arguments and objections with respect to the assertion of any such Claims.

       17. Causes of Action. Despite their reasonable efforts to identify all known assets, the
Debtors may not have listed all of their Causes of Action or potential Causes of Action against
third parties as assets in the Schedules and SOFAs, including, without limitation, Causes of


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Action arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant
non-bankruptcy laws to recover assets or avoid transfers.

        The Debtors reserve all of their rights with respect to any cause of action (including
avoidance actions), controversy, right of setoff, cross-Claim, counter-Claim, or recoupment and
any Claim on contracts or for breaches of duties imposed by law or in equity, demand, right,
action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense,
power, privilege, license, and franchise of any kind or character whatsoever, known, unknown,
fixed or contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether arising
before, on, or after the petition date, in contract or in tort, in law, or in equity, or pursuant to any
other theory of law (collectively, “Causes of Action”) they may have, and neither these Global
Notes nor the Schedules and SOFAs shall be deemed a waiver of any Claims or Causes of
Action or in any way prejudice or impair the assertion of such Claims or Causes of Action.

        18. Intercompany Obligations. The Debtors net any receivables and payables between
a Debtor and an affiliated entity (each transaction an “Intercompany Receivable” or
“Intercompany Payable” and, collectively, the “Intercompany Claims”). Intercompany Claims
are reported as assets on Schedule B. These Intercompany Claims include the following
components, among others: 1) loans to affiliates, 2) centrally billed expenses, and 3) accounting
for trade and other intercompany transactions. These Intercompany Claims may or may not
result in allowed or enforceable Claims by or against a Debtor, and by listing these Claims a
Debtor is not indicating a conclusion that the Intercompany Claims are enforceable.
Intercompany Claims may also be subject to set off, recoupment, and netting not reflected in the
Schedules. In situations where there is not an enforceable Claim, the assets and/or liabilities of a
Debtor may be greater or less than the amounts stated herein. All rights to amend Intercompany
Claims in the Schedules and SOFAs are reserved. The Debtors reserve their rights to later
change the characterization, classification, categorization, or designation of such items.

         19. Entity Classification. The Debtors have endeavored in good faith to identify the
assets owned by the applicable Debtor and the liabilities owed by the applicable Debtor.
Although the Schedules and SOFAs reflect the results of this effort, several factors may impact
the Debtors’ ability to precisely assign assets and liabilities to a particular entity (including non-
Debtor affiliates), including, but not limited to: (i) certain assets may be primarily used by an
entity other than the entity that holds title to such assets according to the Debtors’ books and
records; (ii) certain liabilities may have been nominally incurred by one entity, yet such
liabilities may have actually been incurred by, or the invoices related to such liabilities may have
been issued to or in the name of, an affiliate; and (iii) certain creditors of the Debtors may have
treated one or more of the Debtors and their affiliates as a consolidated entity rather than as
separate entities. The Debtors continue to analyze their relationship among each of the Debtors
and their non-Debtor affiliates and may refine their view of ownership of certain assets or
obligation under certain liabilities as a result of such investigation.

        20. Setoffs. The claims of individual creditors for, among other things, goods, products,
services or taxes are listed as the amounts entered on the Debtors’ books and records and may
not reflect credits, allowances or other adjustments due from such creditors to the Debtors. The
Debtors reserve all of their rights regarding such credits, allowances or other adjustments.


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       21. Global Notes Control. All of the Schedules and SOFAs are subject to and qualified
by the Global Notes. In the event that the Schedules and SOFAs differ from the Global Notes,
the Global Notes shall control.

           SPECIFIC DISCLOSURES WITH RESPECT TO THE SCHEDULES

Schedule A/B - Real and Personal Property

       Except where otherwise noted, the Debtors have included on Scheduled A/B the book
value of owned real and personal property assets.

        As noted above, despite commercially reasonable efforts to identify all known assets, the
Debtors may not have listed all of their Causes of Action or potential Causes of Action against
third parties as assets in their Schedules and SOFAs, including, but not limited to, Causes of
Action arising under the Bankruptcy Code or any other applicable laws to recover assets or avoid
transfers.

         Assets recorded as negative net payables or other prepayments are representative of
credits owed from customers or third parties. Security deposits held by real property lessors,
utility companies and various other third parties have been included on the applicable Debtors’
Schedule A/B.

        The Debtors have performed no independent review of the value of their assets for
purposes of these Schedules, but have provided an estimated view of the net value of such assets
to the Debtors at cost.

Item 7 & 8 – Deposits and Prepayments

       The Debtors’ characterization of an asset listed in these Items is not a legal
characterization of either a deposit or a prepayment. The Debtors reserve all of their rights to re-
categorize and/or recharacterize such asset holdings at a later time as appropriate. Additionally,
the amounts set forth on these Items do not include amounts held as retainers by professionals.

Item 11 – Accounts Receivable

                The Debtors reflect the unaudited, book value of the accounts receivable and
estimate a reserve of uncollectable accounts. The Debtors have not conducted an independent
review of the underlying accounts to determine if the net value of the receivables is accurate. As
such, the final value of the receivables may be more or less than the reported values.

Items 59 – 64 (Part 10: Intangibles and Intellectual Property)

        Internet domain names and websites, licenses, franchises and royalties and other
intellectual property are listed as an undetermined amount because the fair value of such
ownership is dependent on numerous variables and factors and likely differs significantly from
their net book value.




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Item 75 - Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
Including Counterclaims of the Debtors and Rights to Setoff Claims

        The Debtors’ failure to list any contingent and/or unliquidated Claim held by the Debtors
in response to this question shall not constitute a waiver, release, relinquishment, or forfeiture of
such Claim. In the ordinary course of their businesses, the Debtors may have accrued, or may
subsequently accrue, certain rights to counter-Claims, setoffs, refunds, or other warranty Claims
against their suppliers. Additionally, certain of the Debtors may be party to pending litigation in
which the Debtors have asserted, or may assert, Claims as a plaintiff or counter-Claims as a
defendant. Because such Claims are unknown to the Debtors and not quantifiable as of the
petition date, they are not listed in Item 75.

Schedule D - Creditors Holding Secured Claims

        The Claims listed on Schedule D arose or were incurred on various dates. A
determination of the date upon which each Claim arose or was incurred would be unduly
burdensome and cost prohibitive. Accordingly, not all such dates are included. All Claims listed
on Schedule D, however, appear to have been incurred before the petition date. Except as
otherwise agreed pursuant an order of the Bankruptcy Court, the Debtors reserve the right to
dispute or challenge the validity, perfection or priority of any lien purported to be granted or
perfected in any specific asset to a creditor listed on Schedule D. The descriptions provided on
Schedule D are intended only as a summary. Reference to the applicable loan agreements and
related documents is necessary for a complete description of the collateral and the nature, extent
and priority of any liens. Nothing in any Debtor’s Schedule D shall be deemed a modification,
interpretation, or waiver of the terms of any such agreements.

        The Debtors have not included on Schedule D all parties that may believe their Claims
are secured through setoff rights, deposits posted by, or on behalf of, the Debtors, inchoate
statutory lien rights, or real property lessors, utility companies and other parties that may hold
security deposits.

        By listing a party on Schedule D based on a UCC-1 filing, the Debtors are not conceding
that such party actually holds a perfected, unavoidable security interest in the asset that is the
subject of such filing, and reserves all rights as set forth in these Global Notes.

Schedule E/F - Creditors Holding Unsecured Priority and/or Unsecured Non-Priority
Claims

         The Bankruptcy Court has authorized the Debtors, in their discretion, to pay certain
liabilities that may be entitled to priority under the applicable provisions of the Bankruptcy
Code. Although the Debtors received authorization to pay these liabilities, the Debtors have
listed the claims at the value prior to such payment.

        The listing of any Claim on Schedule E/F does not constitute an admission by the
Debtors that such Claim is entitled to priority treatment under section 507 of the Bankruptcy
Code or that the amount of the Claim is accurate. The Debtors reserve their right to dispute the
priority status of any Claim on any basis.



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        The unsecured non-priority Claims of individual creditors for among other things,
products, goods or services are listed as either the lower of the amounts invoiced by the creditor
or the amounts reflected on the Debtors’ books and records and may not reflect credits or
allowances due from such creditors to the Debtors. The Claims listed on Schedule E/F arose or
were incurred on various dates. In certain instances, the date on which a Claim arose may be
subject to dispute. While commercially reasonable efforts have been made, determining the date
upon which each Claim in Schedule E/F was incurred or arose would be unduly burdensome and
cost prohibitive and, therefore, the Debtors do not list respective dates for the Claims listed on
Schedule E/F.

       Schedule E/F reflects the prepetition amounts owing to counterparties to executory
contracts and unexpired leases. Such prepetition amounts, however, may be paid in connection
with the assumption, or assumption and assignment, of executory contracts or unexpired leases.
Additionally, Schedule E/F does not include potential rejection damage Claims, if any, of the
counterparties to executory contracts and unexpired leases that may be rejected.

        The Debtors have listed Lenders as holders of “undisputed” general unsecured Claims,
except in the instance where the Debtors believe that a particular Lender may have a contingent,
unliquidated and/or disputed Claim based on facts specific to that holder. The Debtors reserve
all rights to recharacterize, reclassify, recategorize, redesignate, add or delete Claims in respect
of Lenders reported in the Schedules and SOFAs at a later time as is necessary or appropriate as
additional information becomes available. Scheduled amounts for Lenders do not include
accrued but unpaid interest.

        The Debtors have redacted the names and addresses, as well as all but the last four digits
of accounts numbers, for each of the Lenders listed in Schedule E/F in the interests of protecting
the privacy of the Lenders.

Schedule G - Unexpired Leases and Executory Contracts

        Although commercially reasonable efforts have been made to ensure the accuracy of
Schedule G regarding executory contracts and unexpired leases, inadvertent errors, omissions or
overinclusion may have occurred in preparing Schedule G. In the ordinary course of business,
the Debtors enter into various agreements with customers and vendors. The Debtors may have
entered into various other types of agreements in the ordinary course of their business, such as
indemnity agreements, supplemental agreements, letter agreements, and confidentiality
agreements that may not be set forth in Schedule G. Omission of a contract, lease or other
agreement from Schedule G does not constitute an admission that such omitted contract, lease or
agreement is not an executory contract or unexpired lease. Likewise, the listing of an agreement
on Schedule G does not constitute an admission that such agreement is an executory contract or
unexpired lease, or that such agreement was in effect or unexpired on the petition date or is valid
or enforceable. The agreements listed on Schedule G may have expired or may have been
modified, amended, or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters and other documents, instruments and agreements that may
not be listed on Schedule G. Certain confidentiality and non-disclosure agreements may not be
listed on Schedule G.



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      Any and all rights, Claims and Causes of Action of the Debtors with respect to the
agreements listed on Schedule G are hereby reserved and preserved.

Schedule H - Co-Debtors

        In the ordinary course of their business, the Debtors are involved in litigation which may
include co-debtors. The Debtors may also have co-debtors or co-obligors under various leases,
contracts or other agreements. The Debtors have made a reasonable effort to include these co-
debtor or co-obligor relationships in Schedule H; however, certain co-debtor and co-obligor
relationships may have been inadvertently omitted.

       Any omission of a co-debtor or co-obligor in the Schedules does not constitute an
admission that such omitted co-debtor or co-obligor is not obligated or liable under the relevant
debt. The Debtors’ rights under the Bankruptcy Code and non-bankruptcy law with respect to
any omitted co-debtor or co-obligor are not impaired by the omission.

              SPECIFIC DISCLOSURES WITH RESPECT TO THE SOFAs

SOFAs Item 3 – 90 Day Payments

        SOFAs Item 3 includes any disbursement or other transfer made by the Debtors within 90
days before the petition date except for those made to insiders (which payments appear in
response to SOFAs Item 4 and 30), employees, and bankruptcy professionals (which payments
appear in response to SOFAs Item 11). The amounts listed in SOFAs Item 3 reflect the Debtors’
disbursements netted against any check level detail; thus, to the extent a disbursement was made
to pay for multiple invoices, only one entry has been listed on SOFAs Item 3. All disbursements
listed on SOFAs Item 3 are made through the Debtors’ cash management system. Additionally,
all disbursement information reported in SOFAs Item 3 for a specific Debtor pertains to the bank
accounts maintained by that Debtor. All 90-day disbursements made from Debtor 1 Global
Capital LLC are accounted for as having been made from that entity irrespective of the entity
that received the benefit of such payment.

SOFAs Item 4 – Insider Payments

        The Debtors have attempted to include all payments made on or within 12 months before
the petition date to any individual or entity deemed an “insider.” The listing of a party as an
insider is not intended to be nor should be construed as a legal characterization of such party as
an insider and does not act as an admission of any fact, Claim, right or defense, and all such
rights, Claims, and defenses are hereby expressly reserved.

SOFAs Item 6 – Setoffs

       The Debtors routinely incur setoffs during the ordinary course of business. Setoffs in the
ordinary course can result from various items including counterparty settlements, pricing
discrepancies, returns, warranties and other transaction true-ups. These normal setoffs are
consistent with the ordinary course of business in the Debtors’ industry and can be particularly
voluminous, making it unduly burdensome and costly for the Debtors to list all normal setoffs.



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Therefore, ordinary course setoffs are excluded from the Debtors’ responses to SOFA Item 6
except where otherwise noted.

SOFAs Item 7 – Litigation

        In addition to the litigation listed in SOFAs Item 7, the Debtors from time to time may
also participate in administrative actions and appeals with state agencies in the ordinary course of
business. These actions have not been identified in this schedule unless formal proceedings were
instituted. The actual amount of litigation matters is contingent on the outcome of the cases.

SOFAs Item 11 – Payments Related to Bankruptcy

       Payments and transfers made on behalf of all Debtors in connection with debt
consolidation, restructuring, seeking bankruptcy relief or filing the Chapter 11 Cases, were made
by Debtor 1 Global Capital LLC and therefore, are reflected in the 1 Global Capital LLC SOFAs.

                  *              *               *              *               *




                                                11
                                      Case 18-19121-RBR                                     Doc 119                  Filed 08/28/18                         Page 12 of 642
 Fill in this information to identify the case:

 Debtor name            1 Global Capital LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)               18-19121-RBR
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $     225,246,393.41

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $     225,246,393.41


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,500,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           409,444.41

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$     278,173,524.49


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        281,082,968.90




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                Case 18-19121-RBR                      Doc 119      Filed 08/28/18       Page 13 of 642
 Fill in this information to identify the case:

 Debtor name         1 Global Capital LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)         18-19121-RBR
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand                                                                                                                                   $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Western Alliance Bank - Bridge Bank                      Checking                     3270                                             $0.00




           3.2.    Western Alliance Bank - Bridge Bank                      Checking                     6313                                $1,004,420.88




           3.3.    Western Alliance Bank - Bridge Bank                      Money Market                 2967                              $10,522,107.27




           3.4.    Western Alliance Bank - Bridge Bank                      Checking                     1605                                  $190,000.00




           3.5.    Western Alliance Bank - Bridge Bank                      Checking                     0356                                             $0.00




           3.6.    First Premier Bank                                       Checking                     1356                                $1,000,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor           1 Global Capital LLC                                                       Case number (If known) 18-19121-RBR
                  Name




           3.7.     First Premier Bank                                      Checking                        2223                   $2,149,278.59




           3.8.     City National Bank                                      Restricted                      7261                    $100,000.00




           3.9.     First Premier Bank                                      Restricted                      1590                    $115,000.00



           3.10
           .    Western Alliance Bank - Bridge Bank                         Restricted                      6253                   $2,253,108.41



           3.11
           .    Western Alliance Bank - Bridge Bank                         Restricted                      8939                    $110,103.56



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                   $17,444,018.71
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Chanel ERA LLC (Security Deposit)                                                                                     $250.00




           7.2.     Global Title Alliance, LLC (Security Deposit)                                                                     $22,100.00




           7.3.     Murray Family Associates (Security Deposit)                                                                       $23,710.46




           7.4.     Berger Singerman LLP (Retainer)                                                                                   $50,000.00




           7.5.     Heitner Legal, P.L.L.C. (Retainer)                                                                                $10,000.00




           7.6.     Sherman & Howard L.L.C. (Retainer)                                                                                $10,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 2
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 Debtor           1 Global Capital LLC                                                       Case number (If known) 18-19121-RBR
                  Name




 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     XL Specialty Insurance Co.                                                                                       $150,000.00




           8.2.     Argo Group                                                                                                      $135,000.00




           8.3.     Blue Cross and Blue Shield of Florida, Inc.                                                                       $78,548.92




           8.4.     HUB International Ltd. Insurance                                                                                  $48,699.99




           8.5.     Informatica LLC                                                                                                   $30,000.00




           8.6.     Grosvenor Square Limited - Due diligence fee                                                                      $20,000.00




           8.7.     DocuSign Inc.                                                                                                     $19,360.00




           8.8.     Experian Information Solutions, Inc.                                                                              $18,572.58




           8.9.     Salesforce.com, Inc.                                                                                              $17,774.59



           8.10
           .    Software Solutions Consulting Inc.                                                                                    $11,000.00



           8.11
           .    Guardian                                                                                                                $9,715.97



           8.12
           .    SBS Now Inc.                                                                                                            $8,000.00



           8.13
           .    SysArc Infomatix Pvt Ltd                                                                                                $3,593.57



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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                                Case 18-19121-RBR                      Doc 119      Filed 08/28/18            Page 16 of 642

 Debtor         1 Global Capital LLC                                                           Case number (If known) 18-19121-RBR
                Name


           8.14
           .    Creditsafe USA Inc.                                                                                                         $3,000.00



           8.15
           .    Intuit Inc.                                                                                                                 $2,051.72



           8.16
           .    Dropbox Inc                                                                                                                   $937.50



           8.17
           .    The Travelers Companies                                                                                                       $890.12



           8.18
           .    Global Title Alliance, LLC (Prepaid Rent)                                                                                 $51,100.01



           8.19
           .    Jasmine Investment Properties                                                                                               $2,550.00




 9.        Total of Part 2.                                                                                                          $726,855.43
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                      218,422,872.85     -                    35,352,629.86 = ....               $183,070,242.99
                                              face amount                        doubtful or uncollectible accounts




           11b. Over 90 days old:                               366,894.32   -                        59,383.34 =....                   $307,510.98
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                    $183,377,753.97
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         1 Global Capital LLC                                                          Case number (If known) 18-19121-RBR
                Name


        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office Furniture - Various                                                  Unknown       N/A                                 Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office Equipment - Various                                                  Unknown       N/A                                 Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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 Debtor         1 Global Capital LLC                                                          Case number (If known) 18-19121-RBR
                Name

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            1stgc.com, fgcsubmit.com, 1800910Cash.com,
            1Globalcapital.com, 1Stglobaladvances.com,
            1Stglobalcapital.com, 1Stglobalcapital.net,
            1Westcapital.com, 800910Cash.co,
            800910Cash.com, 800910Cash.info,
            800910Cash.net, Brightsmilefinancing.com,
            Fundingmerchantcash.com,
            Fundingmerchantscash.com,
            Green-Tree-Funding-Financial-Service.com,
            Greentreefunding.org, Ibmcapital.com,
            Merchantcash.today, Merchantscash.today,
            Mpsalescenter.com, Pcfus.com,
            Portal1Gc.com, Quickmechartfunding.com,
            Quickmerchantsfunding.com & Sbaportal.co                                   Unknown       N/A                                 Unknown



 62.        Licenses, franchises, and royalties
            Various software licenses                                                  Unknown       N/A                                 Unknown



 63.        Customer lists, mailing lists, or other compilations
            Merchant list                                                              Unknown       N/A                                 Unknown


            Lender list                                                                Unknown       N/A                                 Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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 Debtor         1 Global Capital LLC                                                          Case number (If known) 18-19121-RBR
                Name

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.       Notes receivable
           Description (include name of obligor)
                                                                               3,268.41 -                                  0.00 =
           Loan receivable - S. Pichardo                              Total face amount     doubtful or uncollectible amount                    $3,268.41


                                                                          1,762,077.71 -                                   0.00 =
           Loan receivable - Carl Ruderman                            Total face amount     doubtful or uncollectible amount               $1,762,077.71



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Payroll Advance - Evan Ruderman                                                                                                    $31,903.32



           Payroll Advance - Linda Ruderman                                                                                                   $35,000.00



           Payroll Advance - Steve Bernardone                                                                                                 $50,000.00



           Intercompany receivable - Biogenics                                                                                                  $4,881.17



           Intercompany receivable - Bright Smile                                                                                        $15,822,924.16



           Intercompany receivable - Ganador Enterprise                                                                                    $5,926,006.19



           Intercompany receivable - Green Tree                                                                                               $36,204.34




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 7
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 Debtor         1 Global Capital LLC                                                         Case number (If known) 18-19121-RBR
                Name



           Empire Capital Funding Group                                                                                               $25,500.00




 78.       Total of Part 11.                                                                                                   $23,697,765.30
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 8
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 Debtor          1 Global Capital LLC                                                                                Case number (If known) 18-19121-RBR
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                      $17,444,018.71

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $726,855.43

 82. Accounts receivable. Copy line 12, Part 3.                                                             $183,377,753.97

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +            $23,697,765.30

 91. Total. Add lines 80 through 90 for each column                                                     $225,246,393.41              + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                             $225,246,393.41




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 9
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                                    Case 18-19121-RBR                     Doc 119            Filed 08/28/18         Page 22 of 642
 Fill in this information to identify the case:

 Debtor name         1 Global Capital LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)             18-19121-RBR
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Collins Asset Group, LLC                       Describe debtor's property that is subject to a lien               $2,500,000.00                  Unknown
       Creditor's Name                                All Assets
       5725 Highway 290 West
       #103
       Austin, TX 78735
       Creditor's mailing address                     Describe the lien
                                                      Security Interest
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Collins Asset Group,
       LLC
       2. Collins Family Trust,
       Walter A. Collins

       Collins Family Trust, Walter
 2.2                                                                                                                           Unknown                  Unknown
       A. Collins                                     Describe debtor's property that is subject to a lien
       Creditor's Name                                All Assets
       2300 Barton Creek
       Boulevard
       #32
       Austin, TX 78735
       Creditor's mailing address                     Describe the lien
                                                      Security Interest
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       1 Global Capital LLC                                                                    Case number (if know)       18-19121-RBR
              Name

       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

                                                                                                                              $2,500,000.0
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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                                  Case 18-19121-RBR                          Doc 119             Filed 08/28/18              Page 24 of 642
 Fill in this information to identify the case:

 Debtor name         1 Global Capital LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)           18-19121-RBR
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $5,184.60          $5,184.60
           1st Global Capital, LLC 401(k) Plan                       Check all that apply.
           Ascensus Investment Services                                 Contingent
           124 8th Ave NE                                               Unliquidated
           Brainerd, MN 56401                                           Disputed

           Date or dates debt was incurred                           Basis for the claim:
           7/27/2018                                                 401(k) contributions, c/o The Vanguard Group
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $2,500.00          $2,500.00
           Abrams, Candace                                           Check all that apply.
           1250 E Hallandale Beach Blvd                                 Contingent
           Suite 409                                                    Unliquidated
           Hallandale Beach, FL 33009                                   Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 555
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 Debtor       1 Global Capital LLC                                                                            Case number (if known)   18-19121-RBR
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,875.00    $1,875.00
          Albalat, Joshua                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,750.00    $3,750.00
          Amorin, Patrizia                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,199.75    $3,199.75
          Arguelles, Paola                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,586.67    $6,586.67
          Bannan, Courtney                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,208.58    $2,208.58
          Barreiro, Elizabeth                                        Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,125.00    $3,125.00
          Beharie, Douglas                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,415.53    $4,415.53
          Berger, Joseph                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,875.00    $6,875.00
          Bernardone, Steven                                         Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,083.58    $2,083.58
          Bracero, Gabriel                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,877.08    $3,877.08
          Brodi, Mark                                                Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,526.68    $6,526.68
          Brutau, Elena                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,000.00    $3,000.00
          Burns, Jenna                                               Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,291.92    $2,291.92
          Butler, Andre                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,625.00    $5,625.00
          Butuc, Bogdan                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,333.33    $1,333.33
          Carranza, Alejandro                                        Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,349.42    $2,349.42
          Carville, Xavier                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,333.33    $1,333.33
          Celis, Carlos                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,153.85    $2,153.85
          Chacon, Idette                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,166.92    $2,166.92
          Chavarria, Christian                                       Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,000.00    $2,000.00
          Clay, Erin                                                 Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,083.58    $2,083.58
          Contla Montano, Jose                                       Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,104.17    $5,104.17
          Cregger, Judy                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,582.25    $2,582.25
          Cyr, Robert                                                Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,916.67    $2,916.67
          De La Cruz, Mariseli                                       Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,911.06    $2,911.06
          De La Torre, Kevin                                         Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,751.96    $1,751.96
          Diaz, Norma                                                Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $7,708.33    $7,708.33
          Dickson Kremer, Steven                                     Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,326.92    $4,326.92
          Dopico, Rodolfo                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,649.05    $3,649.05
          Duffy, Kevin                                               Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $12,327.33    $12,327.33
          Duron, Dorian                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,875.00    $1,875.00
          Enes, Isabel                                               Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,230.77    $1,230.77
          Espinosa, Isabel                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,000.00    $6,000.00
          Estrada, German                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,199.75    $3,199.75
          Fernandez, Juan                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,708.33    $2,708.33
          Figueroa Martinez, Zoe                                     Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,574.75    $2,574.75
          Gamero, Kenny                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,933.33    $1,933.33
          Garcia Bodden, Marcia                                      Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,291.67    $2,291.67
          Garcia, Alvaro                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $9,623.33    $9,623.33
          Garcia, Angel                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,333.33    $3,333.33
          Gibson, Daniel                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $7,291.67    $7,291.67
          Ginsberg, Michael                                          Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,250.00    $6,250.00
          Glick, Jayson                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,916.67    $2,916.67
          Gonzalez, Dulce                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,083.33    $2,083.33
          Gonzalez, Kimberly                                         Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,715.00    $2,715.00
          Grant, Kenneth                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,128.33    $3,128.33
          Grondin, Darla                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,593.51    $5,593.51
          Halikias, Alan                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,583.33    $4,583.33
          Hamilton, David                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,000.00    $2,000.00
          Harless, Melissa                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,083.33    $2,083.33
          Huesa, Jessica                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,250.00    $6,250.00
          John, Tom                                                  Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,000.00    $3,000.00
          Joseph, Emmanuel                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,000.25    $2,000.25
          Julio, Lily                                                Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,312.50    $2,312.50
          Kachanova, Olga                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $8,432.09    $8,432.09
          Kane, Kevin                                                Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,284.58    $2,284.58
          Kulikova, Natalia                                          Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,750.00    $3,750.00
          Lake, Anthony                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,750.00    $3,750.00
          Lang, Darice                                               Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,483.21    $2,483.21
          Lent, Regina                                               Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,083.33    $4,083.33
          Leyva Suarez, Yonny                                        Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,574.75    $2,574.75
          Loarte, Mariela                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,083.33    $2,083.33
          Loughman, Lori                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,000.25    $2,000.25
          Mantilla, Alvaro                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,833.58    $1,833.58
          Menendez, Rosa                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,458.33    $6,458.33
          Merkelson, Scott                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,166.67    $3,166.67
          Mills, Christine                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,800.83    $2,800.83
          Moncada, Jennifer                                          Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,846.15    $4,846.15
          Morales, Regina                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,657.33    $2,657.33
          Napolitano, Robert                                         Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,770.17    $2,770.17
          Navarro, Kristine                                          Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,223.33    $2,223.33
          Parsaeian, Armine                                          Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,715.00    $2,715.00
          Pollard, LaTisha                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $550.00    $550.00
          Radchuk, Valentina                                         Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,380.83    $4,380.83
          Ramirez, David                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,033.08    $3,033.08
          Ramos, Yankor                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,291.67    $2,291.67
          Rand, Laura                                                Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       1 Global Capital LLC                                                                            Case number (if known)   18-19121-RBR
              Name

 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,107.94    $2,107.94
          Rodriguez, Kevin                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,375.00    $2,375.00
          Rodriguez, Lisnet                                          Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,750.00    $3,750.00
          Rojas, Julio                                               Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,500.00    $1,500.00
          Ruderman, Blake                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       1 Global Capital LLC                                                                            Case number (if known)   18-19121-RBR
              Name

 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,000.00    $10,000.00
          Ruderman, Carl R                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,000.00    $4,000.00
          Ruderman, Evan                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,833.33    $4,833.33
          Ruderman, Svetlana                                         Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,708.33    $2,708.33
          Ruiz, Lindsey                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       1 Global Capital LLC                                                                            Case number (if known)   18-19121-RBR
              Name

 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,000.25    $2,000.25
          Saivay, Patricia                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,458.33    $2,458.33
          Sanchez Velez, Sylvia                                      Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,533.08    $2,533.08
          Santos, Kayleigh                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,949.75    $2,949.75
          Sedra, Jessica                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,783.08    $2,783.08
          Sevillano, Rosanna                                         Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,647.33    $6,647.33
          Shollock, Dave                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,875.00    $1,875.00
          Signer, Julie                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,375.25    $2,375.25
          Small, Tatyanna                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       1 Global Capital LLC                                                                            Case number (if known)   18-19121-RBR
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 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,458.33    $5,458.33
          Snead, Jonathan                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,981.02    $2,981.02
          Steril, Marieline                                          Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,034.75    $4,034.75
          Stewart, Oneil                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,089.74    $4,089.74
          Stirrup, Darvonzanique                                     Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,267.63    $10,267.63
          Strelzik, Jacob                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,478.33    $3,478.33
          Tangui, Valerie                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,083.33    $2,083.33
          Valarezo, Katherine                                        Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,000.00    $5,000.00
          Vargas, Leopoldo                                           Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,166.67    $4,166.67
          Vaughan, Scott                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,459.46    $4,459.46
          Visalden, Enio                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,192.31    $5,192.31
          Waldman, Daniel                                            Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,715.00    $2,715.00
          Walne, Gerard                                              Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       1 Global Capital LLC                                                                            Case number (if known)   18-19121-RBR
              Name

 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,574.75    $2,574.75
          Ware, Darryl                                               Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,609.83    $3,609.83
          Welch, Derek                                               Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,125.00    $3,125.00
          Wesselhoft, Ecedro                                         Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,770.17    $2,770.17
          White, Heather                                             Check all that apply.
          1250 E Hallandale Beach Blvd                                  Contingent
          Suite 409                                                     Unliquidated
          Hallandale Beach, FL 33009                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.111     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $5,981.92    $5,981.92
           Wild, Robert A                                            Check all that apply.
           1250 E Hallandale Beach Blvd                                 Contingent
           Suite 409                                                    Unliquidated
           Hallandale Beach, FL 33009                                   Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.112     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $2,590.00    $2,590.00
           Woods, David                                              Check all that apply.
           1250 E Hallandale Beach Blvd                                 Contingent
           Suite 409                                                    Unliquidated
           Hallandale Beach, FL 33009                                   Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.113     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $2,000.25    $2,000.25
           Zayas, Cynthia                                            Check all that apply.
           1250 E Hallandale Beach Blvd                                 Contingent
           Suite 409                                                    Unliquidated
           Hallandale Beach, FL 33009                                   Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages, Commission, and/or Earned PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $1,057.00
           ABC Legal Services INC                                                      Contingent
           633 Yesler Way                                                              Unliquidated
           Seattle, WA 98104                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Vendor
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $300,000.00
           Account No. XXX1109                                                         Contingent
                                                                                       Unliquidated
           Date(s) debt was incurred                                                   Disputed
           Last 4 digits of account number                                         Basis for the claim:     Lender
                                                                                   Is the claim subject to offset?     No       Yes



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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $699,250.00
          Account No. XXX1111                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,272.91
          Account No. XXX1112                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $996,265.36
          Account No. XXX1113                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $405,427.29
          Account No. XXX1114                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,758.42
          Account No. XXX1115                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,530.29
          Account No. XXX1116                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,000.00
          Account No. XXX1118                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1119                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $305,000.00
          Account No. XXX1131                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $723,009.00
          Account No. XXX1135                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX1136                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $437,149.99
          Account No. XXX1137                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1141                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,033.98
          Account No. XXX1142                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $414,000.00
          Account No. XXX1143                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,800.00
          Account No. XXX1144                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $290,200.00
          Account No. XXX1145                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,500.00
          Account No. XXX1148                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1149                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX1151                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,500.00
          Account No. XXX1152                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $86,000.00
          Account No. XXX1153                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $157,500.00
          Account No. XXX1154                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1155                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,500.00
          Account No. XXX1156                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,000.00
          Account No. XXX1157                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX1158                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $97,000.00
          Account No. XXX1160                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX1161                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $175,000.00
          Account No. XXX1162                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,000.00
          Account No. XXX1163                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1164                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX1165                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1167                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1168                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,110.11
          Account No. XXX1169                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,068.90
          Account No. XXX1171                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,000.00
          Account No. XXX1172                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $164,874.73
          Account No. XXX1173                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,666.26
          Account No. XXX1178                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $128,000.00
          Account No. XXX1181                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,000.00
          Account No. XXX1182                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $89,500.00
          Account No. XXX1183                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1184                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $162,945.63
          Account No. XXX1185                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,725.00
          Account No. XXX1186                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,000.00
          Account No. XXX1187                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $146,000.00
          Account No. XXX1188                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,000.00
          Account No. XXX1189                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,712.00
          Account No. XXX1190                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,600.02
          Account No. XXX1191                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,700.00
          Account No. XXX1192                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,773.83
          Account No. XXX1193                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,335.07
          Account No. XXX1194                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1195                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,956.95
          Account No. XXX1196                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,075.47
          Account No. XXX1197                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $212,000.00
          Account No. XXX1198                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1199                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,500.00
          Account No. XXX1200                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,760.00
          Account No. XXX1201                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $138,000.00
          Account No. XXX1202                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX1203                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $62,500.00
          Account No. XXX1204                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,200.00
          Account No. XXX1205                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX1206                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1209                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,392.48
          Account No. XXX1210                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,000.00
          Account No. XXX1211                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1213                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,325.55
          Account No. XXX1214                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,500,000.00
          Account No. XXX1215                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,400.25
          Account No. XXX1216                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX1217                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,949.65
          Account No. XXX1218                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,000.00
          Account No. XXX1219                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,000.00
          Account No. XXX1220                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $774.35
          Account No. XXX1221                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,750.00
          Account No. XXX1222                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX1223                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX1224                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,000.00
          Account No. XXX1225                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,000.00
          Account No. XXX1226                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1227                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,441.87
          Account No. XXX1228                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,000.00
          Account No. XXX1229                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,475.00
          Account No. XXX1230                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX1231                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,425.00
          Account No. XXX1232                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX1233                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,500.00
          Account No. XXX1234                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $145,000.00
          Account No. XXX1237                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,214.54
          Account No. XXX1241                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX1242                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,500.00
          Account No. XXX1243                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $126,277.26
          Account No. XXX1245                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1246                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $964,886.98
          Account No. XXX1247                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1248                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1249                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1250                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX1251                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,887.00
          Account No. XXX1252                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,048.42
          Account No. XXX1253                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,925.00
          Account No. XXX1254                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1256                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $229,114.80
          Account No. XXX1257                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $435,808.30
          Account No. XXX1258                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX1261                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $169,173.17
          Account No. XXX1262                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX1263                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX1264                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,000.00
          Account No. XXX1265                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1266                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,893.69
          Account No. XXX1267                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX1268                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,500.00
          Account No. XXX1270                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $175,182.54
          Account No. XXX1274                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $140,932.66
          Account No. XXX1276                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1277                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX1278                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1279                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX1281                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1282                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1283                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,425.00
          Account No. XXX1284                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,000.00
          Account No. XXX1285                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $173,756.45
          Account No. XXX1286                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $98,000.00
          Account No. XXX1287                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1291                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1292                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1293                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,975.00
          Account No. XXX1295                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1296                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,000.00
          Account No. XXX1297                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX1298                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,000.00
          Account No. XXX1299                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          Account No. XXX1302                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX1304                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,700.00
          Account No. XXX1306                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $397,750.00
          Account No. XXX1307                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $272,007.19
          Account No. XXX1309                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,250.00
          Account No. XXX1312                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $86,000.00
          Account No. XXX1313                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $130,000.00
          Account No. XXX1314                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $149,234.76
          Account No. XXX1315                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,500.00
          Account No. XXX1316                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,000.00
          Account No. XXX1318                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX1319                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,500.00
          Account No. XXX1320                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,500.00
          Account No. XXX1321                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          Account No. XXX1323                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX1324                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1325                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,604.00
          Account No. XXX1326                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1327                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1328                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,750.00
          Account No. XXX1330                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,750.00
          Account No. XXX1331                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,200.00
          Account No. XXX1332                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,246,000.00
          Account No. XXX1334                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $104,000.00
          Account No. XXX1335                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1336                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $180,500.00
          Account No. XXX1338                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX1339                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1341                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $249,000.00
          Account No. XXX1342                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,700.00
          Account No. XXX1343                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,500.00
          Account No. XXX1344                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,500.00
          Account No. XXX1345                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $116,250.00
          Account No. XXX1347                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,000.00
          Account No. XXX1348                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1349                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $178,000.00
          Account No. XXX1350                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,000.00
          Account No. XXX1351                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1352                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1353                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1354                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1355                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,000.00
          Account No. XXX1356                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX1357                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,900.00
          Account No. XXX1358                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $157,400.00
          Account No. XXX1359                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $41,600.00
          Account No. XXX1360                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1361                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,250.00
          Account No. XXX1363                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $79,250.00
          Account No. XXX1364                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,500.00
          Account No. XXX1365                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX1366                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX1367                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1369                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,500.00
          Account No. XXX1370                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,250.00
          Account No. XXX1371                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1373                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $128,000.00
          Account No. XXX1374                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,000.00
          Account No. XXX1376                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,000.00
          Account No. XXX1378                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,960.00
          Account No. XXX1380                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,500.00
          Account No. XXX1381                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          Account No. XXX1384                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $127,293.75
          Account No. XXX1387                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $749,000.00
          Account No. XXX1388                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1391                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $106,500.00
          Account No. XXX1392                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,000.00
          Account No. XXX1394                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,500.00
          Account No. XXX1395                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,127.00
          Account No. XXX1396                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,631.00
          Account No. XXX1397                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,927.00
          Account No. XXX1403                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1404                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,750.00
          Account No. XXX1405                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,500.00
          Account No. XXX1406                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,750.00
          Account No. XXX1408                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1409                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $162,090.71
          Account No. XXX1411                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1415                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $175,000.00
          Account No. XXX1416                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1417                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,000.00
          Account No. XXX1418                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $94,968.62
          Account No. XXX1419                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,006.70
          Account No. XXX1420                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX1421                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,000.00
          Account No. XXX1422                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,000.00
          Account No. XXX1423                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,903.24
          Account No. XXX1426                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,000.00
          Account No. XXX1427                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,425.00
          Account No. XXX1428                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1429                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,582.51
          Account No. XXX1430                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX1431                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $178,750.00
          Account No. XXX1432                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $213,500.00
          Account No. XXX1433                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $335,811.26
          Account No. XXX1434                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,250.00
          Account No. XXX1435                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,750.00
          Account No. XXX1436                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $41,900.00
          Account No. XXX1437                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,800.00
          Account No. XXX1438                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1439                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $176,000.00
          Account No. XXX1440                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,317.73
          Account No. XXX1441                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,000.00
          Account No. XXX1442                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX1443                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,343.18
          Account No. XXX1444                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,980.18
          Account No. XXX1445                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1446                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $41,744.10
          Account No. XXX1447                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $116,500.00
          Account No. XXX1450                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1451                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX1452                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,118.69
          Account No. XXX1453                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,503.80
          Account No. XXX1454                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $171,359.76
          Account No. XXX1456                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX1457                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1458                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX1459                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX1460                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1461                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,173.15
          Account No. XXX1462                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,800.00
          Account No. XXX1463                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,750.00
          Account No. XXX1465                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,250.00
          Account No. XXX1466                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,293.63
          Account No. XXX1467                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $77,374.85
          Account No. XXX1469                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,308.14
          Account No. XXX1470                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX1471                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,649.56
          Account No. XXX1472                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,000.00
          Account No. XXX1473                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,400.00
          Account No. XXX1474                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,890.23
          Account No. XXX1475                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1476                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,000.00
          Account No. XXX1478                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,655.34
          Account No. XXX1480                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,926.65
          Account No. XXX1481                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,784.16
          Account No. XXX1482                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $86,655.89
          Account No. XXX1484                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,476.00
          Account No. XXX1485                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $111,000.00
          Account No. XXX1486                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,000.00
          Account No. XXX1487                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,500.00
          Account No. XXX1488                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,000.00
          Account No. XXX1489                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1490                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1492                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $81,374.48
          Account No. XXX1493                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX1494                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1497                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,400.50
          Account No. XXX1500                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $130,000.00
          Account No. XXX1501                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1502                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1503                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,900.00
          Account No. XXX1504                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX1507                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX1508                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $292,238.24
          Account No. XXX1509                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1510                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,000.00
          Account No. XXX1511                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,636.59
          Account No. XXX1512                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,000.00
          Account No. XXX1513                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $180,000.00
          Account No. XXX1514                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,550.00
          Account No. XXX1515                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,452.91
          Account No. XXX1516                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,450.64
          Account No. XXX1517                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $101,008.33
          Account No. XXX1518                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $169,247.15
          Account No. XXX1519                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1521                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1522                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,700.00
          Account No. XXX1524                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX1525                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1526                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $132,000.00
          Account No. XXX1527                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $41,427.49
          Account No. XXX1528                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $158,000.00
          Account No. XXX1529                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $84,457.07
          Account No. XXX1532                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1533                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $116,975.30
          Account No. XXX1535                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1536                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,500.00
          Account No. XXX1538                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,373.93
          Account No. XXX1539                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,157.38
          Account No. XXX1540                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $158,068.26
          Account No. XXX1541                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1543                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1544                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX1545                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $128,603.68
          Account No. XXX1547                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $163,000.00
          Account No. XXX1549                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $104,000.00
          Account No. XXX1550                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $158,190.43
          Account No. XXX1551                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1552                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,100.00
          Account No. XXX1553                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,000.00
          Account No. XXX1554                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1556                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,033.46
          Account No. XXX1557                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $106,967.50
          Account No. XXX1558                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,719.66
          Account No. XXX1559                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $188,999.99
          Account No. XXX1560                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX1561                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,249.89
          Account No. XXX1562                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX1563                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1564                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,578.74
          Account No. XXX1565                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,624.45
          Account No. XXX1567                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,000.00
          Account No. XXX1568                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,750.00
          Account No. XXX1569                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $140,000.00
          Account No. XXX1570                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $91,076.17
          Account No. XXX1571                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1572                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $114,490.00
          Account No. XXX1573                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1574                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,700.00
          Account No. XXX1575                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $84,310.22
          Account No. XXX1576                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1577                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1579                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $93,094.15
          Account No. XXX1581                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,584.29
          Account No. XXX1582                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX1583                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,938.58
          Account No. XXX1584                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $122,000.00
          Account No. XXX1586                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,000.00
          Account No. XXX1587                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX1588                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX1589                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX1590                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,700.00
          Account No. XXX1591                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $81,878.23
          Account No. XXX1592                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $278,983.76
          Account No. XXX1593                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,000.00
          Account No. XXX1594                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,459.44
          Account No. XXX1595                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,800.00
          Account No. XXX1596                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          Account No. XXX1597                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1599                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX1601                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,804.09
          Account No. XXX1602                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $291,000.00
          Account No. XXX1603                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1604                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1605                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $149,500.00
          Account No. XXX1606                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,500.00
          Account No. XXX1607                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1609                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1610                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1611                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,700.34
          Account No. XXX1612                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,700.00
          Account No. XXX1613                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,700.00
          Account No. XXX1614                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,700.00
          Account No. XXX1615                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,700.00
          Account No. XXX1616                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,500.00
          Account No. XXX1617                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,700.00
          Account No. XXX1618                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,750.00
          Account No. XXX1619                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,750.00
          Account No. XXX1620                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,462.75
          Account No. XXX1621                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,800.00
          Account No. XXX1623                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,500.00
          Account No. XXX1624                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1625                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1626                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $112,312.42
          Account No. XXX1628                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $113,000.00
          Account No. XXX1629                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $214,000.00
          Account No. XXX1630                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $119,000.00
          Account No. XXX1631                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX1632                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,500.00
          Account No. XXX1633                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,800.00
          Account No. XXX1634                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,800.00
          Account No. XXX1635                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1636                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,436.00
          Account No. XXX1638                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,000.00
          Account No. XXX1639                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1640                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1641                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,323.82
          Account No. XXX1642                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $88,000.00
          Account No. XXX1643                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,410.00
          Account No. XXX1644                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1645                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX1646                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1647                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1648                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1649                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1650                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $94,462.62
          Account No. XXX1651                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1652                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,500.00
          Account No. XXX1653                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1654                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $143,112.50
          Account No. XXX1655                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1656                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1657                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          Account No. XXX1658                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $165,000.00
          Account No. XXX1659                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $118,500.00
          Account No. XXX1661                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,600.00
          Account No. XXX1662                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1663                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX1664                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX1665                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,000.00
          Account No. XXX1666                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX1667                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX1668                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX1670                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,744.81
          Account No. XXX1672                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,065.33
          Account No. XXX1673                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1674                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1676                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1677                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,700.00
          Account No. XXX1678                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1680                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1681                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX1683                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1684                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1685                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1686                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1687                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,380.42
          Account No. XXX1688                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1689                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $93,455.09
          Account No. XXX1690                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1694                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,700.00
          Account No. XXX1695                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1696                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1697                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1698                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,031.94
          Account No. XXX1699                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1700                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX1701                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1702                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1703                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1704                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $750,000.00
          Account No. XXX1705                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,000.00
          Account No. XXX1706                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $91,000.00
          Account No. XXX1707                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $130,000.00
          Account No. XXX1708                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1709                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX1710                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,333.30
          Account No. XXX1711                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,500.00
          Account No. XXX1712                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $141,200.00
          Account No. XXX1713                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $57,851.34
          Account No. XXX1716                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1717                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,518.64
          Account No. XXX1718                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,750.00
          Account No. XXX1719                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1721                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX1727                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1728                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX1730                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1731                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,475.00
          Account No. XXX1732                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,500.00
          Account No. XXX1733                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1734                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1735                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,000.00
          Account No. XXX1736                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX1737                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1738                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1739                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1740                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1741                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,861.76
          Account No. XXX1742                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,694.00
          Account No. XXX1743                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $146,173.67
          Account No. XXX1744                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $79,174.78
          Account No. XXX1745                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $106,750.00
          Account No. XXX1746                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $71,000.00
          Account No. XXX1747                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,029.51
          Account No. XXX1748                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1749                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1750                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,508.40
          Account No. XXX1751                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1752                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,500.00
          Account No. XXX1753                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1755                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1756                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $375,000.00
          Account No. XXX1759                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,500.00
          Account No. XXX1760                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,333.31
          Account No. XXX1761                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1762                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $5.26
          Account No. XXX1763                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX1764                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $173,500.00
          Account No. XXX1765                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,683.82
          Account No. XXX1766                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1767                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1768                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1769                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1770                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,418.50
          Account No. XXX1772                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,845.79
          Account No. XXX1773                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1774                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $105,000.00
          Account No. XXX1775                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,500.00
          Account No. XXX1777                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1778                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,000.00
          Account No. XXX1779                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1780                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,697.30
          Account No. XXX1781                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,500.00
          Account No. XXX1782                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX1783                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1784                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX1785                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,144.86
          Account No. XXX1786                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,000.00
          Account No. XXX1787                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX1788                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1789                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,000.00
          Account No. XXX1790                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1791                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,543.81
          Account No. XXX1792                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,250.00
          Account No. XXX1795                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1796                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX1797                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,818.15
          Account No. XXX1798                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1799                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,000.00
          Account No. XXX1800                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,000.00
          Account No. XXX1801                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $188,000.00
          Account No. XXX1802                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1803                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1804                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,417.46
          Account No. XXX1805                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $162,828.75
          Account No. XXX1806                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1808                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,500.00
          Account No. XXX1809                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $236,105.26
          Account No. XXX1810                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX1812                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,383.32
          Account No. XXX1813                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1814                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $179,500.00
          Account No. XXX1815                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX1817                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX1818                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,500.00
          Account No. XXX1819                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,500.00
          Account No. XXX1820                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1821                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,095.47
          Account No. XXX1822                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $119,000.00
          Account No. XXX1823                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX1824                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1825                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1826                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $121,500.00
          Account No. XXX1829                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1830                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1831                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX1832                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1833                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1834                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX1835                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1836                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX1837                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,609.81
          Account No. XXX1838                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $119,000.00
          Account No. XXX1839                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,500.00
          Account No. XXX1840                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX1841                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,250.00
          Account No. XXX1842                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,750.00
          Account No. XXX1843                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,050.68
          Account No. XXX1845                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1847                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX1848                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,601.99
          Account No. XXX1849                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $82,387.48
          Account No. XXX1850                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX1851                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,606.11
          Account No. XXX1852                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,400.00
          Account No. XXX1854                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1855                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1856                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1857                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1858                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,516.87
          Account No. XXX1859                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,840.66
          Account No. XXX1860                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1861                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1862                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1864                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1865                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX1866                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,500.00
          Account No. XXX1867                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX1869                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1870                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,005.60
          Account No. XXX1871                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $271,000.00
          Account No. XXX1872                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,500.00
          Account No. XXX1873                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $114,000.00
          Account No. XXX1874                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1875                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,000.00
          Account No. XXX1878                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $330,000.00
          Account No. XXX1879                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $118,000.00
          Account No. XXX1881                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,000.00
          Account No. XXX1882                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1884                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1885                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $104,500.00
          Account No. XXX1886                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,891.00
          Account No. XXX1887                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX1889                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $89,000.00
          Account No. XXX1890                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $118,500.00
          Account No. XXX1891                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $245,000.00
          Account No. XXX1892                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX1893                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $116,000.00
          Account No. XXX1894                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,500.00
          Account No. XXX1895                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,450.00
          Account No. XXX1896                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,500.00
          Account No. XXX1897                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,000.00
          Account No. XXX1898                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX1899                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1900                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $119,000.00
          Account No. XXX1901                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX1902                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,500.00
          Account No. XXX1903                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1904                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1905                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $348,000.00
          Account No. XXX1906                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1907                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,500.00
          Account No. XXX1908                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $152,065.07
          Account No. XXX1911                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,115.02
          Account No. XXX1912                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX1918                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,000.00
          Account No. XXX1919                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,000.00
          Account No. XXX1920                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $265,500.00
          Account No. XXX1921                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX1922                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,500.00
          Account No. XXX1923                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1925                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX1926                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1927                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,250.00
          Account No. XXX1928                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX1929                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1931                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,000.00
          Account No. XXX1932                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1933                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,744.23
          Account No. XXX1934                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $259,250.00
          Account No. XXX1935                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX1944                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,756.56
          Account No. XXX1945                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1946                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1948                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,000.00
          Account No. XXX1949                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1951                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,503.87
          Account No. XXX1952                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,300.00
          Account No. XXX1953                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,600.00
          Account No. XXX1954                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $82,121.05
          Account No. XXX1955                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX1956                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX1958                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX1959                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX1960                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $170,000.00
          Account No. XXX1961                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1964                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,606.34
          Account No. XXX1965                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $166,000.00
          Account No. XXX1966                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,250.00
          Account No. XXX1967                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX1968                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX1969                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $140,000.00
          Account No. XXX1970                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,000.00
          Account No. XXX1972                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1973                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,500.00
          Account No. XXX1974                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX1975                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $160,000.00
          Account No. XXX1976                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX1977                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX1980                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $524,123.00
          Account No. XXX1981                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $135,603.53
          Account No. XXX1982                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1985                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $350,000.00
          Account No. XXX1986                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX1987                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX1988                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,812.58
          Account No. XXX1992                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,375.00
          Account No. XXX1993                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1994                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,952.39
          Account No. XXX1995                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,377,126.68
          Account No. XXX1996                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX1997                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX1998                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX1999                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.696    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2001                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.697    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2002                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.698    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,348.08
          Account No. XXX2003                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.699    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,000.00
          Account No. XXX2004                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.700    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2005                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.701    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $94,000.00
          Account No. XXX2008                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.702    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,000.00
          Account No. XXX2009                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.703    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX2010                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.704    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2011                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.705    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2012                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.706    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,200.00
          Account No. XXX2013                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.707    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,500.00
          Account No. XXX2014                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.708    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX2015                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.709    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2016                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.710    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2017                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.711    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $550,000.00
          Account No. XXX2018                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.712    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,121.93
          Account No. XXX2019                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.713    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $110,000.00
          Account No. XXX2020                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.714    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,500.00
          Account No. XXX2022                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.715    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX2023                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.716    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX2025                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.717    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,300.00
          Account No. XXX2026                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.718    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2027                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.719    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          Account No. XXX2028                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.720    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2029                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.721    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,000.00
          Account No. XXX2031                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.722    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,750.00
          Account No. XXX2032                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.723    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,000.00
          Account No. XXX2033                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.724    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $144,388.19
          Account No. XXX2034                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.725    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $69,500.00
          Account No. XXX2036                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.726    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2037                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.727    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2038                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.728    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2040                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.729    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,313.37
          Account No. XXX2041                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.730    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2042                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.731    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2044                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.732    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,779.00
          Account No. XXX2045                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.733    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2046                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.734    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $108,000.00
          Account No. XXX2047                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.735    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2048                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.736    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2049                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.737    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX2050                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.738    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,000.00
          Account No. XXX2051                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.739    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2052                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.740    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX2054                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.741    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2056                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.742    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,562.62
          Account No. XXX2057                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.743    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2058                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.744    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $175,000.00
          Account No. XXX2059                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.745    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX2061                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.746    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $249,500.00
          Account No. XXX2062                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.747    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,638.00
          Account No. XXX2063                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.748    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $165,134.90
          Account No. XXX2064                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.749    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2066                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.750    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX2067                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.751    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2069                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.752    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,891.63
          Account No. XXX2070                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.753    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2071                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.754    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $101,000.00
          Account No. XXX2072                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.755    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,465.00
          Account No. XXX2073                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.756    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,688.04
          Account No. XXX2074                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.757    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,398.72
          Account No. XXX2075                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.758    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2077                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.759    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,000.00
          Account No. XXX2079                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.760    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2080                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.761    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,000.00
          Account No. XXX2081                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.762    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          Account No. XXX2082                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.763    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,445.00
          Account No. XXX2083                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.764    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX2084                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.765    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,534.19
          Account No. XXX2085                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.766    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,800.00
          Account No. XXX2087                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.767    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $88,000.00
          Account No. XXX2088                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.768    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,500.00
          Account No. XXX2089                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.769    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $115,000.00
          Account No. XXX2090                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.770    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2091                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.771    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,114.45
          Account No. XXX2092                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.772    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,000.00
          Account No. XXX2093                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.773    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX2094                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.774    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,058.04
          Account No. XXX2095                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.775    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,754.51
          Account No. XXX2097                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.776    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2098                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.777    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2099                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.778    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2102                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.779    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,250.00
          Account No. XXX2105                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.780    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,750.00
          Account No. XXX2106                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,000.00
          Account No. XXX2107                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,100.00
          Account No. XXX2108                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,000.00
          Account No. XXX2110                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,750.00
          Account No. XXX2111                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.785    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2112                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.786    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,398.58
          Account No. XXX2113                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.787    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2114                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.788    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2118                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.789    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $116,173.73
          Account No. XXX2119                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.790    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $83,000.00
          Account No. XXX2120                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.791    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2121                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.792    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,000.00
          Account No. XXX2124                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.793    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,833.45
          Account No. XXX2125                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.794    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX2126                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.795    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $98,500.00
          Account No. XXX2127                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.796    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX2128                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.797    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,500.00
          Account No. XXX2129                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.798    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2130                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.799    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2131                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.800    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2132                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.801    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $89,211.40
          Account No. XXX2136                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.802    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $123,000.00
          Account No. XXX2137                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.803    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,662.50
          Account No. XXX2138                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.804    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2139                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.805    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2142                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.806    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,500.00
          Account No. XXX2143                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.807    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,711.08
          Account No. XXX2145                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.808    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,191.27
          Account No. XXX2147                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.809    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $93,000.00
          Account No. XXX2148                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.810    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,475.00
          Account No. XXX2149                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.811    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2150                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.812    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $83,000.00
          Account No. XXX2151                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.813    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $102,500.00
          Account No. XXX2152                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.814    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2153                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.815    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2154                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.816    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2155                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.817    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2156                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.818    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2158                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.819    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $134,000.00
          Account No. XXX2159                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.820    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,500.00
          Account No. XXX2160                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.821    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX2161                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.822    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,892.22
          Account No. XXX2163                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.823    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2164                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.824    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2165                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.825    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX2166                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.826    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $230,000.00
          Account No. XXX2167                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.827    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX2170                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.828    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,500.00
          Account No. XXX2175                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.829    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2177                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.830    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX2178                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.831    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2179                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.832    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2180                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.833    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,331.06
          Account No. XXX2181                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.834    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $322,000.00
          Account No. XXX2182                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.835    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX2183                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.836    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2184                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.837    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2185                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.838    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,962.97
          Account No. XXX2189                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.839    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $57,632.68
          Account No. XXX2191                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.840    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2192                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.841    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,750.00
          Account No. XXX2193                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.842    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX2194                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.843    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          Account No. XXX2195                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.844    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,250.00
          Account No. XXX2196                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.845    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,000.00
          Account No. XXX2197                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.846    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,500.00
          Account No. XXX2198                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.847    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2199                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.848    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX2200                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.849    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2201                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.850    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $71,578.16
          Account No. XXX2202                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.851    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $151,159.20
          Account No. XXX2203                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.852    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX2204                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.853    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2205                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.854    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $147,943.01
          Account No. XXX2206                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.855    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX2207                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.856    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2208                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.857    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2209                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.858    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2210                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.859    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $203,000.00
          Account No. XXX2212                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.860    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,500.00
          Account No. XXX2213                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.861    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX2215                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.862    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,750.00
          Account No. XXX2216                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.863    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $77,500.00
          Account No. XXX2217                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.864    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,300.00
          Account No. XXX2218                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.865    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,000.00
          Account No. XXX2220                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.866    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2221                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.867    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX2222                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.868    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2223                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.869    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,481.07
          Account No. XXX2226                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.870    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2227                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.871    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,500.00
          Account No. XXX2228                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.872    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,000.00
          Account No. XXX2230                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.873    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX2231                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.874    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2232                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.875    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,392.29
          Account No. XXX2233                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.876    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,270.12
          Account No. XXX2234                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.877    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX2236                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.878    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2237                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.879    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,250.00
          Account No. XXX2238                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.880    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $685,000.00
          Account No. XXX2239                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.881    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,000.00
          Account No. XXX2240                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.882    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $274,000.00
          Account No. XXX2241                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.883    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $310,000.00
          Account No. XXX2242                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.884    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2245                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.885    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2246                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.886    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2247                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.887    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,810.45
          Account No. XXX2248                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.888    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,309.17
          Account No. XXX2249                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.889    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,126.38
          Account No. XXX2250                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.890    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2251                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.891    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,475.00
          Account No. XXX2252                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.892    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,000.00
          Account No. XXX2253                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.893    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2254                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.894    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,666.21
          Account No. XXX2255                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.895    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $96,200.00
          Account No. XXX2256                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.896    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $160,000.00
          Account No. XXX2257                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.897    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2258                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.898    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2260                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.899    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,500.00
          Account No. XXX2261                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.900    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,000.00
          Account No. XXX2262                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.901    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $183,592.87
          Account No. XXX2264                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.902    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX2265                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.903    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $236,000.00
          Account No. XXX2266                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.904    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,400.00
          Account No. XXX2267                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.905    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2268                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.906    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2269                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.907    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2270                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.908    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2271                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.909    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,416.25
          Account No. XXX2272                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.910    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,770.22
          Account No. XXX2273                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.911    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,475.00
          Account No. XXX2274                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.912    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $113,500.00
          Account No. XXX2275                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.913    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,200.00
          Account No. XXX2281                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.914    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2283                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.915    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX2284                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.916    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $124,311.11
          Account No. XXX2285                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.917    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2286                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.918    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $188,440.86
          Account No. XXX2287                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.919    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2288                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.920    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,933.57
          Account No. XXX2292                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.921    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2293                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.922    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $71,000.00
          Account No. XXX2294                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.923    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2295                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.924    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2296                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.925    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $139,976.63
          Account No. XXX2299                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.926    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2303                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.927    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,400.00
          Account No. XXX2304                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.928    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,300.00
          Account No. XXX2305                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.929    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,145.87
          Account No. XXX2308                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.930    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,569.95
          Account No. XXX2309                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.931    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2310                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.932    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2311                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.933    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX2312                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.934    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2314                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.935    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX2315                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.936    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2316                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.937    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,500.00
          Account No. XXX2318                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.938    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX2321                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.939    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2323                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.940    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2324                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.941    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2325                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.942    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2326                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.943    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2327                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.944    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX2330                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.945    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $91,077.12
          Account No. XXX2332                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.946    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $71,000.00
          Account No. XXX2334                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.947    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2335                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.948    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $73,502.54
          Account No. XXX2337                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.949    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,109.67
          Account No. XXX2338                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.950    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,262.83
          Account No. XXX2339                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.951    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,909.54
          Account No. XXX2340                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.952    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,000.00
          Account No. XXX2341                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.953    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX2344                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.954    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2345                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.955    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX2346                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.956    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,000.00
          Account No. XXX2347                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.957    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX2348                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.958    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,394.79
          Account No. XXX2349                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.959    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $124,298.00
          Account No. XXX2350                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.960    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,616.86
          Account No. XXX2351                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.961    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,641.85
          Account No. XXX2352                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.962    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2354                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.963    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $249,425.00
          Account No. XXX2355                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.964    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2357                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.965    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $145,500.00
          Account No. XXX2358                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.966    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2359                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.967    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,400.00
          Account No. XXX2361                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.968    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2363                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.969    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2364                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.970    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,234.73
          Account No. XXX2365                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.971    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,700.00
          Account No. XXX2366                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.972    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,700.00
          Account No. XXX2367                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.973    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $171,500.00
          Account No. XXX2368                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.974    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,500.00
          Account No. XXX2370                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.975    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $140,000.00
          Account No. XXX2371                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.976    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          Account No. XXX2372                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.977    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2373                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.978    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX2376                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.979    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2377                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.980    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,848.00
          Account No. XXX2379                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.981    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2380                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.982    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,500.00
          Account No. XXX2382                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.983    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2384                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.984    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2387                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.985    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,400.00
          Account No. XXX2390                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.986    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $135,707.64
          Account No. XXX2391                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.987    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,969.00
          Account No. XXX2392                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.988    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $325,000.00
          Account No. XXX2393                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.989    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2395                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.990    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2397                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.991    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,475.00
          Account No. XXX2400                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.992    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX2401                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.993    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,877.61
          Account No. XXX2402                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.994    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2406                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.995    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2408                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.996    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2409                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.997    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $73,500.00
          Account No. XXX2410                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.998    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,972.08
          Account No. XXX2411                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.999    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2412                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $84,406.55
          Account No. XXX2413                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,500.00
          Account No. XXX2414                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $131,000.00
          Account No. XXX2415                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,305.17
          Account No. XXX2416                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.100
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2417                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,889.70
          Account No. XXX2421                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2423                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2424                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,000.00
          Account No. XXX2426                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2429                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,379.91
          Account No. XXX2430                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.101
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $203,085.87
          Account No. XXX2431                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2433                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $175,000.00
          Account No. XXX2434                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX2435                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2436                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,674.72
          Account No. XXX2437                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,301.98
          Account No. XXX2438                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.101
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,671.18
          Account No. XXX2439                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2440                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,700.00
          Account No. XXX2442                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $244,500.00
          Account No. XXX2443                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,200.00
          Account No. XXX2444                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $91,000.00
          Account No. XXX2446                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,475.00
          Account No. XXX2447                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.102
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $249,207.97
          Account No. XXX2449                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $119,372.80
          Account No. XXX2450                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,475.00
          Account No. XXX2451                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $98,200.00
          Account No. XXX2453                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2454                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $69,000.00
          Account No. XXX2455                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2456                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.103
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2457                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $355,472.58
          Account No. XXX2458                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $93,700.00
          Account No. XXX2459                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $636,000.00
          Account No. XXX2460                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2462                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2463                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,974.70
          Account No. XXX2464                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.103
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,475.00
          Account No. XXX2465                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2467                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2468                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,274.65
          Account No. XXX2469                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX2472                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2473                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2474                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.104
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $400,000.00
          Account No. XXX2475                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2476                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX2477                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,146.75
          Account No. XXX2478                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2479                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2480                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,700.00
          Account No. XXX2482                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.105
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2486                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX2487                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2488                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2491                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX2492                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2494                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,400.00
          Account No. XXX2495                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.106
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2499                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2500                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2501                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $450,000.00
          Account No. XXX2502                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,042.82
          Account No. XXX2503                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2504                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2505                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.106
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2506                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2509                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2511                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,500.00
          Account No. XXX2513                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $400,000.00
          Account No. XXX2514                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $326,318.67
          Account No. XXX2515                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $184,609.89
          Account No. XXX2516                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.107
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,938.27
          Account No. XXX2518                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX2520                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,127.00
          Account No. XXX2522                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $69,211.36
          Account No. XXX2523                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $229,470.56
          Account No. XXX2524                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX2527                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,082.67
          Account No. XXX2529                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.108
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2530                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $77,000.00
          Account No. XXX2531                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2535                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,318.02
          Account No. XXX2537                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX2538                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2539                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,600.00
          Account No. XXX2541                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.108
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2542                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2543                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2544                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2545                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $401,139.33
          Account No. XXX2549                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX2550                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2551                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.109
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2552                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $108,500.00
          Account No. XXX2553                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2554                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2555                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX2557                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2558                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,369.40
          Account No. XXX2559                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.110
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $230,556.53
          Account No. XXX2561                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,054.83
          Account No. XXX2563                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $82,825.11
          Account No. XXX2564                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,475.00
          Account No. XXX2565                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2566                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,200.00
          Account No. XXX2573                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX2574                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.110
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $275,700.00
          Account No. XXX2575                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2576                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,375.08
          Account No. XXX2577                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2578                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,537.27
          Account No. XXX2579                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2581                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2582                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.111
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,171.14
          Account No. XXX2583                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,573.12
          Account No. XXX2584                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2585                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,966.51
          Account No. XXX2586                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,882.58
          Account No. XXX2587                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $275,000.00
          Account No. XXX2588                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,575.00
          Account No. XXX2589                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.112
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,575.00
          Account No. XXX2590                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2592                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,437.39
          Account No. XXX2594                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,794.18
          Account No. XXX2596                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $104,975.00
          Account No. XXX2597                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $506,085.27
          Account No. XXX2598                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2604                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.113
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,250.00
          Account No. XXX2605                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2606                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2607                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,000.00
          Account No. XXX2608                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2609                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,400.00
          Account No. XXX2611                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,800.00
          Account No. XXX2612                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.113
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2613                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2614                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          Account No. XXX2615                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,825.63
          Account No. XXX2616                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,023.00
          Account No. XXX2617                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,171.00
          Account No. XXX2618                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2619                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.114
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $41,700.00
          Account No. XXX2620                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2621                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2622                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2623                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $137,915.00
          Account No. XXX2624                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX2625                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,000.00
          Account No. XXX2627                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.115
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX2629                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2630                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2631                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,475.00
          Account No. XXX2632                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,562.25
          Account No. XXX2638                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX2639                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $136,970.08
          Account No. XXX2640                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.115
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2643                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2645                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2646                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $110,000.00
          Account No. XXX2647                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX2648                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,780.00
          Account No. XXX2649                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2651                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.116
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,475.00
          Account No. XXX2654                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,380.00
          Account No. XXX2655                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,475.00
          Account No. XXX2656                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2657                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2658                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2659                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2660                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.117
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,034.57
          Account No. XXX2661                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2662                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,928.72
          Account No. XXX2663                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $202,916.73
          Account No. XXX2668                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,690.85
          Account No. XXX2669                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2672                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,962.10
          Account No. XXX2673                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.117
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,457.48
          Account No. XXX2674                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $166,451.83
          Account No. XXX2675                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2676                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2677                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,790.67
          Account No. XXX2678                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2679                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX2680                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.118
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX2682                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX2683                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2684                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX2685                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $135,000.00
          Account No. XXX2686                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,860.34
          Account No. XXX2694                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $71,358.00
          Account No. XXX2695                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.119
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,635.57
          Account No. XXX2697                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,557.70
          Account No. XXX2700                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $114,725.52
          Account No. XXX2701                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,609.09
          Account No. XXX2702                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,392.18
          Account No. XXX2705                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2706                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $73,666.17
          Account No. XXX2707                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.120
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2708                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,500.00
          Account No. XXX2709                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2710                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2711                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,000.00
          Account No. XXX2712                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $184,295.00
          Account No. XXX2713                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,284.25
          Account No. XXX2714                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.120
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2715                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2716                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2717                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2718                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2719                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2720                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX2721                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.121
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,224.41
          Account No. XXX2722                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2723                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,000.00
          Account No. XXX2724                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,582.88
          Account No. XXX2725                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,744.40
          Account No. XXX2726                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX2727                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX2729                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.122
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,051.00
          Account No. XXX2730                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2732                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $273,000.00
          Account No. XXX2733                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,500.00
          Account No. XXX2734                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2735                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2736                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2737                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.122
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2738                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2739                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2740                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,891.30
          Account No. XXX2741                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,000.00
          Account No. XXX2742                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX2743                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $104,462.13
          Account No. XXX2744                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.123
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,200.90
          Account No. XXX2746                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,200.00
          Account No. XXX2747                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2748                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,484.98
          Account No. XXX2749                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,770.19
          Account No. XXX2750                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,000.00
          Account No. XXX2751                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2752                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.124
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,153.35
          Account No. XXX2753                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,558.22
          Account No. XXX2754                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $214,967.45
          Account No. XXX2755                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $211,928.66
          Account No. XXX2756                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX2757                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX2758                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $82,300.00
          Account No. XXX2761                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.124
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,500.00
          Account No. XXX2762                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $596,000.00
          Account No. XXX2763                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $251,200.00
          Account No. XXX2764                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2765                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2766                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,083.06
          Account No. XXX2767                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,000.00
          Account No. XXX2768                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.125
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX2769                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,525.57
          Account No. XXX2770                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,000.00
          Account No. XXX2771                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2772                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2773                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2774                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,816.10
          Account No. XXX2775                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.126
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,200.00
          Account No. XXX2776                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $157,000.00
          Account No. XXX2777                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,400.03
          Account No. XXX2778                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2779                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2780                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,816.45
          Account No. XXX2781                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $117,615.21
          Account No. XXX2782                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.127
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2783                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2784                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX2785                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2786                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,856.00
          Account No. XXX2787                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2789                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2790                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.127
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,400.00
          Account No. XXX2791                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,300.00
          Account No. XXX2792                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,609.94
          Account No. XXX2794                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2795                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,000.00
          Account No. XXX2796                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $102,291.95
          Account No. XXX2797                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,250.00
          Account No. XXX2798                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.128
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX2799                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,955.11
          Account No. XXX2800                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2801                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $119,750.00
          Account No. XXX2803                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2805                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2806                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2807                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.129
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,860.00
          Account No. XXX2808                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $71,624.50
          Account No. XXX2809                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,909.98
          Account No. XXX2810                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,653.03
          Account No. XXX2811                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,145.23
          Account No. XXX2812                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $518,469.00
          Account No. XXX2813                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,581.60
          Account No. XXX2814                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.129
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $160,000.00
          Account No. XXX2815                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,788.20
          Account No. XXX2816                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2817                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,789.64
          Account No. XXX2818                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,789.64
          Account No. XXX2819                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,254.31
          Account No. XXX2820                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,789.52
          Account No. XXX2821                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.130
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $69,000.00
          Account No. XXX2822                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX2823                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX2824                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX2825                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,300.00
          Account No. XXX2826                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,620.16
          Account No. XXX2827                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2828                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.131
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX2829                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,906.85
          Account No. XXX2830                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,906.85
          Account No. XXX2831                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX2832                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX2833                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,879.18
          Account No. XXX2834                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,373.80
          Account No. XXX2835                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.131
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $103,818.12
          Account No. XXX2836                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2837                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,564.11
          Account No. XXX2838                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2839                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX2840                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2841                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,522.24
          Account No. XXX2842                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.132
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,522.24
          Account No. XXX2843                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,522.24
          Account No. XXX2844                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,293.74
          Account No. XXX2845                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,908.63
          Account No. XXX2846                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,709.38
          Account No. XXX2847                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $148,505.00
          Account No. XXX2848                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,265.97
          Account No. XXX2849                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.133
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,749.90
          Account No. XXX2850                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,772.29
          Account No. XXX2851                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2852                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2853                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,717.44
          Account No. XXX2854                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX2855                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX2856                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.134
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2857                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,644.68
          Account No. XXX2858                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,562.95
          Account No. XXX2859                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,832.79
          Account No. XXX2860                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $138,272.00
          Account No. XXX2861                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,222.00
          Account No. XXX2862                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,986.44
          Account No. XXX2863                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.134
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2864                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2865                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $86,557.46
          Account No. XXX2866                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2867                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2868                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2870                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2871                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.135
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,320.08
          Account No. XXX2872                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,320.08
          Account No. XXX2873                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,711.66
          Account No. XXX2874                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2875                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2877                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,928.68
          Account No. XXX2878                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,872.73
          Account No. XXX2879                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.136
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,872.73
          Account No. XXX2880                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2881                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $164,451.00
          Account No. XXX2882                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,799.79
          Account No. XXX2883                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX2884                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,409.00
          Account No. XXX2885                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $132,000.00
          Account No. XXX2886                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.136
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $335,121.22
          Account No. XXX2887                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,475.00
          Account No. XXX2888                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,376.22
          Account No. XXX2889                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2890                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,471.30
          Account No. XXX2891                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2892                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,117.50
          Account No. XXX2893                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.137
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,250.00
          Account No. XXX2894                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,250.00
          Account No. XXX2895                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX2896                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,451.52
          Account No. XXX2897                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2898                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX2899                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,678.63
          Account No. XXX2900                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.138
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,726.08
          Account No. XXX2901                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $182,676.74
          Account No. XXX2902                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,357.46
          Account No. XXX2903                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $79,400.00
          Account No. XXX2904                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,234.78
          Account No. XXX2905                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX2907                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,926.78
          Account No. XXX2908                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.138
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,115.91
          Account No. XXX2909                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,615.15
          Account No. XXX2910                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,000.00
          Account No. XXX2911                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $69,300.00
          Account No. XXX2912                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,500.00
          Account No. XXX2913                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX2914                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $800,000.00
          Account No. XXX2915                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.139
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,864.16
          Account No. XXX2916                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,511.60
          Account No. XXX2917                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,300.00
          Account No. XXX2918                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2920                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $91,709.99
          Account No. XXX2921                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,679.04
          Account No. XXX2922                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,513.51
          Account No. XXX2923                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.140
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2924                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX2925                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2926                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,826.86
          Account No. XXX2927                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2928                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2929                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2930                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.141
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2931                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,215.88
          Account No. XXX2932                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2933                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,414.55
          Account No. XXX2934                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,359.27
          Account No. XXX2935                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,216.06
          Account No. XXX2936                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX2938                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.141
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2939                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2940                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2941                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX2942                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,976.13
          Account No. XXX2943                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,560.05
          Account No. XXX2944                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2946                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.142
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX2947                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2948                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,700.00
          Account No. XXX2949                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,300.00
          Account No. XXX2950                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2951                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $204,000.00
          Account No. XXX2952                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,047.60
          Account No. XXX2953                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.143
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $729,528.56
          Account No. XXX2954                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $160,785.00
          Account No. XXX2955                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2956                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,216.20
          Account No. XXX2957                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,360.00
          Account No. XXX2958                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,931.50
          Account No. XXX2959                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,500.00
          Account No. XXX2960                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.143
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,312.80
          Account No. XXX2961                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,600.00
          Account No. XXX2962                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $269,000.00
          Account No. XXX2964                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX2965                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX2966                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX2967                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $368,638.61
          Account No. XXX2968                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.144
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,500.00
          Account No. XXX2969                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,000.00
          Account No. XXX2970                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,163.63
          Account No. XXX2971                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,575.52
          Account No. XXX2972                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,574.78
          Account No. XXX2973                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2974                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2975                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.145
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX2976                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX2977                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $77,750.00
          Account No. XXX2978                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,850.42
          Account No. XXX2979                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,475.00
          Account No. XXX2980                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,866.52
          Account No. XXX2981                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,261.29
          Account No. XXX2982                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.145
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,338.79
          Account No. XXX2983                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $227,500.00
          Account No. XXX2984                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,183.00
          Account No. XXX2985                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,239.35
          Account No. XXX2986                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,239.35
          Account No. XXX2987                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $138,100.00
          Account No. XXX2988                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,064.46
          Account No. XXX2989                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.146
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,300.00
          Account No. XXX2990                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $230,000.00
          Account No. XXX2991                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,800.00
          Account No. XXX2992                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $82,300.00
          Account No. XXX2993                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,800.00
          Account No. XXX2994                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,800.00
          Account No. XXX2995                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,684.43
          Account No. XXX2996                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.147
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $101,282.17
          Account No. XXX2997                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $67,824.59
          Account No. XXX2998                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,394.58
          Account No. XXX2999                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,826.28
          Account No. XXX3000                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,404.99
          Account No. XXX3002                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,523.01
          Account No. XXX3003                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3004                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.148
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX3005                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,037.18
          Account No. XXX3006                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,722.00
          Account No. XXX3007                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX3008                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3009                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $123,974.14
          Account No. XXX3010                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,000.00
          Account No. XXX3012                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.148
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,000.00
          Account No. XXX3013                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $91,832.61
          Account No. XXX3014                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,092.19
          Account No. XXX3016                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,370.02
          Account No. XXX3017                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $158,674.00
          Account No. XXX3018                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $189,800.00
          Account No. XXX3019                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3020                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.149
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3021                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3022                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3024                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,758.77
          Account No. XXX3025                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,127.75
          Account No. XXX3026                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,954.10
          Account No. XXX3027                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,300.52
          Account No. XXX3028                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.150
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX3029                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3030                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,449.27
          Account No. XXX3031                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $249,725.00
          Account No. XXX3032                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,000.00
          Account No. XXX3033                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3034                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3035                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.150
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,000.00
          Account No. XXX3036                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3037                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $240,000.00
          Account No. XXX3038                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3039                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,376.34
          Account No. XXX3040                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,266.41
          Account No. XXX3041                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3042                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.151
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3043                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,900.79
          Account No. XXX3044                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $67,000.00
          Account No. XXX3045                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3046                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3047                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $294,980.00
          Account No. XXX3048                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3049                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.152
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,584.52
          Account No. XXX3050                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $79,000.00
          Account No. XXX3051                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $126,900.07
          Account No. XXX3052                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $77,269.22
          Account No. XXX3053                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3055                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $96,768.00
          Account No. XXX3056                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3057                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.152
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          Account No. XXX3058                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX3059                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3060                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $148,573.15
          Account No. XXX3061                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3062                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3063                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,000.00
          Account No. XXX3064                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.153
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,520.38
          Account No. XXX3065                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,675.00
          Account No. XXX3066                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,677.20
          Account No. XXX3067                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $73,749.13
          Account No. XXX3068                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,339.00
          Account No. XXX3069                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX3070                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,025.16
          Account No. XXX3071                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.154
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,700.81
          Account No. XXX3072                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,031.85
          Account No. XXX3073                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,999.85
          Account No. XXX3074                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3076                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $41,650.00
          Account No. XXX3077                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3078                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,046.17
          Account No. XXX3079                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.155
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3080                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,800.00
          Account No. XXX3081                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $302,500.00
          Account No. XXX3082                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3083                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3084                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX3085                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,269.46
          Account No. XXX3086                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.155
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $135,411.40
          Account No. XXX3087                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3088                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,500.00
          Account No. XXX3089                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,100.00
          Account No. XXX3090                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,139.97
          Account No. XXX3091                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3092                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3093                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.156
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3094                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,125.68
          Account No. XXX3095                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,489.43
          Account No. XXX3096                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,706.48
          Account No. XXX3097                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3098                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3099                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $209,984.30
          Account No. XXX3101                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.157
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,204.78
          Account No. XXX3102                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $195,929.38
          Account No. XXX3103                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,300.00
          Account No. XXX3104                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3105                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3106                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,500.00
          Account No. XXX3107                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $84,125.56
          Account No. XXX3108                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.157
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,530.03
          Account No. XXX3109                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,539.12
          Account No. XXX3110                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,500.00
          Account No. XXX3111                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $163,862.73
          Account No. XXX3112                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX3113                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,500.00
          Account No. XXX3114                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3115                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.158
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,933.14
          Account No. XXX3116                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX3117                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3118                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3119                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $420,000.00
          Account No. XXX3120                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3121                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,234.51
          Account No. XXX3122                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.159
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,272.54
          Account No. XXX3123                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,500.00
          Account No. XXX3124                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3125                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,390.83
          Account No. XXX3126                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,755.38
          Account No. XXX3127                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3128                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,595.08
          Account No. XXX3129                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.159
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,069.19
          Account No. XXX3131                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3132                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3133                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX3134                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3135                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,032.05
          Account No. XXX3136                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,459.59
          Account No. XXX3137                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.160
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,877.00
          Account No. XXX3138                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $213,726.85
          Account No. XXX3139                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $73,855.06
          Account No. XXX3140                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3141                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3142                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,521.64
          Account No. XXX3143                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,500.00
          Account No. XXX3144                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.161
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $153,177.47
          Account No. XXX3145                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,300.00
          Account No. XXX3146                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,179.30
          Account No. XXX3147                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,000.00
          Account No. XXX3148                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,219.31
          Account No. XXX3149                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3150                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $82,269.06
          Account No. XXX3152                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.162
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,958.58
          Account No. XXX3153                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3154                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3155                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,575.00
          Account No. XXX3156                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3157                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $114,000.00
          Account No. XXX3159                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,658.66
          Account No. XXX3160                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.162
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,388.36
          Account No. XXX3161                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3162                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3163                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3164                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3165                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $69,756.90
          Account No. XXX3166                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,618.51
          Account No. XXX3167                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.163
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3168                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $243,706.07
          Account No. XXX3170                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3171                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX3172                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3173                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,564.31
          Account No. XXX3174                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,588.33
          Account No. XXX3175                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.164
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3176                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,109.16
          Account No. XXX3177                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.02
          Account No. XXX3179                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3180                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3181                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $106,349.07
          Account No. XXX3182                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3183                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.164
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $130,597.75
          Account No. XXX3184                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3185                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,683.22
          Account No. XXX3186                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3187                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3188                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,576.18
          Account No. XXX3189                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $107,336.45
          Account No. XXX3190                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.165
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,779.67
          Account No. XXX3191                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3192                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3193                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3194                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3195                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $160,531.76
          Account No. XXX3196                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3197                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.166
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $126,300.00
          Account No. XXX3198                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,300.00
          Account No. XXX3199                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,143.95
          Account No. XXX3200                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $271,200.00
          Account No. XXX3201                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,000.00
          Account No. XXX3202                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,525.00
          Account No. XXX3203                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX3204                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.166
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,500.00
          Account No. XXX3205                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3206                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX3207                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX3208                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3209                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,410.00
          Account No. XXX3210                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3211                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.167
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,301.00
          Account No. XXX3212                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,000.00
          Account No. XXX3213                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3214                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX3215                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3216                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX3217                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,176.53
          Account No. XXX3218                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.168
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,176.54
          Account No. XXX3219                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3220                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3221                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $94,767.98
          Account No. XXX3222                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $86,326.58
          Account No. XXX3223                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3225                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,828.35
          Account No. XXX3226                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.169
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $744,724.37
          Account No. XXX3227                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,300.00
          Account No. XXX3228                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3229                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,511.33
          Account No. XXX3230                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          Account No. XXX3231                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,000.00
          Account No. XXX3232                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3233                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.169
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,830.70
          Account No. XXX3234                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,167.74
          Account No. XXX3235                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3236                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,600.00
          Account No. XXX3237                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $104,828.66
          Account No. XXX3238                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX3239                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3240                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.170
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3241                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3242                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3243                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,777.00
          Account No. XXX3244                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3245                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $62,000.00
          Account No. XXX3247                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3248                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.171
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,400.17
          Account No. XXX3249                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,000.00
          Account No. XXX3250                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX3253                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3254                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3255                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,800.00
          Account No. XXX3256                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,750.00
          Account No. XXX3257                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.171
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3258                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,024.23
          Account No. XXX3259                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3260                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3261                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,865.00
          Account No. XXX3262                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,434.63
          Account No. XXX3263                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $196,124.24
          Account No. XXX3264                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.172
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,459.22
          Account No. XXX3265                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $188,184.98
          Account No. XXX3266                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $77,795.22
          Account No. XXX3267                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,155.15
          Account No. XXX3268                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3269                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,153.38
          Account No. XXX3270                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3271                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.173
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,896.73
          Account No. XXX3272                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3273                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,000.00
          Account No. XXX3274                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,519.74
          Account No. XXX3275                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3276                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,952.60
          Account No. XXX3277                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,000.00
          Account No. XXX3278                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.173
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $67,000.00
          Account No. XXX3279                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,421.05
          Account No. XXX3280                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3281                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,128.41
          Account No. XXX3282                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3283                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,652.06
          Account No. XXX3284                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3285                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.174
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,000.00
          Account No. XXX3286                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3287                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,304.01
          Account No. XXX3288                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3289                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,119.46
          Account No. XXX3290                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,471.65
          Account No. XXX3291                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3292                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.175
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,313.84
          Account No. XXX3293                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,141.37
          Account No. XXX3294                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3295                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3296                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3297                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,250.00
          Account No. XXX3298                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3299                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.176
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3300                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,500.00
          Account No. XXX3301                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX3302                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,708.53
          Account No. XXX3303                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $368,170.00
          Account No. XXX3304                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3305                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $245,518.74
          Account No. XXX3306                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.176
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,750.00
          Account No. XXX3307                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,899.56
          Account No. XXX3308                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $77,607.81
          Account No. XXX3309                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,517.64
          Account No. XXX3310                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3311                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,588.48
          Account No. XXX3312                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,750.00
          Account No. XXX3313                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.177
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $84,281.57
          Account No. XXX3314                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.14
          Account No. XXX3315                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $175,000.00
          Account No. XXX3316                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,019.23
          Account No. XXX3317                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX3319                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,893.28
          Account No. XXX3320                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,726.87
          Account No. XXX3321                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.178
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3322                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3323                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3324                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $230,000.00
          Account No. XXX3325                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $273,300.00
          Account No. XXX3326                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $159,000.00
          Account No. XXX3327                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $41,450.00
          Account No. XXX3328                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.178
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3329                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX3330                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,512.90
          Account No. XXX3331                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $333,250.00
          Account No. XXX3332                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX3333                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,721.00
          Account No. XXX3334                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,500.00
          Account No. XXX3335                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.179
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,941.60
          Account No. XXX3336                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3337                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX3338                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3339                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $418,800.00
          Account No. XXX3340                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,069.97
          Account No. XXX3341                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,800.00
          Account No. XXX3342                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.180
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3343                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,183.62
          Account No. XXX3344                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,981.83
          Account No. XXX3345                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $62,300.00
          Account No. XXX3346                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $82,696.65
          Account No. XXX3347                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3348                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3349                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.180
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,119.22
          Account No. XXX3350                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,554.32
          Account No. XXX3351                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3352                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,514.05
          Account No. XXX3353                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,200.00
          Account No. XXX3354                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,045.70
          Account No. XXX3355                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,816.50
          Account No. XXX3356                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.181
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3357                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,769.12
          Account No. XXX3358                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,000.00
          Account No. XXX3360                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,772.13
          Account No. XXX3361                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,000.00
          Account No. XXX3362                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX3363                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $81,675.00
          Account No. XXX3364                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.182
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,500.00
          Account No. XXX3365                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,910.55
          Account No. XXX3366                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3367                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,548.30
          Account No. XXX3368                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,605.47
          Account No. XXX3369                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3370                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3371                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.183
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3372                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3373                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,605.47
          Account No. XXX3374                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,807.80
          Account No. XXX3375                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3376                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,275.00
          Account No. XXX3377                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,000.00
          Account No. XXX3378                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.183
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,200.00
          Account No. XXX3379                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,000.00
          Account No. XXX3380                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3381                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3382                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,650.00
          Account No. XXX3383                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,700.00
          Account No. XXX3384                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $83,547.89
          Account No. XXX3385                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.184
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,000.00
          Account No. XXX3386                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,197.52
          Account No. XXX3387                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,399.34
          Account No. XXX3388                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3389                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $189,300.00
          Account No. XXX3390                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3391                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3392                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.185
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,537.75
          Account No. XXX3393                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $67,475.00
          Account No. XXX3394                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,936.00
          Account No. XXX3395                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3396                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,408.57
          Account No. XXX3397                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3398                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $73,953.21
          Account No. XXX3399                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.185
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3400                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $91,625.46
          Account No. XXX3401                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3402                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,428.67
          Account No. XXX3403                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3404                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,914.99
          Account No. XXX3405                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3406                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.186
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,982.51
          Account No. XXX3407                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,982.51
          Account No. XXX3408                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3409                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,420.46
          Account No. XXX3410                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,534.29
          Account No. XXX3411                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,335.88
          Account No. XXX3412                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3413                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.187
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3414                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3415                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,923.89
          Account No. XXX3416                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3417                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,518.47
          Account No. XXX3418                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3419                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3420                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.187
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3421                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,258.36
          Account No. XXX3422                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3423                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3424                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,441.67
          Account No. XXX3425                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3426                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $97,324.85
          Account No. XXX3427                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.188
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,397.44
          Account No. XXX3428                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $57,000.00
          Account No. XXX3429                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,000.00
          Account No. XXX3430                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,480.17
          Account No. XXX3431                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,179.07
          Account No. XXX3432                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3433                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3435                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.189
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3436                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,435.86
          Account No. XXX3437                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $118,664.40
          Account No. XXX3438                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3439                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $77,211.28
          Account No. XXX3440                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3441                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3442                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.190
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,500.00
          Account No. XXX3443                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3444                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX3446                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $98,271.16
          Account No. XXX3447                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $127,724.06
          Account No. XXX3448                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $114,537.00
          Account No. XXX3449                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,161.76
          Account No. XXX3450                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.190
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $241,791.46
          Account No. XXX3451                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,423.17
          Account No. XXX3452                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,362.73
          Account No. XXX3453                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3454                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,356.85
          Account No. XXX3455                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3456                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3457                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.191
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,632.67
          Account No. XXX3458                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,067.07
          Account No. XXX3459                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $217,818.15
          Account No. XXX3460                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,999.89
          Account No. XXX3461                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,724.85
          Account No. XXX3462                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $123,374.22
          Account No. XXX3463                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX3464                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.192
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $109,902.10
          Account No. XXX3465                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,000.00
          Account No. XXX3466                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,600.00
          Account No. XXX3467                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $382,304.20
          Account No. XXX3468                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3469                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3470                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $149,814.54
          Account No. XXX3471                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.192
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3472                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $109,375.49
          Account No. XXX3473                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $222,907.67
          Account No. XXX3474                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,234.04
          Account No. XXX3475                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3476                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3477                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,000.00
          Account No. XXX3478                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.193
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,645.27
          Account No. XXX3479                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,697.01
          Account No. XXX3480                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,827.95
          Account No. XXX3481                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,000.00
          Account No. XXX3482                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3483                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $442,322.00
          Account No. XXX3484                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,154.16
          Account No. XXX3485                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.194
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,752.33
          Account No. XXX3486                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,547.22
          Account No. XXX3487                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3488                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,630.71
          Account No. XXX3489                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3490                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3491                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3492                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.194
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,128.62
          Account No. XXX3493                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,791.01
          Account No. XXX3494                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $290,000.00
          Account No. XXX3495                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $69,800.00
          Account No. XXX3496                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3497                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,214.06
          Account No. XXX3498                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $111,240.50
          Account No. XXX3499                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.195
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,000.00
          Account No. XXX3500                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,123.93
          Account No. XXX3501                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,114.91
          Account No. XXX3502                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,804.81
          Account No. XXX3503                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3504                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $749,000.00
          Account No. XXX3505                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,269.98
          Account No. XXX3506                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.196
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,349.18
          Account No. XXX3507                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,000.00
          Account No. XXX3508                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,045.96
          Account No. XXX3509                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3510                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,663.36
          Account No. XXX3511                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3512                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $143,440.00
          Account No. XXX3513                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.197
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX3514                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3515                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX3516                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX3517                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3518                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3519                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,315.11
          Account No. XXX3520                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.197
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,000.00
          Account No. XXX3521                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3522                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,593.31
          Account No. XXX3523                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,843.62
          Account No. XXX3524                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,250.00
          Account No. XXX3525                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $383,500.00
          Account No. XXX3526                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3527                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.198
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,883.64
          Account No. XXX3528                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX3530                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,360.00
          Account No. XXX3531                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3532                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3533                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,155.56
          Account No. XXX3534                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3535                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.199
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3536                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3537                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3538                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3539                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,000,000.00
          Account No. XXX3540                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $136,791.85
          Account No. XXX3541                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3542                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.199
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3543                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3544                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,948.16
          Account No. XXX3545                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX3546                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,554.41
          Account No. XXX3547                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3548                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $176,600.18
          Account No. XXX3549                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.200
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,610.00
          Account No. XXX3550                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          Account No. XXX3551                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,000.00
          Account No. XXX3552                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX3553                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,840.07
          Account No. XXX3554                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,530.00
          Account No. XXX3555                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,601.79
          Account No. XXX3556                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.201
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,543.05
          Account No. XXX3557                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $62,111.59
          Account No. XXX3558                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3559                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3560                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3561                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3562                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3563                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.201
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,425.00
          Account No. XXX3564                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX3565                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,636.02
          Account No. XXX3566                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $84,418.38
          Account No. XXX3567                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,299.14
          Account No. XXX3568                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3569                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,000.00
          Account No. XXX3570                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.202
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3571                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,962.31
          Account No. XXX3572                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3573                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX3574                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3575                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,800.00
          Account No. XXX3576                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,300.00
          Account No. XXX3577                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.203
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3578                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3579                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3580                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $400,000.00
          Account No. XXX3581                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,150.00
          Account No. XXX3582                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3583                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3584                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.204
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $128,100.00
          Account No. XXX3585                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3586                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3587                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3588                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,000.00
          Account No. XXX3589                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3590                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3591                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.204
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,430.00
          Account No. XXX3592                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,477.19
          Account No. XXX3593                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3594                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,594.49
          Account No. XXX3595                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,000.00
          Account No. XXX3596                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3597                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3598                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.205
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $277,483.09
          Account No. XXX3599                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,912.00
          Account No. XXX3600                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3601                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3602                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3603                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3604                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX3605                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.206
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3607                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,750.00
          Account No. XXX3608                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3609                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3610                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3611                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,589.81
          Account No. XXX3612                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,400.00
          Account No. XXX3613                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.206
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3614                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3615                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,828.60
          Account No. XXX3616                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,700.00
          Account No. XXX3618                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $73,500.00
          Account No. XXX3619                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3620                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3621                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.207
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          Account No. XXX3622                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3623                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3624                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3625                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3626                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3627                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3628                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.208
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,072.00
          Account No. XXX3629                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $94,474.00
          Account No. XXX3630                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3631                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,550.00
          Account No. XXX3632                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3633                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3634                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $241,000.00
          Account No. XXX3635                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.208
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $286,300.00
          Account No. XXX3636                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3637                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $110,000.00
          Account No. XXX3638                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3639                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3640                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3641                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,500.00
          Account No. XXX3642                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.209
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3643                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3644                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3645                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3646                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX3647                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,794.99
          Account No. XXX3648                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $140,000.00
          Account No. XXX3649                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.210
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $217,785.03
          Account No. XXX3650                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $91,902.96
          Account No. XXX3651                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3652                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,727.56
          Account No. XXX3653                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3654                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3655                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,400.00
          Account No. XXX3657                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.211
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,000.00
          Account No. XXX3658                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $215,000.00
          Account No. XXX3659                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3660                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3661                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,968.22
          Account No. XXX3662                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,705.10
          Account No. XXX3663                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,300.00
          Account No. XXX3664                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.211
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3665                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX3666                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,300.00
          Account No. XXX3667                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,575.00
          Account No. XXX3668                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,600.00
          Account No. XXX3669                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,000.00
          Account No. XXX3670                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3671                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.212
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3672                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $151,533.39
          Account No. XXX3673                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          Account No. XXX3674                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,800.00
          Account No. XXX3675                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,460.00
          Account No. XXX3676                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3677                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3678                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.213
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $400,000.00
          Account No. XXX3679                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3680                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          Account No. XXX3681                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3682                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,000.00
          Account No. XXX3683                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,150.00
          Account No. XXX3684                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,415.00
          Account No. XXX3685                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.213
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3686                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX3687                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3688                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,179.68
          Account No. XXX3689                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $57,736.36
          Account No. XXX3690                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3691                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3692                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.214
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $600,000.00
          Account No. XXX3693                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,834.89
          Account No. XXX3694                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,000.00
          Account No. XXX3695                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,000.00
          Account No. XXX3696                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $130,000.00
          Account No. XXX3697                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $302,800.00
          Account No. XXX3698                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3699                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.215
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,479.85
          Account No. XXX3700                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3701                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,096.73
          Account No. XXX3702                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3703                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3704                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          Account No. XXX3705                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $77,787.37
          Account No. XXX3706                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.215
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3707                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3708                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,212.28
          Account No. XXX3709                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3710                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3711                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3712                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX3713                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.216
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $41,454.14
          Account No. XXX3714                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $400,000.00
          Account No. XXX3716                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3717                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3718                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $77,725.00
          Account No. XXX3719                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3720                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3721                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.217
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3722                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX3723                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3724                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3725                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,500.00
          Account No. XXX3726                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,273.00
          Account No. XXX3727                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,877.69
          Account No. XXX3728                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.218
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3729                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,480.06
          Account No. XXX3730                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $317,731.91
          Account No. XXX3731                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $89,607.77
          Account No. XXX3732                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3733                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3734                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3735                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.218
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3736                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX3737                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,966.55
          Account No. XXX3738                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3739                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3740                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $94,000.00
          Account No. XXX3741                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $81,500.00
          Account No. XXX3742                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.219
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX3743                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $133,000.00
          Account No. XXX3744                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,000.00
          Account No. XXX3745                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $111,000.00
          Account No. XXX3746                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX3747                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,263.57
          Account No. XXX3748                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3749                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.220
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3750                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $106,000.00
          Account No. XXX3751                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $79,000.00
          Account No. XXX3752                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3753                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $130,000.00
          Account No. XXX3754                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX3755                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3756                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.220
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3757                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,750.00
          Account No. XXX3758                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,000.00
          Account No. XXX3759                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX3760                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,000.00
          Account No. XXX3761                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $107,207.21
          Account No. XXX3762                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3763                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.221
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3764                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3765                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $596,025.40
          Account No. XXX3766                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3767                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3768                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $218,000.00
          Account No. XXX3769                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,800.00
          Account No. XXX3770                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.222
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,386.93
          Account No. XXX3771                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3772                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3773                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3774                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3775                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3776                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          Account No. XXX3777                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.222
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,274.26
          Account No. XXX3778                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,739.00
          Account No. XXX3779                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $303,000.00
          Account No. XXX3780                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,500.00
          Account No. XXX3781                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3782                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3783                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3784                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.223
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,745.68
          Account No. XXX3785                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX3786                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $133,474.00
          Account No. XXX3787                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3788                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX3789                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3790                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3791                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.224
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $230,000.00
          Account No. XXX3792                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3793                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,000.00
          Account No. XXX3794                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3795                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $316,000.00
          Account No. XXX3796                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,332.25
          Account No. XXX3797                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,250.00
          Account No. XXX3798                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.225
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3799                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,225.00
          Account No. XXX3800                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3801                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3802                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $151,685.00
          Account No. XXX3803                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3804                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3805                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.225
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX3806                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3807                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $220,500.00
          Account No. XXX3808                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $294,500.00
          Account No. XXX3809                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,650.00
          Account No. XXX3810                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $114,500.00
          Account No. XXX3811                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $546,000.00
          Account No. XXX3812                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.226
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $231,600.00
          Account No. XXX3813                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $136,500.00
          Account No. XXX3814                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,500.00
          Account No. XXX3815                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $112,000.00
          Account No. XXX3816                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $175,000.00
          Account No. XXX3817                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,628.00
          Account No. XXX3818                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX3819                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.227
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3820                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3821                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX3822                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3823                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3824                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3825                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3826                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.227
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3827                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3828                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3829                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,000.00
          Account No. XXX3830                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,000.00
          Account No. XXX3831                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3832                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3833                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.228
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3834                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3835                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,864.36
          Account No. XXX3836                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3837                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $113,220.00
          Account No. XXX3838                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,000.00
          Account No. XXX3839                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3840                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.229
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX3841                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3842                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $683,745.00
          Account No. XXX3843                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX3844                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3845                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX3846                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3847                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.229
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $210,000.00
          Account No. XXX3848                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $57,000.00
          Account No. XXX3849                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,717.88
          Account No. XXX3850                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX3851                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,500.00
          Account No. XXX3852                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX3853                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,900.00
          Account No. XXX3854                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.230
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,507.77
          Account No. XXX3855                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3856                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3857                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3858                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3859                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3861                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3862                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.231
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3863                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3864                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3865                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX3866                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3867                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3868                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3869                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.232
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3870                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3871                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3872                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,956.00
          Account No. XXX3873                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,663.00
          Account No. XXX3874                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3876                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3877                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.232
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,500.00
          Account No. XXX3878                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX3879                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $170,000.00
          Account No. XXX3880                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3882                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3883                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX3884                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $130,839.00
          Account No. XXX3885                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.233
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,614.12
          Account No. XXX3886                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3887                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX3888                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3889                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3890                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3891                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,000.00
          Account No. XXX3892                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.234
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3893                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,684.66
          Account No. XXX3894                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,586.24
          Account No. XXX3895                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3896                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,500.00
          Account No. XXX3897                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $163,700.00
          Account No. XXX3898                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,000.00
          Account No. XXX3899                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.234
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3900                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,000.00
          Account No. XXX3901                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,000.00
          Account No. XXX3902                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,000.00
          Account No. XXX3903                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,000.00
          Account No. XXX3904                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,717.00
          Account No. XXX3905                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,785.00
          Account No. XXX3906                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.235
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3907                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3908                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3909                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX3910                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $110,000.00
          Account No. XXX3911                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3912                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,954.50
          Account No. XXX3913                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.236
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX3914                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,000.00
          Account No. XXX3915                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX3916                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3917                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX3918                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3919                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          Account No. XXX3920                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.236
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3921                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3922                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3923                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX3924                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,500.00
          Account No. XXX3925                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,000.00
          Account No. XXX3926                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $160,500.00
          Account No. XXX3927                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.237
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3928                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3929                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $172,500.00
          Account No. XXX3930                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $141,268.96
          Account No. XXX3931                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,297.46
          Account No. XXX3932                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,935.75
          Account No. XXX3933                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,184.14
          Account No. XXX3934                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.238
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3935                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $131,000.00
          Account No. XXX3936                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3937                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3938                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3939                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,000.00
          Account No. XXX3940                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $360,500.00
          Account No. XXX3941                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.239
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3942                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,000.00
          Account No. XXX3943                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3944                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3945                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3946                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3947                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3948                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.239
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3949                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3950                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3951                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3952                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3953                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3954                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $134,965.00
          Account No. XXX3955                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.240
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3956                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,500.00
          Account No. XXX3957                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3958                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,000.00
          Account No. XXX3959                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,500.00
          Account No. XXX3960                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $118,000.00
          Account No. XXX3961                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX3962                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.241
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX3963                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3964                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX3965                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3966                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $101,898.11
          Account No. XXX3967                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,043.00
          Account No. XXX3968                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,000.00
          Account No. XXX3969                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.241
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3970                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3971                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3972                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $866,900.00
          Account No. XXX3973                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,317.42
          Account No. XXX3974                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX3975                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX3976                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.242
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,500.00
          Account No. XXX3977                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,200.00
          Account No. XXX3978                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3979                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX3980                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,600.00
          Account No. XXX3981                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,000.00
          Account No. XXX3982                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3983                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.243
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,200.00
          Account No. XXX3984                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,800.00
          Account No. XXX3985                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,200.00
          Account No. XXX3986                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,200.00
          Account No. XXX3987                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,400.00
          Account No. XXX3988                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3989                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,700.00
          Account No. XXX3990                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.243
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $527,000.00
          Account No. XXX3991                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX3992                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3993                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX3994                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX3995                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3996                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,589.00
          Account No. XXX3997                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.244
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX3998                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX3999                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $110,253.93
          Account No. XXX4000                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4001                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4002                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4003                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4004                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.245
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4005                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX4006                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX4007                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $212,858.65
          Account No. XXX4008                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX4009                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,000.00
          Account No. XXX4010                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $399,000.00
          Account No. XXX4011                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.246
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $655,500.00
          Account No. XXX4012                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4013                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,000.00
          Account No. XXX4014                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4015                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $119,000.00
          Account No. XXX4016                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $106,674.41
          Account No. XXX4017                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,000.00
          Account No. XXX4018                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.246
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4019                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $110,000.00
          Account No. XXX4020                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,500.00
          Account No. XXX4021                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,800.00
          Account No. XXX4022                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4023                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4024                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4025                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.247
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $101,856.77
          Account No. XXX4026                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $399,000.00
          Account No. XXX4027                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4028                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,000.00
          Account No. XXX4029                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $476,800.00
          Account No. XXX4030                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $375,577.75
          Account No. XXX4031                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4032                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.248
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,000.00
          Account No. XXX4033                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX4034                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4035                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4036                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4037                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4038                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4039                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.248
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4040                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,251.68
          Account No. XXX4041                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4042                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $81,500.00
          Account No. XXX4043                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,800.00
          Account No. XXX4044                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4045                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,610.84
          Account No. XXX4046                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.249
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4047                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4048                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4049                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $119,000.00
          Account No. XXX4050                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4051                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4052                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4053                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.250
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4054                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4055                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $86,000.00
          Account No. XXX4056                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,229.32
          Account No. XXX4057                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $238,000.00
          Account No. XXX4058                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4059                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX4060                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.250
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4061                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4062                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4063                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $175,000.00
          Account No. XXX4064                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,300.00
          Account No. XXX4065                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,000.00
          Account No. XXX4066                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4067                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.251
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4068                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4069                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX4070                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $415,000.00
          Account No. XXX4071                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4072                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX4073                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,535.52
          Account No. XXX4074                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.252
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,200.00
          Account No. XXX4075                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4076                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $136,500.00
          Account No. XXX4077                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4078                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4079                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $220,000.00
          Account No. XXX4080                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,000.00
          Account No. XXX4081                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.253
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4082                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4083                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX4084                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4085                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,400.00
          Account No. XXX4086                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,500.00
          Account No. XXX4087                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,375.10
          Account No. XXX4088                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.253
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4089                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4090                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4091                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,000.00
          Account No. XXX4092                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,400.00
          Account No. XXX4093                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4094                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $41,000.00
          Account No. XXX4095                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.254
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,314.42
          Account No. XXX4096                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,634.91
          Account No. XXX4097                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4098                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $129,000.00
          Account No. XXX4099                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,072.79
          Account No. XXX4100                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,401.00
          Account No. XXX4101                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4102                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.255
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4103                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $97,500.00
          Account No. XXX4104                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          Account No. XXX4105                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $206,600.00
          Account No. XXX4106                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          Account No. XXX4107                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4108                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4109                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.255
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4110                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $101,800.00
          Account No. XXX4111                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4112                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX4113                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4114                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4115                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4116                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.256
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4117                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $249,200.00
          Account No. XXX4118                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $112,500.00
          Account No. XXX4119                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,000.00
          Account No. XXX4120                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4121                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $157,800.00
          Account No. XXX4122                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX4123                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.257
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4124                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX4125                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,000.00
          Account No. XXX4126                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX4127                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4128                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4129                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4130                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.257
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,983.64
          Account No. XXX4131                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,084.58
          Account No. XXX4132                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $487,177.60
          Account No. XXX4133                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $115,407.27
          Account No. XXX4134                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,000.00
          Account No. XXX4135                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4136                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4137                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.258
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $82,880.76
          Account No. XXX4138                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4139                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4140                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4141                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $170,000.00
          Account No. XXX4142                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $111,500.00
          Account No. XXX4143                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4144                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.259
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,425.00
          Account No. XXX4145                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4146                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,525.30
          Account No. XXX4147                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $116,000.00
          Account No. XXX4148                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4149                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4150                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $108,000.00
          Account No. XXX4151                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.260
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4152                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4153                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4154                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4155                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4156                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4157                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4158                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.260
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,600.00
          Account No. XXX4159                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,427.11
          Account No. XXX4160                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,000.00
          Account No. XXX4161                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,400.00
          Account No. XXX4162                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $139,403.00
          Account No. XXX4163                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4164                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4165                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.261
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4166                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,000.00
          Account No. XXX4167                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $260,000.00
          Account No. XXX4168                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4169                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4170                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4171                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4172                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.262
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4173                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4174                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4175                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4176                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4177                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $94,950.00
          Account No. XXX4178                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4179                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.262
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4180                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4181                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $485,000.00
          Account No. XXX4182                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,303.82
          Account No. XXX4183                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4184                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX4185                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          Account No. XXX4186                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.263
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4187                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $400,000.00
          Account No. XXX4188                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,000.00
          Account No. XXX4189                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4190                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4191                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,185.93
          Account No. XXX4192                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4193                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.264
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4194                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4195                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX4197                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,425.00
          Account No. XXX4198                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4199                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,862.94
          Account No. XXX4200                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $86,800.00
          Account No. XXX4201                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.264
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4202                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,300.00
          Account No. XXX4203                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,500.00
          Account No. XXX4204                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,000.00
          Account No. XXX4205                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4206                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,700.00
          Account No. XXX4207                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,500.00
          Account No. XXX4208                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.265
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4209                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $110,000.00
          Account No. XXX4210                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          Account No. XXX4211                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,000.00
          Account No. XXX4212                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $324,000.00
          Account No. XXX4213                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4214                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,052.00
          Account No. XXX4215                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.266
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,000.00
          Account No. XXX4216                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4217                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $113,800.00
          Account No. XXX4218                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX4219                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4220                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4221                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4222                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.267
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4223                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4224                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4225                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,425.00
          Account No. XXX4226                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,400.00
          Account No. XXX4227                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4228                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4229                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.267
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4230                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4231                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4232                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4233                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4234                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4235                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4236                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.268
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $173,485.00
          Account No. XXX4237                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $73,300.00
          Account No. XXX4238                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX4239                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4240                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $222,000.00
          Account No. XXX4241                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4242                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4243                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.269
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX4244                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4245                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,500.00
          Account No. XXX4246                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4247                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,000.00
          Account No. XXX4248                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4249                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX4250                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.269
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4251                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX4252                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4253                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4254                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,370.00
          Account No. XXX4255                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4256                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,800.00
          Account No. XXX4257                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.270
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $147,000.00
          Account No. XXX4258                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4259                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4260                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,042.22
          Account No. XXX4261                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4262                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4263                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4264                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.271
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $155,537.56
          Account No. XXX4265                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,034.56
          Account No. XXX4266                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4267                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX4268                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4269                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4270                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,000.00
          Account No. XXX4271                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.271
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4272                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,425.00
          Account No. XXX4273                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $117,444.00
          Account No. XXX4274                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,500.00
          Account No. XXX4275                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4276                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,319.47
          Account No. XXX4277                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,350.00
          Account No. XXX4278                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.272
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $274,800.00
          Account No. XXX4279                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $160,500.00
          Account No. XXX4280                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4281                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4282                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $101,750.00
          Account No. XXX4283                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX4284                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $130,000.00
          Account No. XXX4285                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.273
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $114,532.00
          Account No. XXX4286                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4287                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4288                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4289                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX4290                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $105,000.00
          Account No. XXX4291                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4292                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.274
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,750.00
          Account No. XXX4293                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $88,000.00
          Account No. XXX4294                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,876.08
          Account No. XXX4295                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,007.32
          Account No. XXX4296                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $177,757.00
          Account No. XXX4297                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4298                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,300.00
          Account No. XXX4299                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.274
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4300                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,000.00
          Account No. XXX4301                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX4302                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,300.00
          Account No. XXX4303                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $122,300.00
          Account No. XXX4304                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $142,900.00
          Account No. XXX4305                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4306                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.275
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4307                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4308                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4309                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4310                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4311                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4312                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $98,655.85
          Account No. XXX4314                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.276
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX4315                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX4316                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4317                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,000.00
          Account No. XXX4318                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,272.00
          Account No. XXX4319                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $57,300.00
          Account No. XXX4320                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4321                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.276
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,795.48
          Account No. XXX4322                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4323                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4324                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4325                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4326                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX4327                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4328                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.277
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4329                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,500.00
          Account No. XXX4330                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4331                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $107,500.00
          Account No. XXX4332                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4333                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,000.00
          Account No. XXX4334                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,500.00
          Account No. XXX4335                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.278
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4336                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,644.81
          Account No. XXX4337                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4338                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,000.00
          Account No. XXX4339                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4340                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4341                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $264,488.00
          Account No. XXX4342                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.278
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4343                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4344                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $299,000.00
          Account No. XXX4345                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4346                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,200.00
          Account No. XXX4347                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4348                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4349                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.279
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4350                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4351                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4352                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          Account No. XXX4353                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,800.00
          Account No. XXX4354                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX4355                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $140,142.64
          Account No. XXX4356                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.280
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4357                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4358                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4359                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $592,000.00
          Account No. XXX4360                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4361                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $71,500.00
          Account No. XXX4362                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4363                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.281
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4364                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4365                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,000.00
          Account No. XXX4366                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX4367                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX4368                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX4369                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4370                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.281
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,550.00
          Account No. XXX4371                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4372                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4373                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4374                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4375                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4376                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4377                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.282
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4378                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4379                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4380                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX4381                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4382                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,191.00
          Account No. XXX4383                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4384                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.283
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4385                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $162,941.07
          Account No. XXX4386                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $105,000.00
          Account No. XXX4387                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4388                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4389                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $117,715.00
          Account No. XXX4390                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4391                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.283
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4392                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX4393                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4394                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $83,808.00
          Account No. XXX4395                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $103,000.00
          Account No. XXX4396                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,500.00
          Account No. XXX4397                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,500.00
          Account No. XXX4398                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.284
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $110,000.00
          Account No. XXX4399                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4400                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4401                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4402                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4403                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4404                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4405                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.285
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4406                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4407                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4408                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $172,983.00
          Account No. XXX4409                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,000.00
          Account No. XXX4410                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,000.00
          Account No. XXX4411                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $71,000.00
          Account No. XXX4412                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.285
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $210,500.00
          Account No. XXX4413                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,064.36
          Account No. XXX4414                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,475.00
          Account No. XXX4415                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4416                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4417                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4418                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4419                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.286
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4420                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4421                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4422                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4423                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4424                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4425                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4426                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.287
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4427                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4428                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4429                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4430                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4431                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4432                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4433                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.288
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4434                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $149,600.00
          Account No. XXX4435                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,065.80
          Account No. XXX4436                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $147,473.16
          Account No. XXX4437                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,963.85
          Account No. XXX4438                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4439                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX4440                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.288
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,500.00
          Account No. XXX4441                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX4442                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4443                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX4444                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,050.00
          Account No. XXX4445                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4446                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4447                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.289
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,002.91
          Account No. XXX4448                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX4449                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX4450                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4451                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4452                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4453                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4454                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.290
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4455                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4456                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4457                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4458                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,500.00
          Account No. XXX4459                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX4461                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $72,000.00
          Account No. XXX4462                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.290
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4463                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,278.48
          Account No. XXX4464                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $165,000.00
          Account No. XXX4465                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,806.00
          Account No. XXX4466                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,840.00
          Account No. XXX4468                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4469                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4470                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.291
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4471                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4472                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4473                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,370.00
          Account No. XXX4474                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4475                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4476                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4477                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.292
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,984.00
          Account No. XXX4478                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4479                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $374,500.00
          Account No. XXX4480                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4481                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4482                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4483                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4484                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.292
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $109,996.80
          Account No. XXX4485                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,059.52
          Account No. XXX4486                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4487                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4488                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4489                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $400,000.00
          Account No. XXX4490                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4491                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.293
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4492                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $165,000.00
          Account No. XXX4493                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $700,000.00
          Account No. XXX4494                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX4495                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4496                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $188,000.00
          Account No. XXX4497                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4498                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.294
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4499                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $134,000.00
          Account No. XXX4500                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,700.00
          Account No. XXX4501                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4502                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,214.57
          Account No. XXX4503                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4504                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4505                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.295
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4506                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4507                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX4508                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4509                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,100.00
          Account No. XXX4510                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX4511                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,000.00
          Account No. XXX4512                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.295
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4513                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4514                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4515                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,154.32
          Account No. XXX4516                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4517                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4518                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4519                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.296
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4520                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4521                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,092.71
          Account No. XXX4522                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $67,071.24
          Account No. XXX4523                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4524                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4525                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4526                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.297
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4527                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,000.00
          Account No. XXX4528                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,276.00
          Account No. XXX4529                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4530                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,000.00
          Account No. XXX4531                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,248.89
          Account No. XXX4532                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4533                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.297
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX4534                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4535                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4536                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,500.00
          Account No. XXX4537                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,000.00
          Account No. XXX4538                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX4540                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4541                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.298
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX4542                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4543                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX4544                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4545                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4546                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4547                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4548                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.299
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4549                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4550                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4551                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,000.00
          Account No. XXX4552                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,000.00
          Account No. XXX4553                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4554                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4555                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.299
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4556                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,000.00
          Account No. XXX4557                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX4558                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,514.76
          Account No. XXX4559                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,500.00
          Account No. XXX4560                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          Account No. XXX4561                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,430.00
          Account No. XXX4562                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.300
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,000.00
          Account No. XXX4563                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX4564                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4565                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4566                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4567                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,064.00
          Account No. XXX4568                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,000.00
          Account No. XXX4569                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.301
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,000.00
          Account No. XXX4570                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,117.08
          Account No. XXX4571                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,241.00
          Account No. XXX4572                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,500.00
          Account No. XXX4573                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,000.00
          Account No. XXX4574                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,000.00
          Account No. XXX4576                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,500.00
          Account No. XXX4577                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.302
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX4578                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4579                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,380.00
          Account No. XXX4580                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,120.00
          Account No. XXX4581                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4582                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $198,000.00
          Account No. XXX4583                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4584                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.302
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4585                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,000.00
          Account No. XXX4586                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,788.00
          Account No. XXX4587                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4588                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4589                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,000.00
          Account No. XXX4590                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4591                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.303
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,421.68
          Account No. XXX4592                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $104,526.73
          Account No. XXX4593                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4594                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,000.00
          Account No. XXX4595                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $158,067.22
          Account No. XXX4596                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4597                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4598                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.304
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4599                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4600                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4601                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4602                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX4603                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $259,425.00
          Account No. XXX4604                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4605                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.304
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4606                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4607                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4608                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4609                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4610                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4612                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4613                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.305
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4614                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4615                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4616                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX4617                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $130,000.00
          Account No. XXX4618                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $165,000.00
          Account No. XXX4619                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $124,782.62
          Account No. XXX4620                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.306
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,724.00
          Account No. XXX4621                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4622                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $97,000.00
          Account No. XXX4623                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4624                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,000.00
          Account No. XXX4625                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,000.00
          Account No. XXX4626                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4627                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.306
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4628                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4629                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $105,000.00
          Account No. XXX4630                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,335.66
          Account No. XXX4631                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $91,000.00
          Account No. XXX4632                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4633                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4634                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.307
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4635                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,000.00
          Account No. XXX4636                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,000.00
          Account No. XXX4637                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4638                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4639                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4640                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4641                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.308
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,223.51
          Account No. XXX4642                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4643                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4644                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $239,000.00
          Account No. XXX4645                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $98,000.00
          Account No. XXX4646                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4647                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4648                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.309
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4649                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,700.00
          Account No. XXX4650                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4651                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4652                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4653                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,000.00
          Account No. XXX4654                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4655                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.309
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,300.00
          Account No. XXX4656                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX4657                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $88,925.00
          Account No. XXX4658                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $69,000.00
          Account No. XXX4659                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX4660                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4661                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4662                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.310
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX4663                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4664                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4665                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX4666                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,872.61
          Account No. XXX4667                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4668                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX4669                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.311
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX4670                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX4671                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,650.00
          Account No. XXX4672                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX4673                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4674                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,200.00
          Account No. XXX4675                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $110,000.00
          Account No. XXX4676                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.311
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4677                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $181,830.00
          Account No. XXX4678                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,500.00
          Account No. XXX4679                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,500.00
          Account No. XXX4680                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,000.00
          Account No. XXX4681                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4682                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4683                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.312
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4684                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          Account No. XXX4685                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4686                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX4687                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4688                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $94,137.39
          Account No. XXX4689                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,465.00
          Account No. XXX4690                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.313
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4691                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,000.00
          Account No. XXX4692                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $115,000.00
          Account No. XXX4693                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4694                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $176,000.00
          Account No. XXX4695                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX4696                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,000.00
          Account No. XXX4697                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.313
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4698                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $160,000.00
          Account No. XXX4699                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4700                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4701                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4702                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,000.00
          Account No. XXX4703                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4704                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.314
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4705                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,500.00
          Account No. XXX4706                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4707                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4708                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4709                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4710                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4711                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.315
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4712                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $73,000.00
          Account No. XXX4713                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX4714                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX4715                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,200.00
          Account No. XXX4716                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX4717                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4718                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.316
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4719                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4720                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4721                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX4722                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,023.78
          Account No. XXX4723                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $172,358.00
          Account No. XXX4724                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,300.00
          Account No. XXX4725                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.316
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,100.00
          Account No. XXX4726                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,807.45
          Account No. XXX4727                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4728                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4729                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4730                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,700.00
          Account No. XXX4731                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4732                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.317
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4733                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,900.00
          Account No. XXX4734                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4735                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,500.00
          Account No. XXX4736                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,000.00
          Account No. XXX4737                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4738                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4739                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.318
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4740                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4741                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4742                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4743                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $105,000.00
          Account No. XXX4744                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX4745                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX4746                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.318
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4747                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4748                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,198.00
          Account No. XXX4749                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4750                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4751                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,700.00
          Account No. XXX4752                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $124,000.00
          Account No. XXX4753                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.319
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $256,000.00
          Account No. XXX4754                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4755                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $122,000.00
          Account No. XXX4756                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $366,000.00
          Account No. XXX4757                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4758                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4759                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $140,000.00
          Account No. XXX4760                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.320
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,000.00
          Account No. XXX4761                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX4762                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4763                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4764                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $149,000.00
          Account No. XXX4765                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4766                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4767                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.320
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4768                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,500.00
          Account No. XXX4769                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,000.00
          Account No. XXX4770                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX4771                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $67,000.00
          Account No. XXX4772                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4773                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4774                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.321
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4775                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4776                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $89,500.00
          Account No. XXX4777                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $350,000.00
          Account No. XXX4778                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4779                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4780                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4781                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.322
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,500.00
          Account No. XXX4782                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $73,500.00
          Account No. XXX4783                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $160,000.00
          Account No. XXX4784                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          Account No. XXX4785                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,500.00
          Account No. XXX4786                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $134,500.00
          Account No. XXX4787                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4788                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.323
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4789                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,000.00
          Account No. XXX4790                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX4791                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,500.00
          Account No. XXX4792                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4793                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4794                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4795                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.323
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4796                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,009.98
          Account No. XXX4797                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $333,000.00
          Account No. XXX4798                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4799                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4800                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4801                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,783.63
          Account No. XXX4802                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.324
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,000.00
          Account No. XXX4803                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,460.29
          Account No. XXX4804                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4805                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,617.44
          Account No. XXX4806                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          Account No. XXX4807                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4808                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $230,000.00
          Account No. XXX4809                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.325
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,968.41
          Account No. XXX4810                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4811                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $107,000.00
          Account No. XXX4812                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4813                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4814                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4815                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4816                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.325
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4817                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4818                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4819                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4820                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,257.74
          Account No. XXX4821                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX4822                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $134,281.64
          Account No. XXX4823                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.326
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4824                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,000.00
          Account No. XXX4825                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $157,000.00
          Account No. XXX4826                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $300,000.00
          Account No. XXX4827                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4828                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4829                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,355.37
          Account No. XXX4830                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.327
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4831                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $107,140.24
          Account No. XXX4832                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,500.00
          Account No. XXX4833                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4834                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX4835                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,000.00
          Account No. XXX4836                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4837                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.327
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4838                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,496.02
          Account No. XXX4839                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $102,000.00
          Account No. XXX4840                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $175,000.00
          Account No. XXX4841                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4842                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,800.00
          Account No. XXX4843                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $41,200.00
          Account No. XXX4844                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.328
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4845                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4846                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $115,000.00
          Account No. XXX4847                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $159,425.00
          Account No. XXX4848                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4849                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4850                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,406.69
          Account No. XXX4851                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.329
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX4852                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,885.91
          Account No. XXX4853                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4854                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $108,589.00
          Account No. XXX4855                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4856                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX4857                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,163.00
          Account No. XXX4858                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.330
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $298,500.00
          Account No. XXX4859                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4860                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4861                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4862                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4863                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4864                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $126,400.00
          Account No. XXX4865                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.330
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $83,000.00
          Account No. XXX4866                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,000.00
          Account No. XXX4867                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4868                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4869                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4870                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4871                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,000.00
          Account No. XXX4872                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.331
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4873                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4874                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,000.00
          Account No. XXX4875                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $186,000.00
          Account No. XXX4876                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4877                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4878                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,500.00
          Account No. XXX4879                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.332
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4880                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $57,390.00
          Account No. XXX4881                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $324,800.00
          Account No. XXX4882                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,300.00
          Account No. XXX4883                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4884                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,500.00
          Account No. XXX4885                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4886                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.332
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX4887                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4888                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,728.00
          Account No. XXX4889                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4890                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4891                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX4892                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,253.16
          Account No. XXX4893                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.333
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4894                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4895                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,500.00
          Account No. XXX4896                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,300.00
          Account No. XXX4897                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,650.00
          Account No. XXX4898                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $42,000.00
          Account No. XXX4899                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4900                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.334
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4901                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $392,208.34
          Account No. XXX4902                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4903                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4904                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4905                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4906                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4907                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.334
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4908                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4909                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $392,000.00
          Account No. XXX4910                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4911                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4912                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,475.00
          Account No. XXX4913                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX4914                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.335
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4915                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $124,425.00
          Account No. XXX4916                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4917                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4918                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4919                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4920                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4921                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.336
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4922                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4923                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4924                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $132,000.00
          Account No. XXX4925                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4926                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4927                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,350.00
          Account No. XXX4928                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.337
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4930                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4931                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4932                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4933                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,155.00
          Account No. XXX4934                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          Account No. XXX4935                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4936                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.337
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX4937                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4938                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4939                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX4940                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4941                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX4942                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4943                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.338
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,000.00
          Account No. XXX4944                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4945                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX4946                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $400,000.00
          Account No. XXX4947                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,225.00
          Account No. XXX4948                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $132,180.00
          Account No. XXX4949                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          Account No. XXX4950                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.339
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4951                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4952                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4953                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $102,500.00
          Account No. XXX4954                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4955                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX4956                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4957                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.339
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Account No. XXX4958                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4959                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX4960                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4961                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,444.67
          Account No. XXX4962                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4963                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4964                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.340
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX4965                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4966                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $95,000.00
          Account No. XXX4967                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,500.00
          Account No. XXX4968                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4969                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4970                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $105,000.00
          Account No. XXX4971                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.341
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,000.00
          Account No. XXX4972                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $112,000.00
          Account No. XXX4973                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,400.00
          Account No. XXX4974                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $187,817.88
          Account No. XXX4975                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4976                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,500.00
          Account No. XXX4977                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4978                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.341
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4979                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $67,000.00
          Account No. XXX4980                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,000.00
          Account No. XXX4981                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,190.19
          Account No. XXX4982                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,000.00
          Account No. XXX4983                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,905.45
          Account No. XXX4984                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,000.00
          Account No. XXX4985                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.342
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $174,000.00
          Account No. XXX4986                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $71,000.00
          Account No. XXX4987                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4988                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX4989                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,000.00
          Account No. XXX4990                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX4991                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX4992                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.343
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX4993                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX4994                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,000.00
          Account No. XXX4995                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX4996                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $121,000.00
          Account No. XXX4997                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $101,000.00
          Account No. XXX4998                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,000.00
          Account No. XXX4999                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.344
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5000                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5001                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5002                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX5003                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $62,000.00
          Account No. XXX5004                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $213,000.00
          Account No. XXX5005                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5006                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.344
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          Account No. XXX5007                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          Account No. XXX5008                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX5009                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5010                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5011                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,000.00
          Account No. XXX5012                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5013                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.345
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5014                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5015                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,000.00
          Account No. XXX5016                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,750.00
          Account No. XXX5017                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5018                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5019                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5020                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.346
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX5021                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,000.00
          Account No. XXX5022                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $128,500.00
          Account No. XXX5023                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5024                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,000.00
          Account No. XXX5025                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX5026                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $81,702.77
          Account No. XXX5027                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.346
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5028                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5029                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX5030                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5031                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          Account No. XXX5032                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5033                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5034                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.347
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $70,000.00
          Account No. XXX5035                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5036                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,000.00
          Account No. XXX5037                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5038                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $98,625.00
          Account No. XXX5039                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $84,000.00
          Account No. XXX5040                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5041                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.348
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $109,684.21
          Account No. XXX5042                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,581.92
          Account No. XXX5043                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,581.92
          Account No. XXX5044                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5045                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX5046                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX5047                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,764.81
          Account No. XXX5048                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.348
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5049                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,800.00
          Account No. XXX5050                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX5051                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5052                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $94,307.66
          Account No. XXX5053                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,425.00
          Account No. XXX5054                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,000.00
          Account No. XXX5055                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.349
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,500.00
          Account No. XXX5056                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,500.00
          Account No. XXX5057                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5058                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5059                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5060                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5061                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5062                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.350
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,400.00
          Account No. XXX5063                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX5064                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX5065                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5066                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $222,824.65
          Account No. XXX5067                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5068                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX5069                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.351
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,405.00
          Account No. XXX5070                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX5071                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5072                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Account No. XXX5073                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,000.00
          Account No. XXX5074                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5075                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5076                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.351
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,850.38
          Account No. XXX5077                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5078                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5079                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX5080                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,000.00
          Account No. XXX5081                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $120,000.00
          Account No. XXX5082                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,000.00
          Account No. XXX5083                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.352
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          Account No. XXX5084                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,000.00
          Account No. XXX5085                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          Account No. XXX5086                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5087                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,100.00
          Account No. XXX5088                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5089                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5090                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.353
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,000.00
          Account No. XXX5091                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          Account No. XXX5092                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $102,019.00
          Account No. XXX5093                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5094                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,400.00
          Account No. XXX5095                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX5096                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,683.51
          Account No. XXX5097                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.353
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5098                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5099                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,200.00
          Account No. XXX5100                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $82,000.00
          Account No. XXX5101                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,225.00
          Account No. XXX5102                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5103                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $262,000.00
          Account No. XXX5104                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.354
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5105                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,500.00
          Account No. XXX5106                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $137,000.00
          Account No. XXX5107                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5108                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $98,500.00
          Account No. XXX5109                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,331.73
          Account No. XXX5110                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5111                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.355
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,000.00
          Account No. XXX5112                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX5113                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5114                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $85,000.00
          Account No. XXX5115                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5116                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $104,085.05
          Account No. XXX5117                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX5118                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.355
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5119                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5120                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5121                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5122                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $113,000.00
          Account No. XXX5123                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,380.00
          Account No. XXX5124                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Account No. XXX5125                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.356
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5126                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,000.00
          Account No. XXX5127                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,000.00
          Account No. XXX5128                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,309.00
          Account No. XXX5129                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5130                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,000.00
          Account No. XXX5131                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5132                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.357
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5133                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $67,065.00
          Account No. XXX5134                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,541.61
          Account No. XXX5135                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX5136                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX5137                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5138                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5139                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.358
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,000.00
          Account No. XXX5140                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5141                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5142                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5143                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5144                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $180,000.00
          Account No. XXX5145                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5146                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.358
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX5147                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX5148                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5149                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX5150                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,008.68
          Account No. XXX5151                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,644.00
          Account No. XXX5152                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $155,796.00
          Account No. XXX5153                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.359
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5154                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX5155                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5156                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5157                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5158                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5159                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $61,000.00
          Account No. XXX5160                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.360
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Account No. XXX5161                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX5162                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Account No. XXX5163                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,275.00
          Account No. XXX5164                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5165                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $166,150.00
          Account No. XXX5166                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5167                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.360
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,000.00
          Account No. XXX5168                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5169                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5170                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5171                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Account No. XXX5172                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Account No. XXX5173                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5174                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.361
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5175                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5176                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,591.00
          Account No. XXX5177                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $172,381.00
          Account No. XXX5178                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Account No. XXX5179                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $299,225.00
          Account No. XXX5180                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          Account No. XXX5181                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.362
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $195,000.00
          Account No. XXX5182                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,810.56
          Account No. XXX5183                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5184                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Account No. XXX5185                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5186                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5187                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5188                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.362
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX5189                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,000.00
          Account No. XXX5190                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,037.49
          Account No. XXX5191                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $106,000.00
          Account No. XXX5192                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5193                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5194                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Account No. XXX5195                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.363
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Account No. XXX5196                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5197                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX5198                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,000.00
          Account No. XXX5199                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,000.00
          Account No. XXX5200                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $110,000.00
          Account No. XXX5201                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX5202                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes




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 3.364
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX5203                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Account No. XXX5204                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Account No. XXX5205                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Lender
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,108.80
          ACE Private Risk Services                                             Contingent
          PO Box 94836                                                          Unliquidated
          Cleveland, OH 44101-4836                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,849.90
          ARW Management LLC                                                    Contingent
          101 Plaza Real South, apt. 828                                        Unliquidated
          Boca Raton, FL 33432                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Independent Sales Organization
          Last 4 digits of account number       1108
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,799.43
          Ascensus Trust Retirement                                             Contingent
          124 8th Ave NE                                                        Unliquidated
          Brainerd, MN 56401                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,000.00
          Blue Collar Solutions                                                 Contingent
          42 Pekiomer Ave                                                       Unliquidated
          Staten Island, NY 10312                                               Disputed
          Date(s) debt was incurred 7/25/2018
                                                                             Basis for the claim:    Independent Sales Organization
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.365
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $81,298.06
          Blue Cross and Blue Shield of Florida, I                              Contingent
          4800 Deerwood Campus Parkway                                          Unliquidated
          Jacksonville, FL 32246                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $420.00
          C&H Communications II Inc                                             Contingent
          2104 NE 40th                                                          Unliquidated
          Homestead, FL 33033                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $95.40
          De Lage Landen Financial Services, Inc.                               Contingent
          PO Box 41602                                                          Unliquidated
          Philadelphia, PA 19101-1602                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,120.00
          DocuSign Inc.                                                         Contingent
          PO BOX 123428                                                         Unliquidated
          Dallas, TX 75312-3428                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,400.00
          Experian                                                              Contingent
          PO Box 881971                                                         Unliquidated
          Los Angeles, CA 90088-1971                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,035.22
          Flexible Business Systems, Inc.                                       Contingent
          380 Oser Ave.                                                         Unliquidated
          Hauppauge, NY 11788                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $640.00
          FPL FiberNet                                                          Contingent
          PO Box 026021                                                         Unliquidated
          Miami, FL 33102                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       1 Global Capital LLC                                                                    Case number (if known)            18-19121-RBR
              Name

 3.365
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,413.62
          Freedoms Key Inc                                                      Contingent
          4431 SW 14th Ave Ste 114                                              Unliquidated
          Davie, FL 33314                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Independent Sales Organization
          Last 4 digits of account number       2919
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          Green Growth & Travelism Institute                                    Contingent
          5 Arthur Grumiaux                                                     Unliquidated
          Brussels B1640                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          GreenEarth.travel SPRL                                                Contingent
          5 Arthur Grumiaux                                                     Unliquidated
          Brussels B1640                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,919.30
          Honigman Miller Schwartz and Cohn LLP                                 Contingent
          660 Woodward Ave                                                      Unliquidated
          Detroit, MI 48226-3506                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,100.00
          Hotwire Communications                                                Contingent
          PO Box 57330                                                          Unliquidated
          Philadelphia, PA 19111-7330                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,109.00
          HUB International                                                     Contingent
          10368 W State Road                                                    Unliquidated
          Suite 201                                                             Disputed
          Davie, FL 33324
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.366
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,344.00
          iHeartMedia+Entertainment                                             Contingent
          2500 Maitland Center Pkwy                                             Unliquidated
          Suite 401                                                             Disputed
          Maitland, FL 32751
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 552 of 555
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 Debtor       1 Global Capital LLC                                                                    Case number (if known)            18-19121-RBR
              Name

 3.366
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,942.72
          Michael Ainbinder                                                     Contingent
          1500 East Split Rock #85                                              Unliquidated
          Ivins, UT 84738                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Independent Sales Organization
          Last 4 digits of account number       1117
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,544.60
          Provest LLC                                                           Contingent
          PO Box 25096                                                          Unliquidated
          Tampa, FL 33622                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,437.94
          PW Group LLC                                                          Contingent
          4131 W Loomis Road                                                    Unliquidated
          210                                                                   Disputed
          Greenfield, WI 53221
                                                                             Basis for the claim:    Independent Sales Organization
          Date(s) debt was incurred
          Last 4 digits of account number       1134                         Is the claim subject to offset?     No       Yes


 3.366
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,429.46
          Radium2 Capital Inc                                                   Contingent
          300 RXR Plaza                                                         Unliquidated
          Uniondale, NY 11556                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Independent Sales Organization
          Last 4 digits of account number       2225
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,400.00
          Randstad Professionals                                                Contingent
          PO Box 742689                                                         Unliquidated
          Atlanta, GA 30374                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,157.00
          Revolution Technologies, LLC                                          Contingent
          PO Box 206827                                                         Unliquidated
          Dallas, TX 75320-6827                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,701.75
          RSN Consultants Inc                                                   Contingent
          1940 Harrison Street                                                  Unliquidated
          Ste 206                                                               Disputed
          Hollywood, FL 33020
                                                                             Basis for the claim:    Independent Contactor Sales Commission
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       1 Global Capital LLC                                                                    Case number (if known)            18-19121-RBR
              Name

 3.367
 1         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $944.99
           SNI Companies                                                        Contingent
           PO Box 840912                                                        Unliquidated
           Dallas, TX 75284-0912                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 2         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $37,951.10
           Stress Free Capital 2                                                Contingent
           2501 Hollywood Blvd., Suite 210                                      Unliquidated
           Hollywood, FL 33020                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Independent Sales Organization
           Last 4 digits of account number      1133
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 3         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $3,106.04
           SysArc Infomatix Pvt Ltd                                             Contingent
           1701 N. Greenville Avenue                                            Unliquidated
           Richardson, TX 75081                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 4         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $19,302.72
           The Guardian Life Insurance Company                                  Contingent
           7 Hanover Square                                                     Unliquidated
           New York, NY 10004                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance & Benefits
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 5         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,773.00
           Thomson Reuters                                                      Contingent
           PO Carol Carol                                                       Unliquidated
           Carol Stream, IL 60197-6292                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 6         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $750.00
           Vertigo Media Group                                                  Contingent
           1593 Locust Ave.                                                     Unliquidated
           Bohemia, NY 11716                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 7         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $3,245.81
           Zip Capital Group                                                    Contingent
           15215 Alton Parkway 200                                              Unliquidated
           Irvine, CA 92618                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Independent Sales Organization
           Last 4 digits of account number      1888
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims
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 Debtor       1 Global Capital LLC                                                                 Case number (if known)         18-19121-RBR
              Name


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.       $                    409,444.41
 5b. Total claims from Part 2                                                                        5b.   +   $                278,173,524.49

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.       $                   278,582,968.90




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 555 of 555
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 Fill in this information to identify the case:

 Debtor name         1 Global Capital LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)         18-19121-RBR
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Automated Clearing
             lease is for and the nature of               House Services
             the debtor's interest

                  State the term remaining                Requires 10 day written       ACHWorks
                                                          notice                        2200 Sunrise Blvd
             List the contract number of any                                            Suite 220
                   government contract                                                  Gold River, CA 95670


 2.2.        State what the contract or                   Amazon Web Services
             lease is for and the nature of               customer agreement
             the debtor's interest

                  State the term remaining                Auto Renewal, requires
                                                          30 day written notice         Amazon Web Services, Inc.
             List the contract number of any                                            410 Terry Avenue North
                   government contract                                                  Seattle, WA 98109-5210


 2.3.        State what the contract or                   1st Global Capital, LLC
             lease is for and the nature of               401(k) Plan c/o The
             the debtor's interest                        Vanguard Group

                  State the term remaining                N/A
                                                                                        Ascensus Investment Services
             List the contract number of any                                            124 8th Ave NE
                   government contract                                                  Brainerd, MN 56401


 2.4.        State what the contract or                   Ethernet Internet,
             lease is for and the nature of               Managed Router, &
             the debtor's interest                        Azure Direct

                  State the term remaining                Expires February 2019         BCM One, Inc.
                                                                                        521 Fifth Ave
             List the contract number of any                                            14 Floor
                   government contract                                                  New York, NY 10175




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 7
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 Debtor 1 1 Global Capital LLC                                                                   Case number (if known)   18-19121-RBR
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Ethernet Internet,
             lease is for and the nature of               Managed Router, &
             the debtor's interest                        Azure Direct

                  State the term remaining                Expires May 2019               BCM One, Inc.
                                                                                         521 Fifth Ave
             List the contract number of any                                             14 Floor
                   government contract                                                   New York, NY 10175


 2.6.        State what the contract or                   Medical Insurance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 11/30/2018
                                                                                         Blue Cross and Blue Shield of Florida, I
             List the contract number of any                                             4800 Deerwood Campus Parkway
                   government contract                                                   Jacksonville, FL 32246


 2.7.        State what the contract or                   Make: Konica Minolta
             lease is for and the nature of               Model: C554e Serial
             the debtor's interest                        Number:
                                                          A5AY011003438 Copy,
                                                          Printer, Scan & Fax
                  State the term remaining                Expires June 2020
                                                                                         De Lage Landen Financial Service, Inc.
             List the contract number of any                                             1111 Old Eagle School Road
                   government contract                                                   Wayne, PA 19087


 2.8.        State what the contract or                   Make: Konica Minolta
             lease is for and the nature of               Model: C224e Serial
             the debtor's interest                        Number:
                                                          A5C4011002737 Copy,
                                                          Printer, Scan & Fax
                  State the term remaining                Expires November 2019
                                                                                         De Lage Landen Financial Services, Inc.
             List the contract number of any                                             1111 Eagle School Road
                   government contract                                                   Wayne, PA 19087


 2.9.        State what the contract or                   Make: Konica Minolta
             lease is for and the nature of               Model: C364e Serial
             the debtor's interest                        Number:
                                                          A5C1011003316 Copy,
                                                          Printer, Scan & Fax
                  State the term remaining                Expires July 2020
                                                                                         De Lage Landen Financial Services, Inc.
             List the contract number of any                                             1112 Eagle School Road
                   government contract                                                   Wayne, PA 19087




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 2 of 7
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 Debtor 1 1 Global Capital LLC                                                                   Case number (if known)   18-19121-RBR
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.10.       State what the contract or                   Make: Konica Minolta
             lease is for and the nature of               Model: C364 Serial
             the debtor's interest                        Number:
                                                          A161011006812 Copy,
                                                          Printer, Scan & Fax
                  State the term remaining                Expires May 2020
                                                                                         De Lage Landen Financial Services, Inc.
             List the contract number of any                                             1113 Eagle School Road
                   government contract                                                   Wayne, PA 19087


 2.11.       State what the contract or                   Make: Konica Minolta
             lease is for and the nature of               Model: C364 Serial
             the debtor's interest                        Number:
                                                          A161011005515 Copy,
                                                          Printer, Scan & Fax
                  State the term remaining                Expires January 2020
                                                                                         De Lage Landen Financial Services, Inc.
             List the contract number of any                                             1114 Eagle School Road
                   government contract                                                   Wayne, PA 19087


 2.12.       State what the contract or                   Make: Konica Minolta
             lease is for and the nature of               Model: C224e Serial
             the debtor's interest                        Number:
                                                          A5C4011115784 Copy,
                                                          Printer, Scan & Fax
                  State the term remaining                Expires June 2021
                                                                                         De Lage Landen Financial Services, Inc.
             List the contract number of any                                             1115 Eagle School Road
                   government contract                                                   Wayne, PA 19087


 2.13.       State what the contract or                   Electronic Signature
             lease is for and the nature of               Services
             the debtor's interest

                  State the term remaining                5/31/2019                      DocuSign, Inc.
                                                                                         221 Main Street
             List the contract number of any                                             Suite 1000
                   government contract                                                   San Francisco, CA 94105


 2.14.       State what the contract or                   Originating Depository
             lease is for and the nature of               Financial Institution
             the debtor's interest

                  State the term remaining                Requires 30 day written        First Premier Bank
                                                          notice                         PO Box 1348
             List the contract number of any                                             Attn: Treasury Services
                   government contract                                                   Sioux Falls, SD 57101-1348




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 Debtor 1 1 Global Capital LLC                                                                   Case number (if known)   18-19121-RBR
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.15.       State what the contract or                   Flexible Systems
             lease is for and the nature of               Master Service
             the debtor's interest                        Agreement. Provide
                                                          collocation rack space,
                                                          AC power backed by
                                                          UPS and clear conduit
                                                          access.
                  State the term remaining                Requires 30 day written        Flexible Business Systems, Inc
                                                          notice                         380 Oser Ave,
             List the contract number of any                                             Hauppauge
                   government contract                                                   New York, NY 11788


 2.16.       State what the contract or                   IT Support &
             lease is for and the nature of               Technology Consulting
             the debtor's interest

                  State the term remaining
                                                                                         FPL FiberNet
             List the contract number of any                                             9250 W Flagler St
                   government contract                                                   Miami, FL 33174


 2.17.       State what the contract or                   1 Global Capital (Evan
             lease is for and the nature of               Ruderman) Payment for
             the debtor's interest                        residential lease. 300
                                                          Bayview Drive apt 712
                                                          Sunny Isles Beach.
                  State the term remaining                Expires November 1,
                                                          2018                           Global Title Alliance, LLC
             List the contract number of any                                             1680 Meridian Avenue
                   government contract                                                   Miami Beach, FL 33139


 2.18.       State what the contract or                   Maintenance
             lease is for and the nature of               Agreement for serial
             the debtor's interest                        number A161011005515
                                                          Copy, Print, Scan & Fax
                  State the term remaining                Auto renewal
                                                                                         Gold Coast Technologies
             List the contract number of any                                             3001 W McNab
                   government contract                                                   Pompano Beach, FL 33069


 2.19.       State what the contract or                   Maintenance
             lease is for and the nature of               Agreement for serial
             the debtor's interest                        number
                                                          A5C4011002737 Copy,
                                                          Print, Scan & Fax
                  State the term remaining                Auto renewal
                                                                                         Gold Coast Technologies
             List the contract number of any                                             3002 W McNab
                   government contract                                                   Pompano Beach, FL 33069




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 Debtor 1 1 Global Capital LLC                                                                   Case number (if known)   18-19121-RBR
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.20.       State what the contract or                   Maintenance
             lease is for and the nature of               Agreement for serial
             the debtor's interest                        number A161011006812
                                                          Copy, Print, Scan & Fax
                  State the term remaining                Auto renewal
                                                                                         Gold Coast Technologies
             List the contract number of any                                             3003 W McNab
                   government contract                                                   Pompano Beach, FL 33069


 2.21.       State what the contract or                   Maintenance
             lease is for and the nature of               Agreement for serial
             the debtor's interest                        number
                                                          A5C1011003316 Copy,
                                                          Print, Scan & Fax
                  State the term remaining                Auto renewal
                                                                                         Gold Coast Technologies
             List the contract number of any                                             3004 W McNab
                   government contract                                                   Pompano Beach, FL 33069


 2.22.       State what the contract or                   Maintenance
             lease is for and the nature of               Agreement for serial
             the debtor's interest                        number
                                                          A5C4011115784 Copy,
                                                          Print, Scan & Fax
                  State the term remaining                Auto renewal
                                                                                         Gold Coast Technologies
             List the contract number of any                                             3004 W McNab
                   government contract                                                   Pompano Beach, FL 33069


 2.23.       State what the contract or                   Maintenance
             lease is for and the nature of               Agreement for serial
             the debtor's interest                        number
                                                          A5AY011003438 Copy,
                                                          Print, Scan & Fax
                  State the term remaining                Auto renewal
                                                                                         Gold Coast Technologies
             List the contract number of any                                             3004 W McNab
                   government contract                                                   Pompano Beach, FL 33069


 2.24.       State what the contract or                   Voice, high speed
             lease is for and the nature of               Internet, security, and
             the debtor's interest                        video services

                  State the term remaining                Expires June 2021
                                                                                         Hotwire Communications, Ltd
             List the contract number of any                                             PO Box 57330
                   government contract                                                   Philadelphia 19111-7330


 2.25.       State what the contract or                   Azure Cloud                    Integrated Technology Corporate Solution
             lease is for and the nature of                                              111 S.E. 8th Ave
             the debtor's interest                                                       Suite 1102
                                                                                         Fort Lauderdale, FL 33301
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 5 of 7
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 Debtor 1 1 Global Capital LLC                                                                   Case number (if known)   18-19121-RBR
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                N/A

             List the contract number of any
                   government contract


 2.26.       State what the contract or                   Staffing Services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1/22/2019
                                                                                         KAG Recruiting, LLC
             List the contract number of any                                             643 Conservation Drive
                   government contract                                                   Weston, FL 33327


 2.27.       State what the contract or                   Leasing units 402, 409,
             lease is for and the nature of               602, 603, 604, 605 & 606
             the debtor's interest                        at 1250 E Hallandale
                                                          Beach Blvd, Hallandale
                                                          Beach, FL 33009.
                  State the term remaining                Through 09/30/2018             Murray Family Associates
                                                                                         ATTN: Miguel Reinfeld PM
             List the contract number of any                                             1250 East Hallandale Bch Blvd
                   government contract                                                   Hallandale, FL 33009


 2.28.       State what the contract or                   Client Number:
             lease is for and the nature of               0944-18094704 Payroll
             the debtor's interest                        & tax services

                  State the term remaining                N/A
                                                                                         PayChex
             List the contract number of any                                             911 Panorama Trail S.
                   government contract                                                   Rochester, NY 14625


 2.29.       State what the contract or                   Salesforce.com
             lease is for and the nature of               Services, IT Product &
             the debtor's interest                        Platform Services

                  State the term remaining                Written Notice
                                                                                         ProdSpace.com LLC
             List the contract number of any                                             95 Merrick Way 3rd Floor
                   government contract                                                   Coral Gables, FL 33134


 2.30.       State what the contract or                   RingCentral Office &
             lease is for and the nature of               Glip Plan Purchase
             the debtor's interest                        Agreement

                  State the term remaining                10/16/2019
                                                                                         RingCentral
             List the contract number of any                                             20 Davis Drive
                   government contract                                                   Belmont, CA 94002


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 Debtor 1 1 Global Capital LLC                                                                   Case number (if known)   18-19121-RBR
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.31.       State what the contract or                   Lightning Sales Cloud -
             lease is for and the nature of               Enterprise Edition
             the debtor's interest

                  State the term remaining                10/25/2018
                                                                                         Salesforce
             List the contract number of any                                             One Market street
                   government contract                                                   San Francisco, CA 94105


 2.32.       State what the contract or                   FUNDPerfect
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                               SysArc Infomatrix Pvt. Ltd.
                                                                                         1701 N. Greenville Ave.
             List the contract number of any                                             Suite 1119
                   government contract                                                   Richardson, TX 75081


 2.33.       State what the contract or                   Gateway Pro add-on
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Thomson Reuters
             List the contract number of any                                             PO Box 6292
                   government contract                                                   Carol Stream, IL 60197-6292


 2.34.       State what the contract or                   Depository Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                N/A                            Western Alliance Bank
                                                                                         55 Almaden Blvd
             List the contract number of any                                             Ste. 100
                   government contract                                                   San Jose, CA 95113




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         1 Global Capital LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)         18-19121-RBR
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      1 West Capital                    1250 E Hallandale Beach Blvd.                                                        D
             LLC                               #409                                                                                 E/F
                                               Hallandale Beach, FL 33009                                                           G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         1 Global Capital LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)         18-19121-RBR
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                   $29,364,300.31
       From 1/01/2018 to Filing Date                                                                        Consolidated with 1
                                                                                                            West Capital LLC -
                                                                                                            Case Number:
                                                                                                   Other    18-19122-RBR


       For prior year:                                                                             Operating a business                   $22,568,989.60
       From 1/01/2017 to 12/31/2017                                                                         Consolidated with 1
                                                                                                            West Capital LLC -
                                                                                                            Case Number:
                                                                                                   Other    18-19122-RBR


       For year before that:                                                                       Operating a business                     $6,154,970.08
       From 1/01/2016 to 12/31/2016                                                                         Consolidated with 1
                                                                                                            West Capital LLC -
                                                                                                            Case Number:
                                                                                                   Other    18-19122-RBR

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)




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                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)
       From the beginning of the fiscal year to filing date:                                   Cash back, interest income,
       From 1/01/2018 to Filing Date                                                           ISO clawbacks & capital
                                                                                               stack recovery.
                                                                                               Consolidated with 1 West
                                                                                               Capital LLC - Case Number:
                                                                                               18-19122-RBR                                          $157,724.90


       For prior year:                                                                         Cash back, interest income,
       From 1/01/2017 to 12/31/2017                                                            ISO clawbacks & capital
                                                                                               stack recovery.
                                                                                               Consolidated with 1 West
                                                                                               Capital LLC - Case Number:
                                                                                               18-19122-RBR                                          $683,764.71


       For year before that:                                                                   Cash back, interest income,
       From 1/01/2016 to 12/31/2016                                                            ISO clawbacks & capital
                                                                                               stack recovery.
                                                                                               Consolidated with 1 West
                                                                                               Capital LLC - Case Number:
                                                                                               18-19122-RBR                                           $11,895.84


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               See Attached Exhibit                                                                      $9,496,377.43           Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Attached Exhibit                                                                    $21,464,049.29


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.



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           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    See Attached Exhibit                                                                                                      Pending
                                                                                                                                         On appeal
                                                                                                                                         Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value

       9.1.    See Attached Exhibit
                                                                                                                         Various                         $307,668.45

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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       Description of the property lost and                      Amount of payments received for the loss                  Dates of loss          Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Greenberg Traurig, P.A.
                 333 S.E. 2nd Avenue
                 Miami, FL 33131                                                                                               07/25/2018             $850,000.00

                 Email or website address
                 https://www.gtlaw.com

                 Who made the payment, if not debtor?




       11.2.     Greenberg Traurig, P.A.
                 333 S.E. 2nd Avenue
                 Miami, FL 33131                                                                                               07/06/2018             $150,000.00

                 Email or website address
                 https://www.gtlaw.com

                 Who made the payment, if not debtor?




       11.3.
                 James S. Cassel
                                                                                                                               7/27/2018               $20,000.00

                 Email or website address
                 jcassel@cs-ib.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include

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 Debtor      1 Global Capital LLC                                                                       Case number (if known) 18-19121-RBR



    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                   Business's name, address, phone & fax number, website & federal
                   tax ID. Business owner's name, address, date of birth, social
                   security, email address & phone number.
                   Does the debtor have a privacy policy about that information?
                     No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    1st Global Capital, LLC 401(k) Plan                                                        EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     City National Bank                              XXXX-5975                   Checking                 July 2018                    $53,610.79
                 5900 N. Andrews Ave                                                         Savings
                 Suite 850
                                                                                             Money Market
                 Fort Lauderdale, FL 33309
                                                                                             Brokerage
                                                                                             Other

       18.2.     City National Bank                              XXXX-1786                   Checking                 July 2018                    $18,091.84
                 5900 N. Andrews Ave                                                         Savings
                 Suite 850
                                                                                             Money Market
                 Fort Lauderdale, FL 33309
                                                                                             Brokerage
                                                                                             Other

       18.3.     City National Bank                              XXXX-1825                   Checking                 July 2018                    $70,093.75
                 5900 N. Andrews Ave                                                         Savings
                 Suite 850
                                                                                             Money Market
                 Fort Lauderdale, FL 33309
                                                                                             Brokerage
                                                                                             Other

       18.4.     City National Bank                              XXXX-5933                   Checking                 July 2018                    $90,562.39
                 5900 N. Andrews Ave                                                         Savings
                 Suite 850
                                                                                             Money Market
                 Fort Lauderdale, FL 33309
                                                                                             Brokerage
                                                                                             Other

       18.5.     City National Bank                              XXXX-9196                   Checking                 July 2018                            $0.00
                 5900 N. Andrews Ave                                                         Savings
                 Suite 850
                                                                                             Money Market
                 Fort Lauderdale, FL 33309
                                                                                             Brokerage
                                                                                             Other

       18.6.     Bank of America, N.A.                           XXXX-0399                   Checking                 March 2018                       $994.70
                 P.O. Box 25118                                                              Savings
                 Tampa, FL 33622-5118
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.7.     Bank of America, N.A.                           XXXX-0771                   Checking                 March 2018               $1,491,734.06
                 P.O. Box 25118                                                              Savings
                 Tampa, FL 33622-5118
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other




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                 Financial Institution name and                  Last 4 digits of         Type of account or          Date account was            Last balance
                 Address                                         account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.8.     Bank of America, N.A.                           XXXX-3371                   Checking                 March 2018                         $23.56
                 P.O. Box 25118                                                              Savings
                 Tampa, FL 33622-5118
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.9.     Bank of America, N.A.                           XXXX-3748                   Checking                 January 2018                   $5,113.25
                 P.O. Box 25118                                                              Savings
                 Tampa, FL 33622-5118
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.10 Bank of America, N.A.                               XXXX-0386                   Checking                 March 2018                       $122.14
       .     P.O. Box 25118                                                                  Savings
                 Tampa, FL 33622-5118
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Ruderman Art Trust                                            1 Global Capital - Office            Various types of artwork and               Unknown
       16992 Rose Apple Drive                                        Building                             collectibles.
       Delray Beach, FL 33445                                        1250 E Hallandale Beach              Steven A. Schwartz, Trustee
                                                                     Blvd.
                                                                     Suite 409
                                                                     Hallandale Beach, FL
                                                                     33009



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 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Judy Cregger                                                                                                               05/14/2018 - Current
                    1250 East Hallandale Beach Blvd.
                    Suite 409
                    Hallandale Beach, FL 33009
       26a.2.       Richard Samuels                                                                                                            06/12/2017-05/23/2018
                    22672 Pickerel Circle
                    Boca Raton, FL 33428

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 Debtor      1 Global Capital LLC                                                                       Case number (if known) 18-19121-RBR



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Richard Samuels                                                                                                      06/12/2017-05/23/2018
                    22672 Pickerel Circle
                    Boca Raton, FL 33428
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.2.       Gibson & Associates, Inc.                                                                                            2016-2018
                    Attn: Daniel Gibson
                    14 Rodeo Drive
                    Marlboro, NJ 07746

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Gibson & Associates, Inc.
                    Attn. Daniel Gibson
                    14 Rodeo Drive
                    Marlboro, NJ 07746

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Bridge Bank
                    55 Almaden Blvd., Suite 100
                    San Jose, CA 95113
       26d.2.       First Premier
                    400 S. Sycamore Ave., Suite 102
                    Sioux Falls, SD 57110
       26d.3.       Citi National Bank
                    5900 N. Andrews Ave, Suite 850
                    Fort Lauderdale, FL 33309
       26d.4.       Arena Investors LP
                    405 Lexington Avenue, 59th Floor
                    New York, NY 10174

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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 Debtor      1 Global Capital LLC                                                                       Case number (if known) 18-19121-RBR



       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Carl Ruderman                                  20165 NE 39 Place                                   Chairman
                                                      Aventura, FL 33180

       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Steven A. Schwartz                             16992 Rose Apple Drive                              Trustee to the Ruderman
                                                      Delray Beach, FL 33445                              Family Trust

       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Ruderman Family Trust                          16992 Rose Apple Drive                              Owner of 1 Global Capital
                                                      Delray Beach, FL 33445                              LLC

       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Darice Lang                                    1250 E Hallandale Beach Blvd                        Operations Director
                                                      Suite 409
                                                      Hallandale Beach, FL 33009


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Carl Ruderman                                  20165 NE 39 Place                                   Chairman                      2014 to 7/27/2017
                                                      Aventura, FL 33180

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Steven Schwartz                                16992 Rose Apple Drive                              Manager 1 Global
                                                      Delray Beach, FL 33445                              Capital

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Eric Alexander                                 1200 West Ave                                       Chief Financial Officer       10/17/2016 to
                                                      Apt 1205                                                                          08/04/2017
                                                      Miami Beach, FL 33139
       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Richard Samuels                                22672 Pickerel Circle                               Director of Finance &         06/12/2017 to
                                                      Boca Raton, FL 33428                                Accounting                    05/23/2018

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Lyn Sohun                                      16059 Tuscany Estates Drive                         Chief Compliance              07/19/2016 to
                                                      Delray Beach, FL 33446                              Officer                       12/07/2017




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 Debtor      1 Global Capital LLC                                                                       Case number (if known) 18-19121-RBR



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Michael Ginsberg                               15480 SW 80th Avenue                                Chief Accounting Officer         06/25/2018 to
                                                      Miami, FL 33157                                                                      7/27/2018


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 See Attached Exhibit
       .                                                         169,936.88                                              Various

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Ruderman Family Trust                                                                                      EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 28, 2018

 /s/ Bradley D. Sharp                                                   Bradley D. Sharp
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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1 Global Capital LLC
SOFA 3 - Certain payments or transfers to creditors within 90 days before filing this case

             Creditor's Name                                Address                     Dates    Total amount        Reason for Payment or Transfer
AA Broadcast, Inc.                                                                    04/03/18 $     6,690.00 Puerto Rico
AA Broadcast, Inc.                                                                    05/08/18       8,362.50 Puerto Rico
                                                                                                    15,052.50
AAI Global                                                                            04/09/18     124,589.27   Finders Fee
AAI Global                                                                            05/09/18     220,184.83   Finders Fee
AAI Global                                                                            06/08/18     173,576.33   Finders Fee
AAI Global                                                                            07/10/18     131,419.50   Finders Fee
                                                                                                   649,769.93
ACHWorks                                                                              04/16/18       8,033.54   ACH Processing Fees
ACHWorks                                                                              05/15/18       7,006.46   ACH Processing Fees
ACHWorks                                                                              06/15/18       6,240.10   ACH Processing Fees
ACHWorks                                                                              07/16/18       4,654.34   ACH Processing Fees
                                                                                                    25,934.44
Alvaro Tico Martinez                                                                  04/09/18       6,900.00   Finders Fee
Alvaro Tico Martinez                                                                  05/09/18       6,000.00   Finders Fee
Alvaro Tico Martinez                                                                  06/08/18         675.00   Finders Fee
Alvaro Tico Martinez                                                                  07/10/18          75.00   Finders Fee
                                                                                                    13,650.00
American Express                                                                      04/17/18      10,487.62 Payroll Advances
                                                                                                    10,487.62
American Public Life Insurance Company                                                04/02/18       2,281.19   Health Insurance
American Public Life Insurance Company                                                04/17/18       1,464.25   Health Insurance
American Public Life Insurance Company                                                05/01/18       3,267.08   Health Insurance
American Public Life Insurance Company                                                06/04/18       3,533.83   Health Insurance
                                                                                                    10,546.35
Andy White                                                                            04/09/18      31,237.29 Finders Fee
Andy White                                                                            05/09/18      14,062.50 Finders Fee
Andy White                                                                            06/08/18      10,745.75 Finders Fee
                                                                                                    56,045.54
Anthony Pellegrino                                                                    04/09/18      50,758.60   Finders Fee
Anthony Pellegrino                                                                    04/10/18       1,500.00   Finders Fee
Anthony Pellegrino                                                                    05/09/18      81,623.91   Finders Fee
Anthony Pellegrino                                                                    06/08/18     109,777.93   Finders Fee
Anthony Pellegrino                                                                    07/10/18      68,844.52   Finders Fee
                                                                                                   312,504.96
Arena Management Co, LLC                                                              06/29/18      75,000.00 Deferred Debt Issuance Costs
                                                                                                    75,000.00
Argo Pro - Management Liability                                                       07/27/18     135,000.00 Insurance
                                                                                                   135,000.00
Ascensus Trust Retirement                                                             04/06/18       6,668.98   401(k) Liability/Employer Match
Ascensus Trust Retirement                                                             04/24/18      13,546.59   401(k) Liability/Employer Match
Ascensus Trust Retirement                                                             05/08/18       6,535.29   401(k) Liability/Employer Match
Ascensus Trust Retirement                                                             05/22/18      10,239.42   401(k) Liability/Employer Match
Ascensus Trust Retirement                                                             06/08/18       4,999.40   401(k) Liability/Employer Match
Ascensus Trust Retirement                                                             06/22/18       8,743.73   401(k) Liability/Employer Match
Ascensus Trust Retirement                                                             06/29/18       5,115.98   401(k) Liability/Employer Match
                                                                                                    55,849.39
Auto Dealer Consulting LLC                                                            06/26/18       8,260.00 Consulting Fees
                                                                                                     8,260.00
Aventura Turnberry Jewish Center                                                      04/25/18      25,000.00 Prepaid Expenses
                                                                                                    25,000.00
Awaken Holdings LLC                                                                   04/09/18         562.50   Finders Fee
Awaken Holdings LLC                                                                   05/10/18       3,977.63   Finders Fee
Awaken Holdings LLC                                                                   06/08/18       1,585.00   Finders Fee
Awaken Holdings LLC                                                                   07/10/18       6,117.00   Finders Fee
                                                                                                    12,242.13
BCM Benefits INC                                                                      04/09/18         600.00 Finders Fee
BCM Benefits INC                                                                      05/10/18       6,900.00 Finders Fee
BCM Benefits INC                                                                      07/10/18         585.00 Finders Fee
                                                                                                     8,085.00



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1 Global Capital LLC
SOFA 3 - Certain payments or transfers to creditors within 90 days before filing this case

              Creditor's Name                               Address                     Dates    Total amount         Reason for Payment or Transfer
BCM One                                                                               04/25/18       7,421.37 Computer and Internet Expenses
BCM One                                                                               05/16/18      14,954.06 Computer and Internet Expenses
                                                                                                    22,375.43
Belger Investment Group                                                               04/09/18      23,648.77   Finders Fee
Belger Investment Group                                                               05/09/18      12,137.84   Finders Fee
Belger Investment Group                                                               06/08/18      14,096.16   Finders Fee
Belger Investment Group                                                               07/10/18       4,035.50   Finders Fee
                                                                                                    53,918.27
Berger Singerman                                                                      05/11/18     34,414.97    Legal Fees
Berger Singerman                                                                      06/15/18     31,416.82    Legal Fees
Berger Singerman                                                                      07/10/18     17,149.56    Legal Fees
Berger Singerman                                                                      07/16/18      8,312.35    Legal Fees
Berger Singerman                                                                      07/20/18     53,131.60    Legal Fees
Berger Singerman                                                                      07/20/18     25,000.00    Security Deposit - Retainers
                                                                                                  169,425.30
Brett Johnson                                                                         04/09/18         750.00 Finders Fee
Brett Johnson                                                                         05/09/18       2,500.00 Finders Fee
Brett Johnson                                                                         07/10/18       3,179.90 Finders Fee
                                                                                                     6,429.90
Bridge Bank                                                                           04/19/18      12,500.00   Deferred Debt Issuance Costs
Bridge Bank                                                                           04/23/18          19.18   Bank Service Charges
Bridge Bank                                                                           05/07/18          14.00   Bank Service Charges
Bridge Bank                                                                           06/12/18          14.00   Bank Service Charges
Bridge Bank                                                                           06/15/18         100.00   Bank Service Charges
Bridge Bank                                                                           07/12/18          14.00   Bank Service Charges
Bridge Bank                                                                           07/13/18          14.00   Bank Service Charges
                                                                                                    12,675.18
Brilliant Financial Staffing                                                          04/10/18       1,383.30   Temporary Labor
Brilliant Financial Staffing                                                          04/18/18       5,454.90   Temporary Labor
Brilliant Financial Staffing                                                          04/25/18       1,670.40   Temporary Labor
Brilliant Financial Staffing                                                          05/08/18       1,392.00   Temporary Labor
Brilliant Financial Staffing                                                          05/16/18       2,784.00   Temporary Labor
Brilliant Financial Staffing                                                          05/30/18       1,392.00   Temporary Labor
Brilliant Financial Staffing                                                          06/06/18       1,392.00   Temporary Labor
                                                                                                    15,468.60
Caplan, Caplan & Caplan Process Servers                                               04/10/18       8,579.00 Filing Fees
Caplan, Caplan & Caplan Process Servers                                               06/06/18       6,680.00 Filing Fees
Caplan, Caplan & Caplan Process Servers                                               07/16/18       1,865.00 Filing Fees
                                                                                                    17,124.00
Carter Wilcoxson                                                                      04/09/18       8,430.76   Finders Fee
Carter Wilcoxson                                                                      05/09/18       3,893.75   Finders Fee
Carter Wilcoxson                                                                      06/08/18       7,042.59   Finders Fee
Carter Wilcoxson                                                                      07/10/18       7,586.03   Finders Fee
                                                                                                    26,953.13
Century Technologies                                                                  05/10/18       4,927.62 Leasehold Improvements
Century Technologies                                                                  06/06/18       5,877.81 Leasehold Improvements
                                                                                                    10,805.43
Chase Credit Services                                                                 04/17/18      19,714.20 Payroll Advances
                                                                                                    19,714.20
Chris A. Dantin                                                                       04/09/18       9,513.15   Finders Fee
Chris A. Dantin                                                                       04/10/18       1,875.00   Finders Fee
Chris A. Dantin                                                                       05/09/18      14,762.50   Finders Fee
Chris A. Dantin                                                                       06/08/18       5,101.00   Finders Fee
Chris A. Dantin                                                                       07/10/18       7,110.00   Finders Fee
                                                                                                    38,361.65
Christopher D Dantin                                                                  04/09/18    188,592.64    Finders Fee
Christopher D Dantin                                                                  05/09/18     75,239.83    Finders Fee
Christopher D Dantin                                                                  06/08/18     66,943.85    Finders Fee
Christopher D Dantin                                                                  07/10/18     70,826.25    Finders Fee
                                                                                                  401,602.57




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1 Global Capital LLC
SOFA 3 - Certain payments or transfers to creditors within 90 days before filing this case

               Creditor's Name                              Address                    Dates Total amount       Reason for Payment or Transfer
Cody C. Hill                                                                          04/09/18   7,939.22 Finders Fee
Cody C. Hill                                                                          05/09/18   9,178.31 Finders Fee
                                                                                                17,117.53
Cohen Tauber Spievack & Wagner PC                                                     06/06/18    24,613.21 Legal Fees
                                                                                                  24,613.21
Coverall North America INC                                                            04/18/18     2,601.24   Facility Expense - Cleaning
Coverall North America INC                                                            05/16/18     2,641.36   Facility Expense - Cleaning
Coverall North America INC                                                            06/07/18     2,601.24   Facility Expense - Cleaning
Coverall North America INC                                                            06/26/18       265.10   Facility Expense - Cleaning
Coverall North America INC                                                            07/16/18     2,601.24   Facility Expense - Cleaning
Coverall North America INC                                                            07/25/18       270.40   Facility Expense - Cleaning
                                                                                                  10,980.58
Curtis May                                                                            04/09/18     3,000.00   Finders Fee
Curtis May                                                                            05/09/18     4,630.00   Finders Fee
Curtis May                                                                            06/08/18     1,375.00   Finders Fee
Curtis May                                                                            07/10/18       500.00   Finders Fee
                                                                                                   9,505.00
Dale Ledbetter (for checks)                                                           04/13/18   193,769.04   Finders Fee
Dale Ledbetter (for checks)                                                           05/11/18   170,116.50   Finders Fee
Dale Ledbetter (for checks)                                                           06/12/18   195,605.49   Finders Fee
Dale Ledbetter (for checks)                                                           07/18/18   151,372.46   Finders Fee
                                                                                                 710,863.49
Dale Tenhulzen                                                                        04/09/18    38,974.90   Finders Fee
Dale Tenhulzen                                                                        05/09/18     8,525.00   Finders Fee
Dale Tenhulzen                                                                        06/08/18     9,005.00   Finders Fee
Dale Tenhulzen                                                                        06/12/18     3,000.00   Finders Fee
Dale Tenhulzen                                                                        07/10/18    12,340.25   Finders Fee
                                                                                                  71,845.15
David Nicholas                                                                        05/09/18     1,875.00 Finders Fee
David Nicholas                                                                        06/08/18     7,914.19 Finders Fee
David Nicholas                                                                        07/10/18    11,492.37 Finders Fee
                                                                                                  21,281.56
Denton Wealth Strategies                                                              04/09/18     4,379.30   Finders Fee
Denton Wealth Strategies                                                              05/10/18     3,592.96   Finders Fee
Denton Wealth Strategies                                                              06/08/18     2,107.70   Finders Fee
Denton Wealth Strategies                                                              07/10/18     8,165.00   Finders Fee
                                                                                                  18,244.96
Direct Office Solutions                                                               05/08/18     6,294.80   Furniture and Equipment
Direct Office Solutions                                                               06/15/18       784.40   Furniture and Equipment
Direct Office Solutions                                                               06/18/18     2,057.41   Furniture and Equipment
Direct Office Solutions                                                               07/16/18     8,253.51   Furniture and Equipment
                                                                                                  17,390.12
EDU Financial Strategies LLC                                                          04/09/18    26,248.00   Finders Fee
EDU Financial Strategies LLC                                                          05/09/18    57,995.50   Finders Fee
EDU Financial Strategies LLC                                                          06/08/18    37,740.50   Finders Fee
EDU Financial Strategies LLC                                                          07/10/18    68,191.80   Finders Fee
                                                                                                 190,175.80
Enablement Data LLC                                                                   05/09/18    29,550.00 Advertising and Promotion
Enablement Data LLC                                                                   07/05/18    39,600.00 Advertising and Promotion
                                                                                                  69,150.00
Evan Ruderman                                                                         05/16/18     9,024.31   Rent/Expense Reimbursement
Evan Ruderman                                                                         05/22/18     1,954.69   Expense Reimbursemeent
Evan Ruderman                                                                         06/06/18     3,261.13   Expense Reimbursemeent
Evan Ruderman                                                                         07/25/18     6,000.00   Expense Reimbursemeent
                                                                                                  20,240.13
Evangelos Beis                                                                        04/19/18    18,827.15 Loan Receivable-CR
                                                                                                  18,827.15




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1 Global Capital LLC
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               Creditor's Name                              Address                    Dates Total amount            Reason for Payment or Transfer
Experian                                                                              05/16/18  29,400.00      Credit Reports (Prepaid Expense)
Experian                                                                              05/16/18  14,769.98      IT Expense
Experian                                                                              06/07/18  10,158.06      IT Expense
Experian                                                                              07/25/18  14,137.36      IT Expense
                                                                                                68,465.40
Federal Express (5553-8804-7)                                                         04/18/18      2,448.32 Postage and Delivery
Federal Express (5553-8804-7)                                                         06/15/18      5,073.68 Postage and Delivery
Federal Express (5553-8804-7)                                                         06/25/18      1,482.63 Postage and Delivery
                                                                                                    9,004.63
Ferne Kornfeld and Barry Kornfeld                                                     04/09/18     10,991.66   Finders Fee
Ferne Kornfeld and Barry Kornfeld                                                     05/09/18      3,097.50   Finders Fee
Ferne Kornfeld and Barry Kornfeld                                                     06/08/18     16,318.20   Finders Fee
Ferne Kornfeld and Barry Kornfeld                                                     07/10/18     11,361.57   Finders Fee
                                                                                                   41,768.93
Finesse Capital Corporation                                                           04/09/18      9,500.00 Salaries & Wages
                                                                                                    9,500.00
First Corporate Solutions                                                             04/10/18      1,231.75 Filing Fees
First Corporate Solutions                                                             05/08/18      1,488.25 Filing Fees
First Corporate Solutions                                                             06/18/18      5,982.50 Filing Fees
                                                                                                    8,702.50
First PREMIER Bank                                                                    04/09/18         15.01   Bank Service Charges
First PREMIER Bank                                                                    04/20/18      5,040.00   Bank Service Charges
First PREMIER Bank                                                                    05/21/18      5,040.00   Bank Service Charges
First PREMIER Bank                                                                    06/20/18      5,059.00   Bank Service Charges
                                                                                                   15,154.01
Flexible Business Systems, Inc.                                                       04/03/18     60,618.38   Computer and Internet Expenses
Flexible Business Systems, Inc.                                                       04/10/18      2,261.58   Computer and Internet Expenses
Flexible Business Systems, Inc.                                                       04/18/18      7,141.33   Computer and Internet Expenses
Flexible Business Systems, Inc.                                                       05/16/18     35,570.16   Computer and Internet Expenses
Flexible Business Systems, Inc.                                                       05/22/18      1,369.30   Computer and Internet Expenses
Flexible Business Systems, Inc.                                                       05/30/18      8,348.59   Computer and Internet Expenses
Flexible Business Systems, Inc.                                                       05/31/18     20,824.99   Computer and Internet Expenses
Flexible Business Systems, Inc.                                                       06/15/18     37,605.44   Computer and Internet Expenses
Flexible Business Systems, Inc.                                                       07/05/18        151.86   Computer and Internet Expenses
Flexible Business Systems, Inc.                                                       07/25/18      6,069.41   IT Technical Support
                                                                                                  179,961.04
Florida Blue                                                                          04/02/18     72,253.64   Health Insurance
Florida Blue                                                                          05/01/18     76,726.89   Health Insurance
Florida Blue                                                                          06/04/18     72,161.15   Health Insurance
Florida Blue                                                                          07/03/18     74,948.94   Health Insurance
Florida Blue                                                                          07/27/18      2,749.16   Health Insurance
Florida Blue                                                                          07/27/18     78,548.92   Prepaid Expenses
                                                                                                  377,388.70
FPL FiberNet                                                                          06/07/18      6,566.68 Computer and Internet Expenses
FPL FiberNet                                                                          06/26/18        684.40 Computer and Internet Expenses
                                                                                                    7,251.08
George Gille - Pinnacle Plus                                                          04/09/18      8,379.50   Finders Fee
George Gille - Pinnacle Plus                                                          05/09/18      6,839.50   Finders Fee
George Gille - Pinnacle Plus                                                          06/08/18      5,262.25   Finders Fee
George Gille - Pinnacle Plus                                                          07/10/18      5,928.77   Finders Fee
                                                                                                   26,410.02
Global Title Alliance, LLC                                                            04/16/18    118,000.00 Security Deposit/Prepaid Rent
Global Title Alliance, LLC                                                            04/19/18      6,300.00 Security Deposit - Leased Prop
                                                                                                  124,300.00
Green Growth & Travelism Institute                                                    04/25/18      5,000.00 Donations
Green Growth & Travelism Institute                                                    05/31/18      5,000.00 Donations
Green Growth & Travelism Institute                                                    07/17/18      5,000.00 Donations
                                                                                                   15,000.00
Greenberg Traurig                                                                     07/06/18     150,000.00 Retainer
Greenberg Traurig                                                                     07/25/18     850,000.00 Retainer
                                                                                                 1,000,000.00



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1 Global Capital LLC
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               Creditor's Name                              Address                     Dates    Total amount         Reason for Payment or Transfer
GreenEarth.travel SPRL                                                                04/25/18       5,000.00 Donations
GreenEarth.travel SPRL                                                                05/31/18       5,000.00 Donations
GreenEarth.travel SPRL                                                                07/17/18       5,000.00 Donations
                                                                                                    15,000.00
Gregory S. Langsett                                                                   04/09/18       2,223.96   Finders Fee
Gregory S. Langsett                                                                   05/10/18       6,130.75   Finders Fee
Gregory S. Langsett                                                                   06/11/18       6,894.74   Finders Fee
Gregory S. Langsett                                                                   07/13/18       2,873.84   Finders Fee
                                                                                                    18,123.29
Grosvenor Square Limited                                                              05/01/18      20,000.00 Prepaid Expenses
                                                                                                    20,000.00
Guardian                                                                              04/02/18       8,654.52   Dental/Life/Vision/Disabil. Insurance
Guardian                                                                              05/01/18       8,787.47   Dental/Life/Vision/Disabil. Insurance
Guardian                                                                              06/04/18       8,705.89   Dental/Life/Vision/Disabil. Insurance
Guardian                                                                              07/27/18       9,586.75   Dental/Life/Vision/Disabil. Insurance
                                                                                                    35,734.63
Harry Rosenfeld                                                                       06/18/18       9,990.00   Consulting Fees
Harry Rosenfeld                                                                       06/29/18       7,400.00   Consulting Fees
Harry Rosenfeld                                                                       07/02/18       7,400.00   Consulting Fees
Harry Rosenfeld                                                                       07/10/18       5,550.00   Consulting Fees
Harry Rosenfeld                                                                       07/16/18       7,400.00   Consulting Fees
Harry Rosenfeld                                                                       07/24/18       7,400.00   Consulting Fees
                                                                                                    45,140.00
Hatch, James & Dodge                                                                  06/15/18      10,000.00 Legal Fees
                                                                                                    10,000.00
Heitner Legal, P.L.L.C.                                                               07/20/18      10,000.00 Security Deposit - Retainers
                                                                                                    10,000.00
Houston Harrison                                                                      04/09/18      13,151.10 Finders Fee
Houston Harrison                                                                      06/08/18       4,715.00 Finders Fee
Houston Harrison                                                                      07/10/18      15,755.25 Finders Fee
                                                                                                    33,621.35
Hudson Cook, LLP                                                                      05/08/18       3,960.00 Legal Fees
Hudson Cook, LLP                                                                      05/22/18       5,936.00 Legal Fees
                                                                                                     9,896.00
Informatica LLC                                                                       04/18/18      45,000.00 Prepaid Expenses
                                                                                                    45,000.00
Irving And Ashland LLC                                                                07/17/18      41,654.79 Interest Due Flat Rate Lender
Irving And Ashland LLC                                                                07/20/18       3,471.24 Interest Due Flat Rate Lender
                                                                                                    45,126.03
James S. Cassel                                                                       07/27/17      20,000.00 Retainer
                                                                                                    20,000.00
Jayson Glick                                                                          03/30/18       1,460.84   Salaries & Wages
Jayson Glick                                                                          04/03/18       1,525.46   Expense Reimbursement
Jayson Glick                                                                          04/18/18       3,344.24   Expense Reimbursement
Jayson Glick                                                                          05/01/18       1,632.18   Expense Reimbursement
Jayson Glick                                                                          06/26/18       3,758.44   Expense Reimbursement
Jayson Glick                                                                          07/16/18       4,517.04   Expense Reimbursement
                                                                                                    16,238.20
Jeffry Tupper - Pinnacle Plus Private Pla                                             04/09/18       8,183.00   Finders Fee
Jeffry Tupper - Pinnacle Plus Private Pla                                             05/09/18       7,393.50   Finders Fee
Jeffry Tupper - Pinnacle Plus Private Pla                                             06/08/18       4,647.00   Finders Fee
Jeffry Tupper - Pinnacle Plus Private Pla                                             07/10/18       2,551.97   Finders Fee
                                                                                                    22,775.47
Jim Heafner                                                                           04/09/18       5,746.36   Finders Fee
Jim Heafner                                                                           05/09/18       2,768.41   Finders Fee
Jim Heafner                                                                           06/08/18      17,291.32   Finders Fee
Jim Heafner                                                                           07/10/18       8,296.48   Finders Fee
                                                                                                    34,102.57




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              Creditor's Name                               Address                    Dates Total amount          Reason for Payment or Transfer
John Fisher                                                                           04/09/18   4,468.82    Finders Fee
John Fisher                                                                           05/09/18   7,916.89    Finders Fee
John Fisher                                                                           06/08/18  10,726.27    Finders Fee
John Fisher                                                                           07/10/18  19,788.35    Finders Fee
                                                                                                42,900.33
John Voytko                                                                           04/03/18    3,960.00   IT Technical Support
John Voytko                                                                           04/10/18   11,740.31   Expense Reimbursemeent
John Voytko                                                                           04/25/18   11,376.65   IT Expense
John Voytko                                                                           05/08/18      992.30   Travel Expense
John Voytko                                                                           05/16/18   13,222.08   IT Technical Support
John Voytko                                                                           05/22/18    4,918.14   IT Technical Support
John Voytko                                                                           06/06/18    4,442.79   IT Technical Support
John Voytko                                                                           06/07/18    3,870.00   IT Technical Support
John Voytko                                                                           06/15/18    5,893.76   IT Technical Support
John Voytko                                                                           06/26/18   10,281.28   IT Technical Support
John Voytko                                                                           07/11/18   11,998.12   IT Expense
John Voytko                                                                           07/25/18    8,713.52   IT Technical Support
                                                                                                 91,408.95
Jonathan Lee- L & F Incorporated                                                      04/09/18    5,625.00   Finders Fee
Jonathan Lee- L & F Incorporated                                                      05/09/18   15,750.00   Finders Fee
Jonathan Lee- L & F Incorporated                                                      06/08/18    9,034.99   Finders Fee
Jonathan Lee- L & F Incorporated                                                      07/10/18    6,819.93   Finders Fee
                                                                                                 37,229.92
Joseph Donti                                                                          04/09/18      187.00   Finders Fee
Joseph Donti                                                                          05/09/18    6,925.88   Finders Fee
Joseph Donti                                                                          06/08/18   18,333.06   Finders Fee
Joseph Donti                                                                          07/10/18   13,915.12   Finders Fee
                                                                                                 39,361.06
KAG Recruiting, LLC                                                                   07/16/18   15,000.00 Recruiting-IT
                                                                                                 15,000.00
Kane Kessler, PC                                                                      04/25/18   35,288.91 Litigation Expenses
Kane Kessler, PC                                                                      05/08/18    2,218.40 Legal Fees
Kane Kessler, PC                                                                      07/16/18    4,223.08 Legal Fees
                                                                                                 41,730.39
Kenneth Riewerts - Pinnacle Plus                                                      04/09/18    2,890.92 Finders Fee
Kenneth Riewerts - Pinnacle Plus                                                      05/09/18    7,994.64 Finders Fee
Kenneth Riewerts - Pinnacle Plus                                                      06/08/18    2,615.13 Finders Fee
                                                                                                 13,500.69
Kevin Kane                                                                            05/18/18    3,616.89   Expense Reimbursemeent
Kevin Kane                                                                            06/18/18   10,000.00   Employee Relocation
Kevin Kane                                                                            07/03/18    5,880.54   Expense Reimbursemeent
Kevin Kane                                                                            07/11/18   20,000.00   Prepaid Sales Commissions
                                                                                                 39,497.43
Kopelowitz Ostrow P.A.                                                                04/10/18   17,000.00   Legal Fees
Kopelowitz Ostrow P.A.                                                                05/10/18   17,000.00   Legal Fees
Kopelowitz Ostrow P.A.                                                                06/04/18   17,000.00   Legal Fees
Kopelowitz Ostrow P.A.                                                                07/17/18   17,000.00   Legal Fees
                                                                                                 68,000.00
Linda Ruderman                                                                        04/19/18   35,000.00 Payroll Advances
                                                                                                 35,000.00
Lisa Camacho                                                                          06/08/18    7,067.66 Finders Fee
Lisa Camacho                                                                          07/10/18    1,509.75 Finders Fee
                                                                                                  8,577.41
Mackie Financial Group LLC                                                            05/10/18    6,301.05 Finders Fee
Mackie Financial Group LLC                                                            06/08/18    1,195.50 Finders Fee
Mackie Financial Group LLC                                                            07/10/18    1,845.00 Finders Fee
                                                                                                  9,341.55
Mad 4 Marketing                                                                       04/03/18    8,291.99 Advertising and Promotion
                                                                                                  8,291.99




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          Creditor's Name                                   Address                    Dates Total amount        Reason for Payment or Transfer
Matthew Walker Financial Services                                                     04/09/18  35,162.73 Finders Fee
Matthew Walker Financial Services                                                     05/09/18  29,493.23 Finders Fee
Matthew Walker Financial Services                                                     05/10/18      825.00 Finders Fee
Matthew Walker Financial Services                                                     06/08/18  45,026.06 Finders Fee
Matthew Walker Financial Services                                                     07/10/18  14,217.92 Finders Fee
                                                                                               124,724.94
Meridian Services LLC                                                                 04/06/18     5,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 04/11/18    10,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 04/19/18    10,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 04/24/18    10,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 05/11/18     5,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 05/16/18    15,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 06/06/18     5,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 06/15/18    10,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 06/20/18    15,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 06/26/18     5,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 07/03/18    10,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 07/12/18     5,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 07/16/18    10,000.00   Coop Advertising - ISO Support
Meridian Services LLC                                                                 07/25/18     5,000.00   Coop Advertising - ISO Support
                                                                                                 120,000.00
Michael Fahey- L & F Incorporated                                                     04/09/18     4,015.13   Finders Fee
Michael Fahey- L & F Incorporated                                                     05/09/18     5,250.00   Finders Fee
Michael Fahey- L & F Incorporated                                                     06/08/18     3,011.66   Finders Fee
Michael Fahey- L & F Incorporated                                                     07/10/18     2,685.81   Finders Fee
                                                                                                  14,962.60
Michael Pellegrino                                                                    04/09/18    69,791.50   Finders Fee
Michael Pellegrino                                                                    05/09/18    58,434.31   Finders Fee
Michael Pellegrino                                                                    06/08/18   100,017.54   Finders Fee
Michael Pellegrino                                                                    07/10/18    87,835.66   Finders Fee
                                                                                                 316,079.01
Michelle McElhannon                                                                   04/10/18     2,400.00   Temporary Labor
Michelle McElhannon                                                                   05/10/18     4,000.00   Temporary Labor
Michelle McElhannon                                                                   06/07/18     4,000.00   Temporary Labor
Michelle McElhannon                                                                   07/11/18     4,000.00   Temporary Labor
                                                                                                  14,400.00
Mike Tracy                                                                            04/09/18     7,898.94 Finders Fee
Mike Tracy                                                                            05/10/18    10,395.00 Finders Fee
                                                                                                  18,293.94
Mitchell Retirement Group LLC                                                         04/09/18     5,069.99   Finders Fee
Mitchell Retirement Group LLC                                                         05/09/18     2,906.17   Finders Fee
Mitchell Retirement Group LLC                                                         06/08/18    39,285.25   Finders Fee
Mitchell Retirement Group LLC                                                         07/10/18    10,976.63   Finders Fee
                                                                                                  58,238.04
MJDJR Properties LLC                                                                  06/08/18     7,500.00 Finders Fee
                                                                                                   7,500.00
Murray Family Associates                                                              04/02/18    30,008.81   Office Rent
Murray Family Associates                                                              05/01/18    30,008.81   Office Rent
Murray Family Associates                                                              06/04/18    30,008.81   Office Rent
Murray Family Associates                                                              07/16/18    30,008.81   Office Rent
                                                                                                 120,035.24
NV Partners, LLC                                                                      04/09/18     2,925.00 Finders Fee
NV Partners, LLC                                                                      07/10/18     4,675.00 Finders Fee
                                                                                                   7,600.00
P&R Marketing                                                                         04/09/18       225.00   Finders Fee
P&R Marketing                                                                         05/10/18     2,452.58   Finders Fee
P&R Marketing                                                                         06/12/18     3,648.99   Finders Fee
P&R Marketing                                                                         07/10/18     9,101.02   Finders Fee
                                                                                                  15,427.59




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               Creditor's Name                              Address                     Dates    Total amount         Reason for Payment or Transfer
Park & Lim                                                                            04/03/18      29,802.55 Filing Fees
Park & Lim                                                                            07/16/18       8,431.14 Filing Fees
                                                                                                    38,233.69
Paychex                                                                               04/04/18         175.00   Payroll Processing Expenses
Paychex                                                                               04/13/18       1,599.83   Payroll Processing Expenses
Paychex                                                                               04/20/18         175.00   Payroll Processing Expenses
Paychex                                                                               05/11/18       2,184.79   Payroll Processing Expenses
Paychex                                                                               05/20/18         175.00   Payroll Processing Expenses
Paychex                                                                               06/15/18       1,905.13   Payroll Processing Expenses
Paychex                                                                               06/19/18         175.00   Payroll Processing Expenses
Paychex                                                                               07/13/18       1,522.97   Payroll Processing Expenses
                                                                                                     7,912.72
Paypal, Inc.                                                                          04/18/18          12.00 Filing Fees
Paypal, Inc.                                                                          04/18/18       7,341.50 Payroll Advances
                                                                                                     7,353.50
Phoenix Management Services                                                           06/29/18      25,000.00 Consulting Fees
Phoenix Management Services                                                           07/18/18      25,000.00 Consulting Fees
                                                                                                    50,000.00
ProdSpace.com LLC                                                                     04/03/18       4,335.00   Software in Process-Salesforce
ProdSpace.com LLC                                                                     04/18/18      10,455.00   Software in Process-Salesforce
ProdSpace.com LLC                                                                     05/08/18      15,746.25   Software in Process-Salesforce
ProdSpace.com LLC                                                                     05/22/18      22,754.47   Software in Process-Salesforce
ProdSpace.com LLC                                                                     06/07/18      20,697.50   Software in Process-Salesforce
ProdSpace.com LLC                                                                     06/20/18      23,561.99   Software in Process-Salesforce
                                                                                                    97,550.21
Provest LLC                                                                           04/10/18         980.00   Filing Fees
Provest LLC                                                                           04/18/18       2,100.00   Filing Fees
Provest LLC                                                                           05/08/18      16,285.20   Filing Fees
Provest LLC                                                                           05/16/18       1,906.20   Filing Fees
Provest LLC                                                                           05/22/18       6,584.00   Filing Fees
Provest LLC                                                                           05/30/18      11,978.90   Filing Fees
Provest LLC                                                                           06/06/18       6,165.60   Filing Fees
Provest LLC                                                                           06/18/18         498.20   Filing Fees
Provest LLC                                                                           06/27/18      17,734.00   Filing Fees
Provest LLC                                                                           06/29/18       3,092.40   Filing Fees
Provest LLC                                                                           07/16/18      11,892.60   Filing Fees
                                                                                                    79,217.10
Revolution Technologies, LLC                                                          05/08/18      26,000.00   Recruiting-IT
Revolution Technologies, LLC                                                          05/16/18       6,352.50   Recruiting-IT
Revolution Technologies, LLC                                                          05/22/18       2,849.00   Recruiting-IT
Revolution Technologies, LLC                                                          05/29/18       6,179.25   Recruiting-IT
Revolution Technologies, LLC                                                          06/07/18       3,234.00   Recruiting-IT
Revolution Technologies, LLC                                                          06/15/18       2,156.00   Recruiting-IT
Revolution Technologies, LLC                                                          07/16/18       3,234.00   Recruiting-IT
                                                                                                    50,004.75
Richard Ehrlich                                                                       04/09/18         675.00 Finders Fee
Richard Ehrlich                                                                       05/10/18       1,755.22 Finders Fee
Richard Ehrlich                                                                       07/10/18       4,050.00 Finders Fee
                                                                                                     6,480.22
Richard Miller                                                                        06/08/18       3,850.65 Finders Fee
Richard Miller                                                                        07/10/18       5,962.50 Finders Fee
                                                                                                     9,813.15
Robert Napolitano                                                                     04/03/18         911.23   Expense Reimbursemeent
Robert Napolitano                                                                     04/18/18         358.20   Expense Reimbursemeent
Robert Napolitano                                                                     05/29/18       1,056.81   Expense Reimbursemeent
Robert Napolitano                                                                     07/16/18       1,149.00   Expense Reimbursement
Robert Napolitano                                                                     07/24/18       6,329.00   Expense Reimbursemeent
                                                                                                     9,804.24




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              Creditor's Name                               Address                     Dates    Total amount         Reason for Payment or Transfer
Robert T. Seth                                                                        04/09/18       3,700.00   Finders Fee
Robert T. Seth                                                                        05/10/18      12,977.50   Finders Fee
Robert T. Seth                                                                        06/08/18      20,205.00   Finders Fee
Robert T. Seth                                                                        06/12/18       1,125.00   Finders Fee
Robert T. Seth                                                                        07/10/18       7,447.50   Finders Fee
                                                                                                    45,455.00
Ronald Scherer                                                                        04/09/18       7,837.71   Finders Fee
Ronald Scherer                                                                        05/10/18       7,268.85   Finders Fee
Ronald Scherer                                                                        06/08/18       1,152.50   Finders Fee
Ronald Scherer                                                                        07/10/18       2,500.00   Finders Fee
                                                                                                    18,759.06
Ross Powell                                                                           04/09/18       6,125.00 Finders Fee
Ross Powell                                                                           06/08/18       8,300.00 Finders Fee
Ross Powell                                                                           07/10/18       6,000.00 Finders Fee
                                                                                                    20,425.00
RSN Consultants Inc                                                                   03/30/18       2,083.33   Salaries & Wages
RSN Consultants Inc                                                                   04/12/18       2,083.33   Salaries & Wages
RSN Consultants Inc                                                                   04/30/18       2,083.33   Salaries & Wages
RSN Consultants Inc                                                                   05/14/18      11,561.83   Salaries & Wages/Commissions
RSN Consultants Inc                                                                   06/14/18      23,807.00   Salaries & Wages/Commissions
RSN Consultants Inc                                                                   06/29/18       2,083.33   Salaries & Wages
RSN Consultants Inc                                                                   07/13/18      27,083.33   Salaries & Wages/Commissions
                                                                                                    70,785.48
S.S. Holdings (Investor)                                                              05/02/18       6,555.26 Interest Due Flat Rate Lender
S.S. Holdings (Investor)                                                              07/06/18       6,628.10 Interest Due Flat Rate Lender
                                                                                                    13,183.36
Sallah Astarita & Cox, LLC                                                            07/27/18      25,000.00 Legal Fees
                                                                                                    25,000.00
Samuel J. Rabin Jr., P.A.                                                             07/25/18       7,500.00 Legal Fees
                                                                                                     7,500.00
Samuel S. Buono                                                                       04/03/18       3,150.00   IT Technical Support
Samuel S. Buono                                                                       05/01/18       8,640.00   IT Technical Support
Samuel S. Buono                                                                       06/07/18       9,450.00   IT Technical Support
Samuel S. Buono                                                                       06/12/18      10,170.00   IT Expense
                                                                                                    31,410.00
Saoud Retirement LLC                                                                  04/10/18       2,812.50   Finders Fee
Saoud Retirement LLC                                                                  05/09/18       3,937.50   Finders Fee
Saoud Retirement LLC                                                                  06/08/18       2,812.50   Finders Fee
Saoud Retirement LLC                                                                  07/10/18       1,874.96   Finders Fee
                                                                                                    11,437.46
SBS Now Inc                                                                           04/23/18       8,000.00   Prepaid Expenses
SBS Now Inc                                                                           05/22/18       8,000.00   Prepaid Expenses
SBS Now Inc                                                                           06/19/18       8,000.00   Prepaid Expenses
SBS Now Inc                                                                           07/19/18       8,000.00   Prepaid Expenses
                                                                                                    32,000.00




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            Creditor's Name                                 Address                    Dates Total amount          Reason for Payment or Transfer
Scott Merkelson                                                                       04/25/18   2,466.44     Expense Reimbursemeent
Scott Merkelson                                                                       05/08/18   4,675.24     Meals and Entertainment
Scott Merkelson                                                                       05/10/18   1,038.54     Expense Reimbursemeent
Scott Merkelson                                                                       06/06/18   2,910.76     Expense Reimbursemeent
Scott Merkelson                                                                       06/15/18   1,916.05     Expense Reimbursemeent
Scott Merkelson                                                                       06/26/18   1,828.01     Expense Reimbursemeent
Scott Merkelson                                                                       07/16/18   1,667.38     Expense Reimbursement
Scott Merkelson                                                                       07/24/18   3,001.86     Expense Reimbursemeent
                                                                                                19,504.28
Secure Money Advisors LLC                                                             04/09/18     8,459.97   Finders Fee
Secure Money Advisors LLC                                                             05/09/18     5,918.50   Finders Fee
Secure Money Advisors LLC                                                             06/08/18     3,636.50   Finders Fee
Secure Money Advisors LLC                                                             07/10/18     1,297.88   Finders Fee
                                                                                                  19,312.85
Sherman & Howard L.L.C.                                                               04/03/18    10,000.00 Security Deposit - Retainers
Sherman & Howard L.L.C.                                                               05/08/18    35,670.90 Legal Fees
Sherman & Howard L.L.C.                                                               06/26/18    11,286.00 Legal Fees
                                                                                                  56,956.90
Small Business Expo                                                                   04/20/18    36,766.96 Prepaid Expenses
                                                                                                  36,766.96
SNI Companies                                                                         04/03/18     1,215.60   Temporary Labor
SNI Companies                                                                         05/08/18       607.80   Temporary Labor
SNI Companies                                                                         05/16/18     2,338.40   Temporary Labor
SNI Companies                                                                         05/30/18     1,169.20   Temporary Labor
SNI Companies                                                                         06/06/18     5,611.45   Temporary Labor
SNI Companies                                                                         06/20/18     2,338.40   Salaries & Wages
                                                                                                  13,280.85
Software Solutions Consulting Inc.                                                    04/03/18    22,000.00 Website Upgrade
Software Solutions Consulting Inc.                                                    05/18/18    11,000.00 Website Upgrade
Software Solutions Consulting Inc.                                                    06/07/18    11,000.00 Prepaid Expenses
                                                                                                  44,000.00
Steve Bernardone                                                                      05/30/18    25,000.00 Payroll Advances
Steve Bernardone                                                                      07/03/18    15,000.00 Payroll Advances
                                                                                                  40,000.00
Stuart A. Smith                                                                       06/26/18     6,815.00 Legal Fees
                                                                                                   6,815.00
Synergy Capital                                                                       04/20/18    40,000.00 ISO Volume Incentives Comm
                                                                                                  40,000.00
SysArc Infomatix Pvt Ltd                                                              04/03/18     6,600.00   IT Technical Support
SysArc Infomatix Pvt Ltd                                                              04/25/18     6,600.00   IT Technical Support
SysArc Infomatix Pvt Ltd                                                              05/01/18     6,600.00   IT Technical Support
SysArc Infomatix Pvt Ltd                                                              05/08/18     6,000.00   IT Technical Support
SysArc Infomatix Pvt Ltd                                                              05/16/18     2,600.00   IT Technical Support
SysArc Infomatix Pvt Ltd                                                              05/29/18     6,600.00   IT Technical Support
SysArc Infomatix Pvt Ltd                                                              05/30/18    64,100.00   FP Software Dev-Thru May 18/Prepayment
SysArc Infomatix Pvt Ltd                                                              06/07/18     4,680.00   IT Technical Support
SysArc Infomatix Pvt Ltd                                                              06/15/18     9,800.00   IT Technical Support
SysArc Infomatix Pvt Ltd                                                              07/16/18     4,000.00   IT Technical Support
                                                                                                 117,580.00
The Ivy Consulting Group LLC                                                          07/16/18       635.40 Expense Reimbursemeent
The Ivy Consulting Group LLC                                                          07/20/18    10,000.00 Consulting Fees
The Ivy Consulting Group LLC                                                          07/25/18    10,000.00 Consulting Fees
                                                                                                  20,635.40
Thomas B Pearsey                                                                      04/09/18     6,316.86   Finders Fee
Thomas B Pearsey                                                                      05/10/18     2,166.67   Finders Fee
Thomas B Pearsey                                                                      06/08/18     2,035.97   Finders Fee
Thomas B Pearsey                                                                      07/10/18     2,027.16   Finders Fee
                                                                                                  12,546.66
Thomas S Sims                                                                         06/08/18     6,243.13 Finders Fee
                                                                                                   6,243.13




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1 Global Capital LLC
SOFA 3 - Certain payments or transfers to creditors within 90 days before filing this case

          Creditor's Name                                   Address                    Dates Total amount        Reason for Payment or Transfer
Thomson Reuters                                                                       04/04/18   9,666.30 IT Expense
Thomson Reuters                                                                       05/16/18  10,296.30 IT Expense
Thomson Reuters                                                                       06/07/18      630.00 IT Expense
Thomson Reuters                                                                       06/15/18  10,296.30 IT Expense
Thomson Reuters                                                                       07/01/18   9,666.30 IT Expense
                                                                                                40,555.20
Travis Horn- Pinnacle Plus Private Placem                                             04/09/18       427.50 Finders Fee
Travis Horn- Pinnacle Plus Private Placem                                             05/10/18     3,600.00 Finders Fee
Travis Horn- Pinnacle Plus Private Placem                                             06/08/18     8,326.55 Finders Fee
                                                                                                  12,354.05
Trigg Financial Group, PLLC                                                           05/10/18     2,400.00 Finders Fee
Trigg Financial Group, PLLC                                                           06/08/18     1,500.00 Finders Fee
Trigg Financial Group, PLLC                                                           07/10/18     4,177.50 Finders Fee
                                                                                                   8,077.50
Triumph Professional Staffing                                                         04/03/18    11,400.00   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         04/10/18     6,973.20   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         04/18/18     1,236.40   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         05/08/18    42,744.00   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         05/16/18     9,372.00   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         05/29/18    18,744.00   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         06/05/18    34,557.98   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         06/07/18     8,397.60   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         06/15/18    14,622.00   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         06/20/18     1,122.00   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         06/26/18    27,372.00   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         07/05/18    11,622.00   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         07/16/18     6,750.00   Recruiting-Syn Ptnr Relations
Triumph Professional Staffing                                                         07/25/18     8,734.88   Recruiting-Syn Ptnr Relations
                                                                                                 203,648.06
Uno Radio Group                                                                       04/10/18     4,100.00 Puerto Rico
Uno Radio Group                                                                       05/08/18     4,100.00 Puerto Rico
                                                                                                   8,200.00
Vertigo Media Group                                                                   04/25/18     5,619.85   Advertising and Promotion
Vertigo Media Group                                                                   05/01/18     2,400.00   Advertising and Promotion
Vertigo Media Group                                                                   05/08/18     4,800.00   Advertising and Promotion
Vertigo Media Group                                                                   06/06/18     4,800.00   Advertising and Promotion
Vertigo Media Group                                                                   06/07/18     1,018.00   Advertising and Promotion
Vertigo Media Group                                                                   06/15/18       392.00   Advertising and Promotion
                                                                                                  19,029.85
VR Holdings {Investor}                                                                05/02/18     4,010.96 Interest Due Flat Rate Lender
VR Holdings {Investor}                                                                06/15/18     2,038.36 Interest Due Flat Rate Lender
VR Holdings {Investor}                                                                07/06/18     1,972.60 Interest Due Flat Rate Lender
                                                                                                   8,021.92
Wendel Retirement Planning                                                            05/10/18    23,797.78 Finders Fee
Wendel Retirement Planning                                                            06/08/18    15,049.00 Finders Fee
Wendel Retirement Planning                                                            07/12/18    13,459.63 Finders Fee
                                                                                                  52,306.41
Wieniewitz National Distribution Services                                             04/09/18   279,886.28   Finders Fee
Wieniewitz National Distribution Services                                             05/10/18   197,927.35   Finders Fee
Wieniewitz National Distribution Services                                             06/08/18   260,072.93   Finders Fee
Wieniewitz National Distribution Services                                             07/10/18   194,690.64   Finders Fee
                                                                                                 932,577.20
William Saoud                                                                         04/09/18     9,169.10   Finders Fee
William Saoud                                                                         05/09/18     9,763.15   Finders Fee
William Saoud                                                                         06/08/18    13,232.93   Finders Fee
William Saoud                                                                         07/10/18    13,843.96   Finders Fee
                                                                                                  46,009.14
XL Specialty Insurance Co - Professional                                              07/27/18   150,000.00 Insurance
                                                                                                 150,000.00




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1 Global Capital LLC
SOFA 3 - Certain payments or transfers to creditors within 90 days before filing this case

            Creditor's Name                                 Address                    Dates Total amount        Reason for Payment or Transfer
Your Long-Term Care Insurance Agency                                                  05/10/18      225.00 Finders Fee
Your Long-Term Care Insurance Agency                                                  06/08/18   1,125.00 Finders Fee
Your Long-Term Care Insurance Agency                                                  07/10/18   9,000.00 Finders Fee
                                                                                                10,350.00
Grand Total                                                                                    9,496,377.43




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1 Global Capital LLC
SOFA 4 - Payments to or on behalf of insiders in the year prior to the petition date

                     Insider                              Date                  Amount                  Reason for Transfer   Note
Actum Processing, LLC                                        08/30/17 $                10,000.00 ACH Processing Fee           [1]
                                                                                       10,000.00
American Express                                   8/9/17 - 6/30/18                    10,708.03 various                      [7]
                                                                                       10,708.03
American Public Life Insurance Company                       03/29/18                     111.15   Gap insurance              [2]
American Public Life Insurance Company                       04/02/18                      37.05   Gap insurance              [2]
American Public Life Insurance Company                       05/31/18                      37.05   Gap insurance              [2]
American Public Life Insurance Company                       06/01/18                      37.05   Gap insurance              [2]
American Public Life Insurance Company                       03/29/18                     370.95   Gap insurance              [1]
American Public Life Insurance Company                       04/02/18                     148.20   Gap insurance              [1]
American Public Life Insurance Company                       05/31/18                     111.15   Gap insurance              [1]
American Public Life Insurance Company                       06/01/18                     185.25   Gap insurance              [1]
                                                                                        1,037.85
ASSISTANT VIP LTD                                            09/15/17                  30,484.00 CR expense                   [3]
                                                                                       30,484.00
AT&T                                                         11/10/17                    826.79 iPads purchase                [1]
AT&T                                                         11/11/17                    105.98 wireless services             [1]
                                                                                         932.77
Blake Ruderman                                               07/28/17                   1,384.62   Salary
Blake Ruderman                                               08/11/17                   1,384.62   Salary
Blake Ruderman                                               08/25/17                   1,384.62   Salary
Blake Ruderman                                               09/08/17                   1,384.62   Salary
Blake Ruderman                                               09/22/17                   1,384.62   Salary
Blake Ruderman                                               10/06/17                   1,384.62   Salary
Blake Ruderman                                               10/20/17                   1,384.62   Salary
Blake Ruderman                                               11/03/17                   1,384.62   Salary
Blake Ruderman                                               11/17/17                   1,384.62   Salary
Blake Ruderman                                               12/01/17                   1,384.62   Salary
Blake Ruderman                                               12/15/17                   1,384.62   Salary
Blake Ruderman                                               12/29/17                   1,384.62   Salary
Blake Ruderman                                               01/12/18                   2,192.31   Salary
Blake Ruderman                                               01/31/18                   1,500.00   Salary
Blake Ruderman                                               02/15/18                   1,500.00   Salary
Blake Ruderman                                               02/28/18                   1,500.00   Salary
Blake Ruderman                                               03/15/18                   1,500.00   Salary
Blake Ruderman                                               03/30/18                   1,500.00   Salary
Blake Ruderman                                               04/13/18                   1,500.00   Salary
Blake Ruderman                                               04/30/18                   1,500.00   Salary
Blake Ruderman                                               05/15/18                   1,500.00   Salary
Blake Ruderman                                               05/31/18                   1,500.00   Salary
Blake Ruderman                                               06/15/18                   1,500.00   Salary
Blake Ruderman                                               06/29/18                   1,500.00   Salary
Blake Ruderman                                               07/13/18                   1,500.00   Salary
Blake Ruderman                                               08/10/17                     636.99   Interest
Blake Ruderman                                               09/05/17                     636.99   Interest
Blake Ruderman                                               10/10/17                     616.44   Interest
Blake Ruderman                                               11/03/17                     636.99   Interest
Blake Ruderman                                               12/05/17                     616.44   Interest
Blake Ruderman                                               01/02/18                     636.99   Interest
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1 Global Capital LLC
SOFA 4 - Payments to or on behalf of insiders in the year prior to the petition date

                     Insider                              Date                  Amount                  Reason for Transfer       Note
Blake Ruderman                                               02/06/18                     636.99   Interest
Blake Ruderman                                               03/22/18                     575.34   Interest
Blake Ruderman                                               05/02/18                   1,253.43   Interest
Blake Ruderman                                               06/15/18                     636.99   Interest
Blake Ruderman                                               07/06/18                     616.44   Interest
                                                                                       44,307.78
Bright Smile, LLC                                            08/03/17                 50,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            08/15/17                 15,917.08    IC Electronic Funds Transfer
Bright Smile, LLC                                            08/24/17                 50,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            10/20/17                 56,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            10/31/17                 42,500.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            11/15/17                 50,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            11/29/17                 50,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            12/04/17                100,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            12/07/17                100,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            12/21/17                100,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            12/29/17                100,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            01/04/18                100,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            01/16/18                100,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            01/22/18                100,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            01/23/18                200,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            01/26/18                160,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            01/30/18                130,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            02/05/18                200,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            02/07/18                135,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            02/08/18                306,264.78    IC Electronic Funds Transfer
Bright Smile, LLC                                            02/09/18                 20,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            02/13/18                343,402.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            02/20/18                245,668.15    IC Electronic Funds Transfer
Bright Smile, LLC                                            02/20/18                 91,664.60    IC Electronic Funds Transfer
Bright Smile, LLC                                            02/23/18                431,790.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            02/27/18                322,515.35    IC Electronic Funds Transfer
Bright Smile, LLC                                            03/02/18                281,506.40    IC Electronic Funds Transfer
Bright Smile, LLC                                            03/06/18                285,014.65    IC Electronic Funds Transfer
Bright Smile, LLC                                            03/09/18                360,851.70    IC Electronic Funds Transfer
Bright Smile, LLC                                            03/14/18                427,886.70    IC Electronic Funds Transfer
Bright Smile, LLC                                            03/20/18                272,502.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            03/22/18                300,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            03/26/18                393,650.85    IC Electronic Funds Transfer
Bright Smile, LLC                                            03/28/18                314,556.60    IC Electronic Funds Transfer
Bright Smile, LLC                                            03/28/18                 30,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            04/02/18                466,838.50    IC Electronic Funds Transfer
Bright Smile, LLC                                            04/05/18                327,972.50    IC Electronic Funds Transfer
Bright Smile, LLC                                            04/10/18                335,790.20    IC Electronic Funds Transfer
Bright Smile, LLC                                            04/10/18              3,000,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            04/16/18                200,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            04/18/18                300,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            04/20/18                100,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            04/23/18                500,000.00    IC Electronic Funds Transfer
Bright Smile, LLC                                            04/26/18                100,000.00    IC Electronic Funds Transfer

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1 Global Capital LLC
SOFA 4 - Payments to or on behalf of insiders in the year prior to the petition date

                     Insider                              Date                  Amount                 Reason for Transfer       Note
Bright Smile, LLC                                            04/27/18                250,000.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            05/01/18                300,000.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            05/03/18                340,728.32   IC Electronic Funds Transfer
Bright Smile, LLC                                            05/07/18                285,974.34   IC Electronic Funds Transfer
Bright Smile, LLC                                            05/11/18                200,000.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            05/15/18                100,000.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            05/16/18                461,233.30   IC Electronic Funds Transfer
Bright Smile, LLC                                            05/22/18                395,494.37   IC Electronic Funds Transfer
Bright Smile, LLC                                            05/25/18                388,160.91   IC Electronic Funds Transfer
Bright Smile, LLC                                            05/31/18                363,632.77   IC Electronic Funds Transfer
Bright Smile, LLC                                            05/31/18                     35.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            06/06/18                390,963.03   IC Electronic Funds Transfer
Bright Smile, LLC                                            06/12/18                  8,550.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            06/12/18                100,000.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            06/14/18                    505.80   IC Electronic Funds Transfer
Bright Smile, LLC                                            06/22/18                250,000.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            06/26/18                100,000.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            07/05/18                100,000.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            07/11/18                100,000.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            07/11/18                    220.00   IC Electronic Funds Transfer
Bright Smile, LLC                                            07/18/18                     45.43   IC Electronic Funds Transfer
Bright Smile, LLC                                            07/20/18                 16,000.00   IC Electronic Funds Transfer
                                                                                  15,748,835.33
Bright Smile customer refund - (3 NSF for) Avis              03/21/18                    105.00 Customer Refund                  [1]
Santana Acct # BS180115030
Bright Smile customer refund - Aderonke                      03/21/18                    505.44 Customer Refund                  [1]
Shenbanjo Acct # BS180309020
Bright Smile customer refund - Intercompany-                 04/26/18                    660.20 Customer Refund                  [1]
BS180213013 patient refund Gracie Miller
Bright Smile customer refund - Provider Jade                 04/02/18                    499.90 Customer Refund                  [1]
Holdings Recalled finance amount instead of
funded  for Tammonique
Bright Smile              Pope- Refund customer
             customer refund                                 05/03/18                    202.85 Customer Refund                  [1]
Barbara Alvarez Acct # BS180222015
Bright Smile customer refund - Refund customer               03/29/18                     93.03 Customer Refund                  [1]
Bayardo Mendez Acct # BS180226011
Bright Smile customer refund - Refund customer               03/23/18                    305.05 Customer Refund                  [1]
Janice Coleman Acct # BS180123016
Bright Smile customer refund - Refund customer               03/29/18                    280.00 Customer Refund                  [1]
Jennifer Lovell Acct # BS 180316001
Bright Smile customer refund - Refund customer               04/04/18                    560.00 Customer Refund                  [1]
Kerrian Gooden Acct # BS180115007
Bright Smile customer refund - Refund customer               05/04/18                  1,010.88 Customer Refund                  [1]
Ninochtka Carasquillo Acct # BS180223004
Bright Smile customer refund - Refund customer               04/02/18                    380.20 Customer Refund                  [1]
Tiffiney Campbell Acct # BS180228008
Bright Smile customer refund - Refund customer               05/03/18                    305.05 Customer Refund                  [1]
Trisha Turcotte Acct # BS180301023
Bright Smile customer refund - Refund customer               04/02/18                    285.01 Customer Refund                  [1]
Yoan Chavez Acct # BS180301017

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1 Global Capital LLC
SOFA 4 - Payments to or on behalf of insiders in the year prior to the petition date

                      Insider                             Date                  Amount                   Reason for Transfer       Note
Bright Smile customer refund - Refund customer               03/27/18                     179.80 Customer Refund                   [1]
Yulissa Trejo Acct # BS 180228031
Bright Smile customer refund - Refund Provider               04/02/18                    3,000.00 Customer Refund                  [1]
Recalled Patient John Wilson did Procedure
Florida Denatl Solution
Carl Ruderman                                                07/28/17                    9,230.77   Salary
Carl Ruderman                                                08/11/17                    9,230.77   Salary
Carl Ruderman                                                08/25/17                    9,230.77   Salary
Carl Ruderman                                                09/08/17                    9,230.77   Salary
Carl Ruderman                                                09/22/17                    9,230.77   Salary
Carl Ruderman                                                10/06/17                    9,230.77   Salary
Carl Ruderman                                                10/20/17                    9,230.77   Salary
Carl Ruderman                                                11/03/17                    9,230.77   Salary
Carl Ruderman                                                11/17/17                    9,230.77   Salary
Carl Ruderman                                                12/01/17                    9,230.77   Salary
Carl Ruderman                                                12/15/17                    9,230.77   Salary
Carl Ruderman                                                12/29/17                    9,230.77   Salary
Carl Ruderman                                                01/12/18                   14,615.38   Salary
Carl Ruderman                                                01/31/18                   10,000.00   Salary
Carl Ruderman                                                02/15/18                   10,000.00   Salary
Carl Ruderman                                                02/28/18                   10,000.00   Salary
Carl Ruderman                                                03/15/18                   10,000.00   Salary
Carl Ruderman                                                03/30/18                   10,000.00   Salary
Carl Ruderman                                                04/13/18                   10,000.00   Salary
Carl Ruderman                                                04/30/18                   10,000.00   Salary
Carl Ruderman                                                05/15/18                   10,000.00   Salary
Carl Ruderman                                                05/31/18                   10,000.00   Salary
Carl Ruderman                                                06/15/18                   10,000.00   Salary
Carl Ruderman                                                06/29/18                   10,000.00   Salary
Carl Ruderman                                                07/13/18                   10,000.00   Salary
                                                                                       245,384.62
Chef Livio                                                   07/31/17                    5,515.20 CR expense                       [3]
                                                                                         5,515.20
Christina Theodorou                                          07/31/17                    2,843.39 CR expense                       [3]
                                                                                         2,843.39
Digi South LLC                                               10/05/17                   10,000.00   IC Electronic Funds Transfer
Digi South LLC                                               11/14/17                   10,000.00   IC Electronic Funds Transfer
Digi South LLC                                               11/29/17                   10,000.00   IC Electronic Funds Transfer
Digi South LLC                                               12/13/17                   10,000.00   IC Electronic Funds Transfer
Digi South LLC                                               01/22/18                   10,000.00   IC Electronic Funds Transfer
Digi South LLC                                               02/15/18                   30,000.00   IC Electronic Funds Transfer
Digi South LLC                                               04/17/18                   10,000.00   IC Electronic Funds Transfer
                                                                                        90,000.00
Direct Office Solutions                                      05/02/18                   10,530.10 Furniture purchase               [1]
Direct Office Solutions                                      05/08/18                    8,935.45 Furniture purchase               [1]
                                                                                        19,465.55
DiscountMugs.com                                             08/09/17                     132.92 Office expense                    [1]
                                                                                          132.92
Eluminate Marketing                                          08/28/17                    1,250.00 Marketing services               [4]
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1 Global Capital LLC
SOFA 4 - Payments to or on behalf of insiders in the year prior to the petition date

                      Insider                             Date                  Amount                  Reason for Transfer    Note
Eluminate Marketing                                          09/08/17                   1,250.00   Marketing services          [4]
Eluminate Marketing                                          10/16/17                   1,250.00   Marketing services          [4]
Eluminate Marketing                                          12/07/17                   2,500.00   Marketing services          [4]
Eluminate Marketing                                          01/23/18                   1,250.00   Marketing services          [4]
                                                                                        7,500.00
EPROMOS PROMOTIONAL PRODU                                    06/19/18                    482.79 Bright Smile notepads          [1]
                                                                                         482.79
Evan Ruderman                                                07/28/17                   2,000.00   Salary
Evan Ruderman                                                08/11/17                   2,000.00   Salary
Evan Ruderman                                                08/25/17                   2,000.00   Salary
Evan Ruderman                                                09/08/17                   2,000.00   Salary
Evan Ruderman                                                09/22/17                   2,000.00   Salary
Evan Ruderman                                                10/06/17                     923.08   Salary
Evan Ruderman                                                10/20/17                   8,678.88   Commission
Evan Ruderman                                                10/20/17                     923.08   Salary
Evan Ruderman                                                11/03/17                     923.08   Salary
Evan Ruderman                                                11/17/17                     923.08   Salary
Evan Ruderman                                                12/01/17                     923.08   Salary
Evan Ruderman                                                12/15/17                     923.08   Salary
Evan Ruderman                                                12/29/17                     923.08   Salary
Evan Ruderman                                                12/29/18                     500.00   Bonus
Evan Ruderman                                                01/12/18                   1,461.54   Salary
Evan Ruderman                                                01/31/18                   1,000.00   Salary
Evan Ruderman                                                02/15/18                   1,000.00   Salary
Evan Ruderman                                                02/28/18                   1,000.00   Salary
Evan Ruderman                                                03/15/18                   1,000.00   Salary
Evan Ruderman                                                03/30/18                   1,000.00   Salary
Evan Ruderman                                                04/13/18                   1,000.00   Salary
Evan Ruderman                                                04/30/18                   1,000.00   Salary
Evan Ruderman                                                05/15/18                   4,000.00   Salary
Evan Ruderman                                                05/31/18                   4,000.00   Salary
Evan Ruderman                                                06/15/18                   4,415.84   Salary
Evan Ruderman                                                06/29/18                   4,000.00   Salary
Evan Ruderman                                                07/13/18                   4,000.00   Salary
Evan Ruderman                                                05/16/18                   9,024.31    Rent & employee expenses
Evan Ruderman                                                05/22/18                   1,954.69    Employee expenses
Evan Ruderman                                                06/06/18                   3,261.13    Employee expenses
Evan Ruderman                                                07/25/18                   6,000.00    Rent & employee expenses
                                                                                       74,757.95
Evangelos Beis                                               04/19/18                  18,827.15 CR expense                    [3]
                                                                                       18,827.15
Florida Blue                                                 08/01/17                    658.64    Insurance                   [2]
Florida Blue                                                 09/01/17                    658.64    Insurance                   [2]
Florida Blue                                                 10/01/17                    658.64    Insurance                   [2]
Florida Blue                                                 11/01/17                    658.64    Insurance                   [2]
Florida Blue                                                 12/01/17                    627.66    Insurance                   [2]
Florida Blue                                                 01/01/18                    627.66    Insurance                   [2]
Florida Blue                                                 02/01/18                    627.66    Insurance                   [2]
Florida Blue                                                 03/01/18                    627.66    Insurance                   [2]

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1 Global Capital LLC
SOFA 4 - Payments to or on behalf of insiders in the year prior to the petition date

                      Insider                             Date                  Amount                   Reason for Transfer       Note
Florida Blue                                                 04/02/18                      627.66   Insurance                      [2]
Florida Blue                                                 05/01/18                      627.66   Insurance                      [2]
Florida Blue                                                 06/01/18                      627.66   Insurance                      [2]
Florida Blue                                                 07/01/18                      627.66   Insurance                      [2]
Florida Blue                                                 08/01/17                    1,317.28   Insurance                      [1]
Florida Blue                                                 09/01/17                    1,317.28   Insurance                      [1]
Florida Blue                                                 10/01/17                    1,317.28   Insurance                      [1]
Florida Blue                                                 11/01/17                    1,317.28   Insurance                      [1]
Florida Blue                                                 01/01/18                    1,677.75   Insurance                      [1]
Florida Blue                                                 02/01/18                    3,294.86   Insurance                      [1]
Florida Blue                                                 03/01/18                    3,294.86   Insurance                      [1]
Florida Blue                                                 04/02/18                    3,294.86   Insurance                      [1]
Florida Blue                                                 05/01/18                    5,443.84   Insurance                      [1]
Florida Blue                                                 06/01/18                    5,263.01   Insurance                      [1]
Florida Blue                                                 07/01/18                    7,565.32   Insurance                      [1]
Florida Blue                                                 08/01/17                    1,317.28   Insurance                      [5]
Florida Blue                                                 09/01/17                    1,317.28   Insurance                      [5]
Florida Blue                                                 10/01/17                    1,317.28   Insurance                      [5]
Florida Blue                                                 11/01/17                    1,317.28   Insurance                      [5]
Florida Blue                                                 12/01/17                    1,493.82   Insurance                      [5]
Florida Blue                                                 01/01/18                    1,493.82   Insurance                      [5]
Florida Blue                                                 02/01/18                    1,493.82   Insurance                      [5]
Florida Blue                                                 03/01/18                    1,493.82   Insurance                      [5]
Florida Blue                                                 04/02/18                    1,493.82   Insurance                      [5]
Florida Blue                                                 05/01/18                    1,493.82   Insurance                      [5]
Florida Blue                                                 06/01/18                    1,493.82   Insurance                      [5]
Florida Blue                                                 08/01/17                    2,634.56   Insurance                      [4]
Florida Blue                                                 09/01/17                    3,076.82   Insurance                      [4]
Florida Blue                                                 10/01/17                    2,418.18   Insurance                      [4]
Florida Blue                                                 11/01/17                      658.64   Insurance                      [4]
Florida Blue                                                 12/01/17                      627.66   Insurance                      [4]
Florida Blue                                                 01/01/18                      627.66   Insurance                      [4]
Florida Blue                                                 02/01/18                      627.66   Insurance                      [4]
                                                                                        69,156.50
Florida Department of Revenue                                01/13/18                     290.96                                   [4]
                                                                                          290.96
Ganador Enterprises                                          08/02/17                   34,777.06   IC Electronic Funds Transfer
Ganador Enterprises                                          08/08/17                    3,404.01   IC Electronic Funds Transfer
Ganador Enterprises                                          08/09/17                   38,476.20   IC Electronic Funds Transfer
Ganador Enterprises                                          08/17/17                    2,065.62   IC Electronic Funds Transfer
Ganador Enterprises                                          08/23/17                   33,891.28   IC Electronic Funds Transfer
Ganador Enterprises                                          09/01/17                    2,809.75   IC Electronic Funds Transfer
Ganador Enterprises                                          09/05/17                   30,153.62   IC Electronic Funds Transfer
Ganador Enterprises                                          09/13/17                  162,946.84   IC Electronic Funds Transfer
Ganador Enterprises                                          09/25/17                    6,061.86   IC Electronic Funds Transfer
Ganador Enterprises                                          09/26/17                    5,853.95   IC Electronic Funds Transfer
Ganador Enterprises                                          10/04/17                  128,404.33   IC Electronic Funds Transfer
Ganador Enterprises                                          10/11/17                    6,500.00   IC Electronic Funds Transfer
Ganador Enterprises                                          10/18/17                   30,000.00   IC Electronic Funds Transfer
Ganador Enterprises                                          11/01/17                  157,500.00   IC Electronic Funds Transfer

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1 Global Capital LLC
SOFA 4 - Payments to or on behalf of insiders in the year prior to the petition date

                      Insider                             Date                  Amount                   Reason for Transfer       Note
Ganador Enterprises                                          11/14/17                250,000.00     IC Electronic Funds Transfer
Ganador Enterprises                                          11/17/17                 10,523.75     IC Electronic Funds Transfer
Ganador Enterprises                                          11/29/17                250,000.00     IC Electronic Funds Transfer
Ganador Enterprises                                          12/12/17                250,000.00     IC Electronic Funds Transfer
Ganador Enterprises                                          12/19/17                150,000.00     IC Electronic Funds Transfer
                                                                                   1,553,368.27
Go Daddy                                                     06/29/18                     559.98 IT                                [1]
                                                                                          559.98
Green Tree Funding                                           01/12/18                   37,327.80   IC Electronic Funds Transfer
Green Tree Funding LLC                                       08/09/17                   25,000.00   IC Electronic Funds Transfer
Green Tree Funding LLC                                       08/24/17                   50,000.00   IC Electronic Funds Transfer
Green Tree Funding LLC                                       09/19/17                   60,000.00   IC Electronic Funds Transfer
                                                                                       172,327.80
Guardian                                                     08/01/17                      41.86    Insurance                      [2]
Guardian                                                     09/01/17                      41.86    Insurance                      [2]
Guardian                                                     10/01/17                      41.86    Insurance                      [2]
Guardian                                                     11/01/17                      41.86    Insurance                      [2]
Guardian                                                     12/01/17                      43.17    Insurance                      [2]
Guardian                                                     01/01/18                      44.95    Insurance                      [2]
Guardian                                                     02/01/18                      44.06    Insurance                      [2]
Guardian                                                     03/16/18                      44.06    Insurance                      [2]
Guardian                                                     04/02/18                      44.06    Insurance                      [2]
Guardian                                                     05/01/18                      44.06    Insurance                      [2]
Guardian                                                     06/01/18                      44.06    Insurance                      [2]
Guardian                                                     08/01/17                     152.76    Insurance                      [1]
Guardian                                                     09/01/17                     152.76    Insurance                      [1]
Guardian                                                     10/01/17                     152.76    Insurance                      [1]
Guardian                                                     11/01/17                     152.76    Insurance                      [1]
Guardian                                                     12/01/17                     155.38    Insurance                      [1]
Guardian                                                     02/01/18                     185.00    Insurance                      [1]
Guardian                                                     03/16/18                     668.96    Insurance                      [1]
Guardian                                                     04/02/18                     487.34    Insurance                      [1]
Guardian                                                     05/01/18                     420.23    Insurance                      [1]
Guardian                                                     06/01/18                     492.83    Insurance                      [1]
Guardian                                                     08/01/17                      92.18    Insurance                      [5]
Guardian                                                     09/01/17                      92.18    Insurance                      [5]
Guardian                                                     10/01/17                      92.18    Insurance                      [5]
Guardian                                                     11/01/17                      92.18    Insurance                      [5]
Guardian                                                     12/01/17                      94.84    Insurance                      [5]
Guardian                                                     01/01/18                      98.46    Insurance                      [5]
Guardian                                                     02/01/18                      96.65    Insurance                      [5]
Guardian                                                     03/16/18                      96.65    Insurance                      [5]
Guardian                                                     04/02/18                      96.65    Insurance                      [5]
Guardian                                                     05/01/18                      96.65    Insurance                      [5]
Guardian                                                     06/01/18                      96.65    Insurance                      [5]
Guardian                                                     08/01/17                     422.50    Insurance                      [4]
Guardian                                                     10/01/17                     216.58    Insurance                      [4]
Guardian                                                     11/01/17                      83.80    Insurance                      [4]
Guardian                                                     12/01/17                      85.11    Insurance                      [4]
Guardian                                                     01/01/18                      86.89    Insurance                      [4]
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1 Global Capital LLC
SOFA 4 - Payments to or on behalf of insiders in the year prior to the petition date

                      Insider                             Date                  Amount                  Reason for Transfer   Note
Guardian                                                     02/01/18                      86.00 Insurance                    [4]
                                                                                        5,522.79
Hotels.com                                                   09/21/17                    763.68 Travel & Entertainment        [4]
                                                                                         763.68
Inna                                                         07/31/17                   2,500.22 CR expense                   [3]
Infogroup Sales Genie                                        08/04/17                     650.00   Selling expense            [4]
Infogroup Sales Genie                                        08/14/17                     329.00   Selling expense            [4]
Infogroup Sales Genie                                        08/29/17                     650.00   Selling expense            [4]
Infogroup Sales Genie                                        09/12/17                     329.00   Selling expense            [4]
Infogroup Sales Genie                                        09/29/17                     650.00   Selling expense            [4]
Infogroup Sales Genie                                        10/18/17                     361.90   Selling expense            [4]
Infogroup Sales Genie                                        10/30/17                     650.00   Selling expense            [4]
Infogroup Sales Genie                                        01/16/18                     361.90   Selling expense            [4]
Infogroup Sales Genie                                        01/16/18                     650.00   Selling expense            [4]
Infogroup Sales Genie                                        01/16/18                     650.00   Selling expense            [4]
Infogroup Sales Genie                                        01/16/18                     361.90   Selling expense            [4]
Infogroup Sales Genie                                        01/16/18                     549.00   Selling expense            [4]
Infogroup Sales Genie                                        02/16/18                     650.00   Selling expense            [4]
                                                                                        6,842.70
Integrated Technology Corporate Solutions                    07/12/18                   2,250.00 IT                           [1]
                                                                                        2,250.00
John Snead                                                   06/14/18                   4,333.33 Payroll                      [1]
John Snead                                                   06/29/18                   4,333.33 Payroll                      [1]
                                                                                        8,666.66
Leslie Management Services LLC                               04/12/18                     489.62   Commission                 [1]
Leslie Management Services LLC                               05/14/18                   1,081.28   Commission                 [1]
Leslie Management Services LLC                               06/15/18                   1,576.71   Commission                 [1]
Leslie Management Services LLC                               07/13/18                     376.91   Commission                 [1]
                                                                                        3,524.52
Linda Ruderman                                               04/19/18                  35,000.00 Payroll advance
Luxhunters Productions, INC                                  04/25/18                    720.00 12 Portraits                  [1]
                                                                                         720.00
Mailchimp                                                    04/27/18                    210.07 IT                            [4]
Mailchimp                                                    05/20/18                    349.00 IT                            [4]
                                                                                         559.07
National Techmark                                            09/06/17                161,841.86    IT                         [6]
National Techmark                                            09/20/17                157,500.00    IT                         [6]
National Techmark                                            01/22/18                200,000.00    IT                         [6]
National Techmark                                            05/09/18                150,000.00    IT                         [6]
National Techmark                                            05/16/18                150,000.00    IT                         [6]
National Techmark                                            06/19/18                150,000.00    IT                         [6]
National Techmark                                            06/26/18                150,000.00    IT                         [6]
National Techmark                                            07/05/18                150,000.00    IT                         [6]
National Techmark                                            07/10/18                150,000.00    IT                         [6]
                                                                                   1,419,341.86
Pay Now Direct, LLC                                          01/04/18                  52,118.41 CR expense                   [3]
Pay Now Direct, LLC                                          03/02/18                  50,509.96 CR expense                   [3]

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1 Global Capital LLC
SOFA 4 - Payments to or on behalf of insiders in the year prior to the petition date

                      Insider                             Date                  Amount                  Reason for Transfer        Note
Pay Now Direct, LLC                                          04/05/18                 95,000.00    CR expense                      [3]
Pay Now Direct, LLC                                          05/03/18                126,000.00    CR expense                      [3]
Pay Now Direct, LLC                                          06/15/18                 60,782.00    CR expense                      [3]
Pay Now Direct, LLC                                          01/04/18                 81,283.09    CR annuity payment
Pay Now Direct, LLC                                          03/02/18                 81,283.09    CR annuity payment
Pay Now Direct, LLC                                          04/05/18                 81,283.09    CR annuity payment
Pay Now Direct, LLC                                          05/03/18                 81,283.09    CR annuity payment
Pay Now Direct, LLC                                          05/23/18                 81,283.09    CR annuity payment
Pay Now Direct, LLC                                          06/29/18                 81,283.09    CR annuity payment
Pay Now Direct, LLC                                          07/26/18                 81,283.09    CR annuity payment
Pay Now Direct, LLC                                          07/03/18                 66,718.86    CR expense                      [3]
Pay Now Direct, LLC                                          07/05/18                 15,000.00    CR expense                      [3]
                                                                                   1,035,110.86
Publix                                                       11/20/17                     105.95   Administrative                  [1]
                                                                                          105.95
Richard Samuels                                              08/01/17                   1,937.62   Insurance & Employee Expenses
Richard Samuels                                              06/14/18                  11,456.31   Consulting Fees
Richard Samuels                                              06/29/18                  13,895.90   Consulting Fees
Richard Samuels                                              07/11/18                  12,756.31   Consulting Fees
Richard Samuels                                              12/27/17                     415.40   Meals & Entertainment
Richard Samuels                                              02/07/18                     502.45   Meals & Entertainment
Richard Samuels                                              02/28/18                   2,000.00   Payroll
Richard Samuels                                              04/25/18                   1,250.01   Employee Expenses
Richard Samuels                                              05/10/18                     316.45   Meals & Entertainment
Richard Samuels                                              07/20/18                   6,497.95   Consulting Fees
Richard Samuels                                              07/27/18                   4,658.36
                                                                                       55,686.76
Ruderman Family Trust                                        08/01/17                 81,283.09    CR annuity payment
Ruderman Family Trust                                        08/18/17                 42,000.00    CR expense                      [3]
Ruderman Family Trust                                        09/01/17                166,199.45    CR annuity payment
Ruderman Family Trust                                        10/02/17                143,175.57    CR annuity payment
Ruderman Family Trust                                        11/01/17                140,523.04    CR annuity payment
Ruderman Family Trust                                        12/01/17                169,310.28    CR annuity payment
Ruderman Family Trust                                        12/18/17                 84,000.00    CR expense                      [3]
Ruderman Family Trust                                        02/02/18                176,283.09    CR annuity payment
                                                                                   1,002,774.52
Salesforce.com                                               01/26/18                   6,120.00 Selling expense                   [1]
                                                                                        6,120.00
Samuel S. Buono                                              06/30/18                   4,770.00 IT                                [1]
                                                                                        4,770.00
SNI Companies                                                05/27/18                     965.50   Staffing                        [1]
SNI Companies                                                05/27/18                     684.00   Staffing                        [1]
SNI Companies                                                05/27/18                      23.11   Staffing                        [1]
SNI Companies                                                06/03/18                     897.03   Staffing                        [1]
SNI Companies                                                06/03/18                     912.00   Staffing                        [1]
SNI Companies                                                06/03/18                      25.25   Staffing                        [1]
                                                                                        3,506.89
Software Solutions Consulting Inc.                           12/12/17                   1,155.00 IT                                [1]
Software Solutions Consulting Inc.                           02/08/18                  11,880.00 IT                                [1]
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1 Global Capital LLC
SOFA 4 - Payments to or on behalf of insiders in the year prior to the petition date

                         Insider                          Date                  Amount                    Reason for Transfer   Note
Software Solutions Consulting Inc.                           03/09/18                    3,410.00 IT                            [1]
Software Solutions Consulting Inc.                           04/01/18                   10,780.00 IT                            [1]
                                                                                        27,225.00
Svetlana Ruderman                                            07/28/17                    4,461.54   Salary
Svetlana Ruderman                                            08/11/17                    4,461.54   Salary
Svetlana Ruderman                                            08/25/17                    4,461.54   Salary
Svetlana Ruderman                                            09/08/17                    4,461.54   Salary
Svetlana Ruderman                                            09/22/17                    4,461.54   Salary
Svetlana Ruderman                                            10/06/17                    4,461.54   Salary
Svetlana Ruderman                                            10/20/17                    4,461.54   Salary
Svetlana Ruderman                                            11/03/17                    4,461.54   Salary
Svetlana Ruderman                                            11/17/17                    4,461.54   Salary
Svetlana Ruderman                                            12/01/17                    4,461.54   Salary
Svetlana Ruderman                                            12/15/17                    4,461.54   Salary
Svetlana Ruderman                                            12/29/17                    4,461.54   Salary
Svetlana Ruderman                                            01/12/18                    7,064.10   Salary
Svetlana Ruderman                                            01/31/18                    4,833.33   Salary
Svetlana Ruderman                                            02/15/18                    4,833.33   Salary
Svetlana Ruderman                                            02/28/18                    4,833.33   Salary
Svetlana Ruderman                                            03/15/18                    4,833.33   Salary
Svetlana Ruderman                                            03/30/18                    4,833.33   Salary
Svetlana Ruderman                                            04/13/18                    4,833.33   Salary
Svetlana Ruderman                                            04/30/18                    4,833.33   Salary
Svetlana Ruderman                                            05/15/18                    4,833.33   Salary
Svetlana Ruderman                                            05/31/18                    4,833.33   Salary
Svetlana Ruderman                                            06/15/18                    4,833.33   Salary
Svetlana Ruderman                                            06/29/18                    4,833.33   Salary
Svetlana Ruderman                                            07/13/18                    4,833.33   Salary
Svetlana Ruderman                                            08/09/17                    1,378.76    Interest
Svetlana Ruderman                                            09/05/17                      700.68    Interest
Svetlana Ruderman                                            10/09/17                      678.08    Interest
Svetlana Ruderman                                            11/03/17                      700.68    Interest
Svetlana Ruderman                                            12/04/17                      678.08    Interest
Svetlana Ruderman                                            01/02/18                      700.68    Interest
Svetlana Ruderman                                            02/07/18                      700.68    Interest
Svetlana Ruderman                                            03/19/18                      632.88    Interest
Svetlana Ruderman                                            04/20/18                      700.68    Interest
Svetlana Ruderman                                            05/02/18                      678.08    Interest
Svetlana Ruderman                                            06/13/18                      700.68    Interest
Svetlana Ruderman                                            07/13/18                      678.08    Interest
                                                                                       127,530.58
Unified Analytics LLC.                                       08/17/17                    1,003.00 IT                            [6]
Unified Analytics LLC.                                       09/20/17                   27,653.43 IT                            [6]
                                                                                        28,656.43

Valentina Radchuk                                            07/28/17                     507.69    Salary
Valentina Radchuk                                            08/11/17                     507.69    Salary
Valentina Radchuk                                            08/25/17                     507.69    Salary
Valentina Radchuk                                            09/08/17                     507.69    Salary
Valentina Radchuk                                            09/22/17                     507.69    Salary

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1 Global Capital LLC
SOFA 4 - Payments to or on behalf of insiders in the year prior to the petition date

                        Insider                                  Date                    Amount                  Reason for Transfer   Note
Valentina Radchuk                                                   10/06/17                       507.69   Salary
Valentina Radchuk                                                   10/20/17                       507.69   Salary
Valentina Radchuk                                                   11/03/17                       507.69   Salary
Valentina Radchuk                                                   11/17/17                       507.69   Salary
Valentina Radchuk                                                   12/01/17                       507.69   Salary
Valentina Radchuk                                                   12/15/17                       507.69   Salary
Valentina Radchuk                                                   12/29/17                       507.69   Salary
Valentina Radchuk                                                   01/12/18                       803.85   Salary
Valentina Radchuk                                                   01/31/18                       550.00   Salary
Valentina Radchuk                                                   02/15/18                       550.00   Salary
Valentina Radchuk                                                   02/28/18                       550.00   Salary
Valentina Radchuk                                                   03/15/18                       550.00   Salary
Valentina Radchuk                                                   03/30/18                       550.00   Salary
Valentina Radchuk                                                   04/13/18                       550.00   Salary
Valentina Radchuk                                                   04/30/18                       550.00   Salary
Valentina Radchuk                                                   05/15/18                       550.00   Salary
Valentina Radchuk                                                   05/31/18                       550.00   Salary
Valentina Radchuk                                                   06/15/18                       550.00   Salary
Valentina Radchuk                                                   06/29/18                       550.00   Salary
Valentina Radchuk                                                   07/13/18                       550.00   Salary
                                                                                                13,496.13


Grand Total                                                                     $           21,464,049.29



[1] Payment on behalf of Bright Smile, LLC.
[2] Payment on behalf of Biogenics
[3] Payment on behalf of Carl Ruderman
[4] Payment on behalf of Green Tree Funding LLC
[5] Payment on behalf of Digi South, LLC
[6] Payment on behalf of Ganador Enterprises
[7] Estimate of various charges for Carl Ruderman, subject to additional analysis and review.




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1 Global Capital LLC
SOFA 7 - Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits


                                            Case Title                                              Case Number                     Nature of Matter                      Court or Agency                  Status of Case
                                                                                                                                                       United States District Court
1st Global Inc v. 1st Global Capital, LLC                                                    18-cv-01768-L             Trademark Infringement          Northern District of Texas                       Pending
                                                                                                                                                       Dallas
                                                                                                                                                       United States Bankruptcy Court
Leverette Tile, Inc. d/b/a Levertte Home Design Center v. 1st Global Capital LLC             2018-ap-00187                                             Middle District of Florida
                                                                                                                                                       Tampa Division
                                                                                                                                                       United States Bankruptcy Court
RS Construct and Randolph and Angela Sall v. 1st Global Capital Inc. a/k/a 1 West Capital,
                                                                                           17-bk-10919-DS                                              Central District                                 Pending
LLC
                                                                                                                                                       Northern District of California
                                                                                                                                                       United States Bankruptcy Court
K4M Construction & Development, LLC                                                          16-bk-30646                                               Southern District of Texas                       CLOSED
                                                                                                                                                       Houston
                                                                                                                                                       United States Bankruptcy Court
Gwen Stone Stallworth-Sumrall v. 1 Global Capital LLC                                        17-ap-03238                                               Southern District of Texas                       CLOSED
                                                                                                                                                       Houston
                                                                                                                                                       United States Bankruptcy Court
Javier Muniz                                                                                 17-bk-50055                                               Southern District of Texas                       CLOSED
                                                                                                                                                       Laredo
                                                                                                                                                       State of North Dakota
1 Global Capita, LLC d/b/a 1st Global Capital LLC v. Xedyk Industries and Craig Willard      53-2017-cv-00635                                          County of Morton                                 Pending
                                                                                                                                                       District Court South Central Judicial District

                                                                                                                                                       Superior Court of New Jersey
Craig Shenker v. Popular Fisk Market, Inc., TVT Capital, LLC, and 1st Global Capital         L-001764-16                                                                                                Pending
                                                                                                                                                       Bergen County

1 Global Capital LLC d/b/a 1st Global Capital LLC v. Whitney and Associates LLC d/b/a                                                                  Harris County
                                                                                             201727820                                                                                                  Pending
Advanced Laser Solutions and Chad Daniel Whitney                                                                                                       Probate Court

1 Global Capital LLC DBA 1st Global Capital v. Metro Concrete Creations LLC DBA Metro
                                                                                             18-017194-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
Concrete Creations and James Riggs

1 Global Capital LLC DBA 1st Global Capital v. Canning Service and Alignment Center Inc
                                                                                             18-016454-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
DBA Canning Service and Alignment Center and Richard Canning

1 Global Capital LLC DBA 1st Global Capital LLC v. Certified Services Pest Control LLC DBA
                                                                                             18-012036-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
Certified Services Pest Control and Julie McLean

1 Global Capital LLC DBA 1st Global Capital LLC v. Reuben Rodriguez DBA Double R
                                                                                             18-012035-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
Trading Company and Reuben Rodriguez

1 Global Capital LLC DBA 1st Global Capital LLC v. A.T.C. General Contractors Inc. DBA ATC
                                                                                           18-012022-CACE              Contract and Indebtedness       Broward County Circuit Court                     Pending
General Contractors and Deana Carter

1 Global Capital LLC DBA 1st Global Capital LLC v. Rivera's Automotive LLC DBA Rivera's
                                                                                             18-016315-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
Automotove and Jose Rivera Hernandez

1 Global Capital LLC DBA 1st Global Capital v. Construction Diversity Group LLC and Steven
                                                                                           18-016378-CACE              Contract and Indebtedness       Broward County Circuit Court                     Pending
Hadley

1 Global Capital LLC DBA 1st Global Capital LLC v. Henry Ortiz DBA K & C Air Conditioning
                                                                                             18-016086-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
and Heat and Henry Ortiz

1 Global Capital LLC DBA 1st Global Capital LLC v. Paradigm Property Solutions LLC DBA
                                                                                             XX-XXXXXXX-CACE           Contract and Indebtedness       Broward County Circuit Court                     Pending
Paradigm Property Solutions LLC and Ron Jaques

1 Global Capital LLC DBA 1st Global Capital LLC v. Rivera's Automotive LLC DBA Rivera's
                                                                                             18-015963-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
Automotove and Jose Rivera Hernandez

1 Global Capital LLC DBA 1st Global Capital LLC v. North Georgia Floors & Restoration Inc
                                                                                             18-015847-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
DBA North Georgia Floors & Restoration and Daniel Barry

1 Global Capitak LLC DBA 1Global Capital LLC v. Twelve Gage Enterprises LLC DBA A & M
                                                                                             18-015765-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
Fencing Masonry and Matthew Gage

1 Global Capital LLC DBA 1st Global Capital LLC v. Jamie Turner DBA Full Moon Marketing
                                                                                        18-015762-CACE                 Contract and Indebtedness       Broward County Circuit Court                     Pending
Design and Jamie Turner


1 Global Capital LLC DBA 1st Global Capital LLC v. Xerveo LLC and Ramy El Batrawl            18-015757-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending


1 Global Capital LLC DBA 1st Global Capital v. Bconcepts LLC DBA B Concepts and David
                                                                                             18-015678-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
Gonzalez

1 Global Capital LLC DBA 1st Global Capital LLC v. Plano Closet Inc DBA Plano Closet and
                                                                                             18-016106-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
Altaf Badal

1 Global Capitak LLC DBA 1st Global Capital LLC v. Winona Inn LLP DBA the Lodge at
                                                                                             18-015574-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
Mount Rushmore and Mark Arend


1 Global Capital LLC DBA 1st Global Capital LLC v. Alll Phase Home Remodeling LLC            18-015563-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. A P Construction Services LLC DBA A P
                                                                                             18-015334-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
Construction Services and Jose Alonso and Jessica Alonso


1 Global Capital LLC DBA 1st Global Capital LLC v. Powe Inc and Lashoan Powe                 18-014244-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. Bay Supply, Corp DBA Bay Supply and
                                                                                             18-015187-CACE            Contract and Indebtedness       Broward County Circuit Court                     Pending
Milhail Shafran


1 Global Capital LLC v. Pharmark Inc DBA Pharmark and Michael Bjelica                        18-014073-COCE            CC Equity                       Broward County Circuit Court                     Pending




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1 Global Capital LLC
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                                         Case Title                                               Case Number                        Nature of Matter                    Court or Agency      Status of Case

1 Global Capital LLC DBA 1st Global Capital LLC v. The Mobility Store LLC DBA Mobility
                                                                                            18-015097-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Express and John Vath

1 Global Capital LLC DBA 1st Global Capital LLC v. Sherman Trinity Spa LLC DBA Solar Nail
                                                                                            18-015095-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Spa and Hoa Pham

1 Global Capital LLC DBA 1st Global Capital LLC v. Forever Brillant Inc DBA Forever Brillant
                                                                                             18-014947-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
and Yaacov Lipsky

1 Global Capital LLC DBA 1st Global Capital v. M.P.D. Inc DBA Molded Products
                                                                                            18-014848-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Development and Joseph Hajnos


1 Global Capital LLC v. Menno Schwartz DBA Schwartzys Demolition and Menno Schwartz 18-013279-COCE                     CC Equity > $5,000 - $15,000     Broward County Circuit Court       Pending



A P Construction Services LLC, Jose Alonso and Jessica Alonso v. 1 Global Capital           18-014006-CACE             Other                            Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. PDC Construction Services Ltd. DBA PDC
                                                                                          18-013399-CACE               Contract and Indebtedness        Broward County Circuit Court       Pending
Construction Services and Patrick Cahill

1 Global Capital LLC DBA 1st Global Capital v. Cool Hand Entertainment LLC DBA Ybor City
                                                                                         18-013103-CACE                Contract and Indebtedness        Broward County Circuit Court       Pending
Jazz House and Eric Fleming

1 Global Capital LLC DBA 1st Global Capital LLC v. Best Floors Ltd LLC DBA Best Buy
                                                                                            18-013097-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Flooring and Meelad Dezfooli

1 Global Capital LLC DBA 1st Global Capital LLC v. Maverick Staffing LLC DBA Maverick
                                                                                            18-013087-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Staffing and John Roberts

1 Global Capital LLC DBA 1st Global Capital LLC v. T and C Recycling LLC DBA T and C
                                                                                            18-013083-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Recycling and Troy Carter


1 Global Capital LLC DBA 1st Global Capital v. Drury Diesel Performance and Tristan Drury 18-012989-CACE               Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. Rain Busters Gutters LLC and Robert Filip                           18-012386-COCE             CC Equity > $5,000 - $15,000     Broward County Circuit Court       Pending



1 Global Capital LLC d/b/a 1st Global Capital LLC v. Hur & Company and Sam Joseph           18-012299-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. OIG Brand Management DBA OIG Brand
                                                                                      18-013043-CACE                   Contract and Indebtedness        Broward County Circuit Court       Pending
Management and John Burns and Tiffany Burns

1 Global Capital LLC DBA 1st Global Capital LLC v. Charliey's Auto Service and Charles
                                                                                            18-013037-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Pickerill

1 Global Capital LLC DBA 1st Global Capital LLC v. Bari National Builders LLC DBA Bari
                                                                                            18-012982-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
National Builders and Antonio Deliglio

1 Global Capital LLC DBA 1st global Capiital LLC v. FirstUSA Business Development Inc DBA
                                                                                          18-012981-CACE               Contract and Indebtedness        Broward County Circuit Court       Pending
FirstUSA Business Development and Todd Myers

1 Global Capital LLC DBA 1st Global Capital LLC v. B & M's Construction LLC DBA B & M's
                                                                                            18-012973-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Construction and Michael Miles


1 Global Capital LLC DBA 1st Global Capital LLC v. Hur and Company and Sam Joseph           18-012299-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. Above All Construction Inc DBA Above
                                                                                            18-012267-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
All Construction and Jose Romero


1 Global Capital LLC v. J&Y Remodeling LLC LLC DBA J&Y Remolding and Jorge Orantes          18-012166-COCE             CC Equity > $5,000 - $15,000     Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. Affordable Sprinklers Systems LLC DBA
                                                                                            18-012931-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Affordable Sprinkler Systems and Beth Worrell


1 Global Capital LLC v. James E Jones DBA Bigcat BBQ and James Jones                        18-012855-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. 1265, LLC DBA Pack Construction and
                                                                                            18-012855-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Randall B. Hanson

1 Global Capital LLC DBA 1st Global Capital LLC v. US Bus Lines LLC DBA US Bus Lines and
                                                                                            18-012434-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Ramon Alvarez

1 Global Capital LLC DBA 1st Global Capital LLC v. Shipman Construction LLC DBA Shipman
                                                                                        18-012304-CACE                 Contract and Indebtedness        Broward County Circuit Court       Pending
Construction and Janae Shipman and Brandon Shipman

1 Global Capital LLC DBA 1st Global Capital LLC v. Universal Construction Company DBA
                                                                                            18-012303-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Universal Construction Co and William Rollins

1 Global Capital LLC DBA 1st Global Capital LLC v. Home Bright LLC DBA Home Bright and
                                                                                            18-012146-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Lawrence Winn Jr.

1 Global Capital LLC DBA 1st Global Capital LLC v. The Hooven-Dayton Corp and
                                                                                            18-011598-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Christopher Che


1 Global Capital LLC DBA 1st Global Capital LLC v. Velez Rodriguez Inc and Efrain Velez     18-011923-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending




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1 Global Capital LLC
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1 Global Capital LLC d/b/a 1st Global Capital LLC v. Remi Jaiyeola MD PLLC LLC and
                                                                                             18-011495-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Aderemi Jaiyeola

1 Global Capital LLC DBA 1st Global Capital LLC v. Remi Jaiyeola, MD PLLC LLC DBA
                                                                                             18-011495-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Gastroenterology & Liver Disease Center and Aderemi Jaiyeola

1 Global Capital LLC DBA 1st Global Capital LLC v. Hector R Nunez DBA Barra El Punto and
                                                                                         18-011800-CACE                Contract and Indebtedness        Broward County Circuit Court       Pending
Hector R Nunez

1 Global Capital LLC DBA 1st Global Capital LLC v. Jose M Clemente DBA Saborea Pina
                                                                                             18-011688-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Colada and Jose Clemente

1 Global Capital LLC DBA 1st Global Capital LLC v. Lagos D'heilo (USA) LLC Dba Lagos
                                                                                             18-011642-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
D'heilo and Hugo Herrera

1 Global Capital LLC DBA 1st Global Capital LLC v. Burrowes Group Residential Facilities ,
                                                                                             18-011600-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Inc DBA Borrowes Group Residential and Stephanie Burrowes

1 Global Capital LLC DBA 1st Global Capital LLC v. Blue Nikkei Hospitality Group Inc DBA
                                                                                             18-011501-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Georgiana and Julio Canales

1 Global Capital LLC DBA 1st Global Capital LLC v. R & R Catering Services LLC DBA R & R
                                                                                             18-011483-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Barbeque and Catering Service and Rosie Harris

1 Global Capital LLC DBA 1st Global Capital LLC V. Compres Garage Door Services Inc and
                                                                                             18-011276-CACE            Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Miguel G Compres


1 Global Capital LLC v. ACE Remodel LLC DBA ACE Remodel and Kelly Lynn Jecs                  18-010806-COCE            CC Equity > $5,000 - $15,000     Broward County Circuit Court       Pending



1 Global Capital LLC v. Mecanica Car Club Inc and Nestor Vargas                              18-010814-COCE            CC Equity > $5,000 - $15,000     Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. Executive Non Emergency
                                                                                             18-011559-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Transportation Inc DBA Executive Non Emergency Transportation and George Ricardo

1 Global Capital LLC DBA 1st Global Capital LLC v. Pearce Timber LLC DBA Pearce Timber
                                                                                             18-011512-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
and William James Pearce Jr

1 Global Capital LLC DBA 1st Global Capital LLC v. Southern Diesel Repair of Dallas LLC
                                                                                             18-011430-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
DBA Southern Diesel Repair of Dallas and Sherry Doering and Billy Cole


1 Global Capital LLC v. Zors Cafe LLC DBA Zoras Café and Linda Browne and Zora Browne        18-010559-COCE            CC Equity > $5,000 - $15,000     Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. Nathaniel Lewis DBA BC Commodities
                                                                                             18-011398-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
and Nathaniel Lewis


1 Global Capital LLC DBA 1st Global Capital LLC v. Local Motion MN , LLC and Molly Seeley 18-010437-CACE               Contract and Indebtedness        Broward County Circuit Court       Pending


                                                                                                                       Real Prop Homestead Res Fore
JPMorgan Chase Bank National Association v. 1 Global Capital LLC                             18-011061-CACE                                             Broward County Circuit Court       Pending
                                                                                                                       - >$50K - <$250,000


1 Global Capital LLC DBA 1st Global Capital LLC v. 3rd Day Hay LLC DBA 3rd Day Hay           18-010264-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. Luxury Pools of Miami Inc DBA Luxury
                                                                                             18-010224-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Pools of Miami and Hector J Valenzuela

1 Global Capital LLC DBA 1st Global Capital LLC v. Melpro Corp DBA Melpro Corp Group
                                                                                             18-010630-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
and Luis Acevedo and Karen Laraceunte Ortiz

1 Global Capital LLC DBA 1st Global Capital LLC v. Magnolia Auto Transport LLC DBA
                                                                                             18-009877-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Magnolia Auto Transport and Micheal Blount


1 Global Capital LLC DBA 1st Global Capital LLC v. In & Out Corp and Firas Hawari            18-009868-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC DBA 1st Global Capital LLC v. Martz Inc and Guillermo Martinez          18-009830-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. Wilson Glass Tint LLC DBA Wilson Glass Tint and Jackie Wilson        18-009683-COCE            CC Equity > $5,000 - $15,000     Broward County Circuit Court       Pending


1 Global Capital LLC d/b/a 1st Global Capital LLC v. J&J Construction LLC and Jason
                                                                                             18-009874-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Franklin


1 West Capital LLC v. Shaka Global Inc and Shawn King                                        18-009887-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC DBA 1st Global Capital LLC v. J & J Construction and Jason C Franklin   18-009874-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. MT & Associates LLC DBA Visiting Angels
                                                                                           18-009836-CACE              Contract and Indebtedness        Broward County Circuit Court       Pending
of Semi and Toni Howell

1 Global Capital LLC DBA 1st Global Capital LLC v. The Wellness Recovery Center LLC DBA
                                                                                             18-009655-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
The Wellness Recovery Center and Steven Dorfman


1 Global Capital LLC v. S&D International Store and Ismaila Dia                              16-008383-CACE            Contract and Indebtedness        Broward County Circuit Court       Disposition Entered




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1 Global Capital LLC
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1 Global Capital LLC DBA 1st Global Capital LLC v. Neighborhood Broker LLC DBA
                                                                                             18-009455-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Neighborhood Broker and Mark A Lannes

1 Global Capital LLC DBA 1st Global Capital LLC v. YGM Group LLC DBA YGM Medical
                                                                                             18-009819-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Supply Group/Wellnesscodes/Baby Street and Yaakov Pollak and Moshe Pollak

1 Global Capital LLC DBA 1st Global Capital LLC V. Vines N"Steins LLC DBA Amorino
                                                                                             18-009189-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Chicago and Lisa Gasparian

1 Global Capital LLC DBA 1st Global Capital LLC v. Tamburello Landscaping Inc DBA Fne
                                                                                             18-009156-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Design Landscaping and Robert Tamburelllo

1 Global Capital LLC DBA 1st Global Capital v. Ira Michael Howard DBA Angie's Below
                                                                                             18-009144-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Wholesale Foods and Ira Michael Howard aka Mike Howard

1 Global Capital LLC DBA 1st Global Capital LLC v. Massey Construction Inc and Benjamin
                                                                                             18-009137-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Massey

1 Global Capital LLC DBA 1st Global Capital LLC v. Redemption Movers Inc DBA
                                                                                             18-009096-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Redemption Moving and Storage and Joshua Carroll

1 Global Capital LLC DBA 1st Global Capital LLC v. TCS Empire Inc DBA TCS Empire and
                                                                                             18-009076-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Angel M Pareja

1 Global Capital LLC DBA 1st Global Capital LLC v. Restoration King of America LLC DBA
                                                                                             18-009009-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Restoration King of America and Michael Erhardt

1 Global Capital LLC DBA 1st Global Capital LLC v. Silas Radio and Television Firm LLC and
                                                                                             18-009056-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Stephen T Nortier

1 Global Capital LLC DBA 1st Global Capital LLC v. JKM Auto Transport Inc and Juan Miguel
                                                                                          18-009054-CACE               Contract and Indebtedness       Broward County Circuit Court       Pending
Gonzalez

1 Global Capital LLC DBA 1st Global Capital LLC v. H & N Automotive LLC DBA Aamco
                                                                                             18-009047-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Transmissions and Gregory Huff

1 Global Capital LLC DBA 1st Global Capital LLC v. Discoveryfest Enrichment Program LLC
                                                                                             18-009043-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
DBA Discoveryfest and Sean Tate

1 Global Capital LLC DBA 1st Global Capital LLC v. AHV Development LLC DBA AHV
                                                                                             18-009516-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Construction and Gregory Filbrun

1 Global Capital LLC DBA 1st Global Capital LLC v. Carlos G Serapion DBA Gestores Y
                                                                                             18-009475-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Consultores and Carlos G Serapion AKA Carlos Serapion Figueroa

1 Global Capital LLC DBA 1st Global Capital LLC v. CISG Requirement Solutions Corporation
                                                                                          18-009432-CACE               Contract and Indebtedness       Broward County Circuit Court       Pending
DBA CISG Requirement Solutions Corporation and Michelle Dyson

1 Global Capital LLC DBA 1st Global Capital LLC v. Haute Fashion Boutique LLC DBA Haute
                                                                                             18-009162-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Fashion Boutique LLC and Danielle Frederick

1 Global Capital LLC DBA 1st Global Capital LLC v. P and D Auto LLC DBA P and D Auto and
                                                                                         18-009044-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Prince C Togbeson

1 Global Capital LLC DBA 1st Global Capital LLC v. Equip-Texas Inc and Kelly borders and
                                                                                             18-009454-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Patricia Borders

1 Global Capital LLC DBA 1st Global Capital LLC v. Circle C5 LLC DBA Circle C5 and Michael
                                                                                           18-009289-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending
Crouch and Dena Crouch

1 Global Capital LLC DBA 1st Global Capital LLC v. Timothy Grant DBA V Tire and Wheel
                                                                                             18-008740-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
and Timothy Grant

1 Global Capital LLC DBA 1st Global Capital LLC v. Assisted Hands LLC DBA Assisted Hands
                                                                                             18-008708-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
and Lisa H Brown

1 Global Capital LLC DBA 1st Global Capital LLC v. Eastern Air Flow LLC DBA Eastern Air
                                                                                             18-008705-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Flow and Justin Trout

1 Global Capital LLC DBA 1st Global Capital LLC v. August Technologies Inc DBA August
                                                                                             18-008703-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Technologies and Julie Johnson

1 Global Capital LLC DBA 1st Global Capital LLC v. Cogesco International Corp and Gilles
                                                                                             18-008701-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Rech

1 Global Capital LLC DBA 1st Global Capital LLC v. Hawks Ranch Trucking LLC DBA Hawks
                                                                                             18-009039-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Ranch Trucking and Keith Hawks

1 Global Capital LLC DBA 1st Global Capital LLC v. A to Z Home Remodeling LLC DBA A to Z
                                                                                         18-008347-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Home Remodeling and Juan Mendez


1 Global Capital LLC DBA 1st Global Capital LLC v. Daryl L Beiler DBA Daryl L Beiler         18-008342-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. Go Computer Tech Inc DBA Go
                                                                                             18-008319-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Computer Tech and Ramcharan Ramsawak

1 Global Capital LLC DBA 1st Global Capital LLC v. Felarod LLC DBA Felarod Home
                                                                                             18-008315-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Renovation and Victor Barnett

1 Global Capital LLC DBA 1st Global Capital LLC v. Champion Electrical Solutions LLC DBA
                                                                                             18-008313-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Champion Electrical Solutions LLC and Stephen Champion




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1 Global Capital LLC
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1 Global Capital LLC DBA 1st Global Capital LLC v. Glenn Tatum Septic Service Inc DBA
                                                                                               18-008791-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Glenn Tatum Septic Service and Glenn Tatum

1 Global Capital LLC DBA 1st Global Capital LLC v. Dizengoff Audio Inc DBA Dizengoff
                                                                                               18-008364-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Audio and Matthew Newport

1 Global Capital LLC DBA 1st Global Capital LLC v. Nelson Feliciano Morales DBA Graphics
                                                                                               18-008355-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
World and Nelson Feliciano

1 Global Capital LLC DBA 1st Global Capital LLC v. ADI Pneaumatics Group PR Corp DBA
                                                                                               18-008352-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Pneaumatics Group PR and Juan Quinones

1 Global Capital LLC DBA 1st Global Capital LLC v. Evergreen Unlimited LLC DBA Evergreen
                                                                                         18-008349-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Unlimitd Construction and Yu S Kang

1 Global Capital LLC DBA 1st Global Capital LLC v. Panhandle Pavers and Walls Inc DBA
                                                                                               18-008344-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Panhandale Pavers and Walls and Richard Troupe

1 Global Capital LLC DBA 1st Global Capital LLC v. S & K Improvements LLC DBA S & K
                                                                                               18-008321-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Improvements and Sean Bennett

1 Global Capital LLC DBA 1st Global Capital LLC v. Mc Nichol's Fuels Inc Mc Nichol's Fuels
                                                                                               18-008253-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
and Bassam Honeini

1 Global Capital LLC DBA 1st Global Capital LLC v. TFL Logistics LLC DBA TFL Logistics LLC
                                                                                               18-008249-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
and Jason Tanner Thomas

1 Global Capital LLC DBA 1st Global Capital LLC v. Able Energy Co DBA Weknowsolar.com
                                                                                               18-008231-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
and Michael Harvey

1 Global Capital LLC DBA 1st Global Capital LLC v. Richard E Herbrandson DBA Herby's
                                                                                               18-008819-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Transfer and Richard Herbrandson

1 Global Capital LLC DBA 1st Global Capital LLC v. Noble Construction and Developmet Inc
                                                                                         18-008666-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
DBA Noble Construction and Development and Andre Freyre

1 Global Capital LLC DBA 1st Global Capital LLC v. Loremipsum LLC DBA Jet Printing and
                                                                                               18-008625-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Patricia Jandrew

1 Global Capital LLC DBA 1st Global Capital LLC v. Carroll Electric LLC DBA Carroll Electric
                                                                                               18-008620-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
and Korey Alexander

1 Global Capital LLC DBA 1st Global Capital LLC v. Restoration Recovery Inc DBA
                                                                                               18-008285-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Restoration Recovery and Pablo Lopez De Leon

1 Global Capital LLC d/b/a 1st Global Capital LLC v. Precision Plant Services, Inc. and
                                                                                               18-008546-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Steven Kangisser

1 Global Capital LLC DBA 1st Global Capital LLC v. Cynteck Construction Management LLC
                                                                                               18-008602-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
DBA Cynteck Construction Management and Alexander Barrios

1 Global Capital LLC DBA 1st Global Capital LLC v. Tell-Cell Inc DBA Tell-Cell Inc and Sowab
                                                                                             18-008548-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Ali

1 Global Capital LLC DBA 1st Global Capital LLC v. Precision Plant Services Inc DBA
                                                                                               18-008546-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Precision Plant Services and Steven Kangisser

1 Global Capital LLC DBA 1st Global Capital LLC v. Property Maintenance Group NY LLC
                                                                                               18-008451-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
DBA Property Maintenance Group NY LLC and Melvin Holder

1 Global Capital LLC DBA 1st Global Capital LLC v. Dura Kool Aluminum Products Inc DBA
                                                                                               18-008360-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Dura Kool Aluminum Products and Cole Frick

1 Global Capital LLC DBA 1st Global Capital LLC v. Trick Construction LLC DBA Trick
                                                                                               18-008279-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Construction and Travis Prine

1 Global Capital LLC DBA 1st Global Capital LLC v. Chris Mattthews Custom Homes LLC Dba
                                                                                        18-008212-CACE                 Contract and Indebtedness       Broward County Circuit Court       Pending
Chris Matthews Custom Homes LLC and Christopher Gurgiolo

1 Global Capital LLC DBA 1st Global Capital LLC v. Crescent Building Group LLC DBA
                                                                                               18-007917-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Crescent Building Group and Brandon Stamper

1 Global Capital LLC DBA 1st Global Capital LLC v. Landsted Companies LLC DBA Landsted
                                                                                               18-007890-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Companies and Mark Erickson

1 Global Capital LLC DBA 1st Global Capital LLC v. Leigh Ann Pippin LLC DBA 1884
                                                                                               18-008414-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Restaurant and Bar and Leigh Ann Pippin and Troy D Teems

1 Global Capital LLC DBA 1st Global Capital LLC v. Lineage Comminucation Services LLC
                                                                                               18-008317-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
DBA Lineage Communication Services and Bartolo Escobar and Jose Escobar

1 Global Capital LLC DBA 1st Global Capital LLC v. BDC Shell & Aggregate LLC DBA BDC
                                                                                               18-008282-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Shell & Aggregate and Lovina Lehr

1 Global Capital LLC DBA 1st Global Capital LLC v. CEC Electrical Contracting LLC CEC
                                                                                               18-008209-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Electrical Contracting and John Chase

1 Global Capital LLC DBA 1st Global Capital LLC v. Free Bandz Trucking Company Inc DBA
                                                                                               18-007879-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Free Bandz Trucking Company LLC and Brandon Freeman

1 Global Capital LLC DBA 1st Global Capital LLC v. Clear Protal Inc LLC DBA Clear Portal and
                                                                                             18-007864-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Daniel Shuster




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                                         Case Title                                                 Case Number                     Nature of Matter                    Court or Agency      Status of Case

1 Global Capital LLC DBA 1st Global Capital LLC v. DKL Realty Inc DBA ReMax Realty Center
                                                                                          18-008385-CACE               Contract and Indebtedness       Broward County Circuit Court       Pending
International and Leigh Ann Pippin Teems and Troy Teems

1 Global Capital LLC DBA 1st Global Capital LLC v. Kidzplay LLC DBA Kidz Play and Latasha
                                                                                              18-008073-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Bethea

1 Global Capital LLC DBA 1st Global Capital LLC v. 12 Energy Solutions LLC DBA 12 Energy
                                                                                              18-007495-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Solutions and Kuldeep Ramkumar


1 West Capital LLC v. J.C. Building Systems Inc DBA JC Construction and Luis Rios             18-007488-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. Met Designers Group Corp DBA Met
                                                                                              18-007487-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Designers Group Corp and Carlos Gomez

1 Global Capital LLC DBA 1st Global Capital LLC v. Source One Network Solutions LLC
Source One 360 LLC DBA Business by Joshua LLC/Source One network Solutions LLC and            18-007851-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Richard Bond

1 Global Capital LLC DBA 1st Global Capital LLC v. MTZ Bros Construction Co DBA MTZ
                                                                                              18-007840-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Bros Conctrustion Co and Francisco Martinez

1 Global Capital LLC DBA 1st Global Capital LLC v. Optical Hong Kong Corp DBA Optical
                                                                                              18-007461-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Hong Kong and Solomon A Ovadia

1 Global Capital LLC DBA 1st Global Capital LLC v. TR Little People DBA The House of Little
                                                                                            18-007430-CACE             Contract and Indebtedness       Broward County Circuit Court       Pending
People Too and Kevin Robinson and Barbara J Robinson

1 Global Capital LLC DBA 1st Global Capital LLC v. Edwin Wayne Coffey Jr. DBA Coffey
                                                                                              18-007420-CACE           Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Bean Express and Wayne Coffey

1 Global Capital LLC DBA 1st Global Capital LLC v. IMR Contracting Corp DBA Jennings
                                                                                              18-007398-CACE           Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Engineering And Construction and Kevin Jennings

1 Global Capital LLC DBA 1st Global Capital LLC v. ER Homes LLC DBA ER Homes and Kevin
                                                                                       18-007396-CACE                  Contract and Indebtedness       Broward County Circuit Court       Pending
Matos

1 Global Capital LLC DBA 1st Global Capital LLC v. Neveah Limited DBA Neveah Limited
                                                                                              18-007813-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
and Ibidapo Lawal

1 West Capital LLC v. The Construction Choice Inc DBA Estrada's General Construction and
                                                                                         18-007794-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Carlos Estrada

1 Global Capital LLC DBA 1st Global Capital LLC v. Ultrarock Builders LLC DBA Ultrarock
                                                                                              18-007791-CACE           Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Builders and Francis Porter

1 West Capital LLC v. Global Internet Development Inc DBA GTM Marketing Research
                                                                                              18-007790-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Group and Oleg Kolomietc

1 Global Capital LLC DBA 1st Global Capital LLC v. David Balderas DBA Precision
                                                                                              18-007454-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Construction Service/Granite Grotto and David Balderas

1 Global Capital LLC d/b/a 1st Global Capital LLC v. One Source Plumbing & Heating d/b/a
                                                                                         18-007710-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
One Source Plumbing and Terry Keyes

1 Global Capital LLC DBA 1st Global Capital LLC v. One Source Plumbing & Heating LLC
                                                                                              18-007710-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
DBA One Source Plumbing aka One Source Plumbing & Heating and Terry J Keyes

1 Global Capital LLC DBA 1st Global Capital LLC v. Maverick Underground Inc DBA
                                                                                              18-007554-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Maverick Underground Inc and William Davis

1 Global Capital LLC DBA 1st Global Capital LLC v. FRJB Holding Corp DBA Salomon
                                                                                              18-007546-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Supermarket and Florence Redmond

1 Global Capital LLC DBA 1st Global Capital LLC v. Sorrell Air Conditioning & Refrigeration
                                                                                              18-007399-CACE           Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Inc DBA Sorrell Air & Refrigeration Inc and James Sorrels

1 Global Capital LLC DBA 1st Global Capital LLC v. Homes From the Hart LLC DBA Homes
                                                                                              18-007219-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
from the Hart LLC and Clifford Hart

1 Global Capital LLC DBA 1st Global Capital LLC v. David J Ackerson DBA D & D Custom Tile
                                                                                          18-007215-CACE               Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
and David Ackerson

1 Global Capital LLC DBA 1st Global Capital LLC v. Carlos Matta International LLC DBA
                                                                                              18-007181-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Carlos Matta International and Carlos Matta

1 Global Capital LLC DBA 1st Global Capital LLC v. Barbara Beverage Discount Corp DBA
Barbara Beverage Discount and Ana Celia Hernandez and Diego Miranda aka Diego                 18-007503-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Miranda Benites

1 Global Capital LLC DBA 1st Global Capital LLC v. Vault Construction LLC DBA Vault
                                                                                              18-007451-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Construction LLC and William Welker

1 Global Capital LLC DBA 1st Global Capital LLC v. Rockford Alloys LLC DBA Rockford
                                                                                              18-007407-CACE           Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Metals and Rodney Robito

1 Global Capital LLC DBA 1st Global Capital LLC v. Décor Island LLC DBA Décor Island and
                                                                                              18-007446-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Nachama Morozow

1 Global Capital LLC DBA 1st Global Capital LLC v. Renew Life Group LLC DBA Renew Life
                                                                                              18-006983-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Group and Jennetta Rainer

1 Global Capital LLC DBA 1st Global Capital LLC v. I.T.C.O.Y. Home Health Care LLC DBA
                                                                                              18-007293-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
I.T.C.O.Y. Home Health Care LLC and Dawn Martin




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1 Global Capital LLC DBA 1st Global Capital LLC v. A1 Customs Inc DBA A1 Customs Inc and
                                                                                         18-007189-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Theron Aqeel

1 Global Capital LLC DBA 1st Global Capital LLC v. Medical Power Mobility Inc DBA
                                                                                              18-006969-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Medical Power Mobility Inc and Miguel Diaz

1 Global Capital LLC DBA 1st Global Capital LLC v. Enviromental Landscape Associates DBA
                                                                                         18-006957-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Enviromental Landscape Associates and Keith Frederick

1 Global Capital LLC DBA 1st Global Capital LLC v. Metali Enterprises LTD DBA Metali
                                                                                              18-006899-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Enterprises and Valentin Pavlovici

1 Global Capital LLC DBA 1st Global Capital LLC v. The RTD Group LLC DBA The RTD Group
                                                                                       18-006835-CACE                  Contract and Indebtedness       Broward County Circuit Court       Pending
and Oluremi Daramola

1 Global Capital LLC DBA 1st Global Capital LLC v. Jardines Enterprise Inc DBA Jardines
                                                                                              18-006824-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Enterprise and Pablo Miguel Denis

1 Global Capital, LLC d/b/a 1st Global Capital LLC v. J & M Civil Construction Services LLC
                                                                                              18-007145-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
d/b/a J&M Civil Construction Services, LLC and Joseph Plata and Candido Montealvo

1 Global Capital LLC DBA 1st Global Capital LLC v. Commercial Trucking Service LLC DBA
                                                                                              18-007179-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Commercial Trucking Service LLC and Timothy Oliver

1 Global Capital LLC DBA 1st Global Capital LLC v. J & M Civil Construction Services DBA J
                                                                                              18-007145-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
& M Construction Services LLC and Joseph Plata and Candido Montealvo

1 Global Capital LLC DBA 1st Global Capital LLC v. Biliner LLC DBA Biliner Beverage Group
                                                                                              18-006838-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
and Zdenek Gonsiorovsky

1 Global Capital LLC DBA 1st Global Capital LLC v. D & D Innovations LLC DBA D & D
                                                                                              18-006707-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Innovations and Orlando Robinson


1 Global Capital LLC DBA 1st Global Capital LLC v. In & Out Corp and Firas Hawari             18-006695-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. 1 Nail Spa LLC Dba 1 Nail Spa and Phong
                                                                                           18-006597-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Dao

1 Global Capital LLC DBA 1st Global Capital LLC v. MMW Automotive Group LLC DBA
                                                                                              18-007033-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
MMW Automotive Group LLC and Huber Torrado

1 Global Capital LLC DBA 1st Global Capital LLC v. Anthony Trevino DBA A & S Floors and
                                                                                              18-006988-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Anthony Trevino

1 Global Capital LLC DBA 1st Global Capital LLC v. Fantasy Ruby Corp DBA Fantasy Ruby
                                                                                              18-006822-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
and Shiya Friedman

1 Global Capital LLC DBA 1st Global Capital LLC v. HMW Automotive Group LLC DBA The
                                                                                              18-006636-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Auto Gallery and Huber Torrado

1 Global Capital LLC DBA 1st Global Capital LLC v. Crystal Coast Home Solutions Inc DBA
                                                                                              18-006949-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Aerus/Electrolux Beyond by Aerus and Elbert R Herring III and Brandon Scott Narron


SAS Custom Tile LLC and Louis Shupe                                                           18-006088-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. Penaz Inc DBA Gtown Bites and Nas
                                                                                              18-005837-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Zakikhani

1 Global Capital LLC DBA 1st Global Capital LLC v. Mill Street Exchange LLC DBA Mill Street
                                                                                            18-004892-CACE             Contract and Indebtedness       Broward County Circuit Court       Pending
Exchange and Jeremy Bhagwandin

1 Global Capital LLC DBA 1st Global Capital LLC v. Blueshore Recovery Systems LLC and
                                                                                              18-004745-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Don Beam a/k/a Donald C Beam and Greg Wilson


1 Global Capital LLC DBA 1st Global Capital LLC v. Zack LLC DBA Zack and Fahmi Zecharia       18-003007-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending


1 West Capital v. Galvan Manufacturing Sales Inc DBA Galvan Manufacturing Sales and
                                                                                              18-002945-CACE           Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Bertha Galvan


1 Global Capital LLC DBA 1st Global Capital LLC v. Zack LLC DBA Zack and Fahmi Zecharia       18-002928-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. United Florida LLC DBA United Florida
                                                                                              18-002863-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
and Imre Papp

1 Global Capital LLC DBA 1st Global Capital LLC v. Guillen's Home Care Services Center Inc
                                                                                           18-002841-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
DBA Dream Come true Home Care and Luis Guillen

1 Global Capital LLC DBA 1st Global Capital LLC v. DRM International Inc DBA DRM
                                                                                              18-002826-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
International and Arnold Young

1 Global Capital LLC d/b/a 1st Global Capital LLC vs. J A D S Children Center Inc., Yesenia
                                                                                              18-001914-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Pena, and Ilani Alejandro

1 Global Capital LLC DBA 1st Global Capital LLC v. Williams and Sons Paint Co Inc DBA
                                                                                              18-001924-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Williams and Sons and Kevin Carr

1 Global Capital LLC DBA 1st Global Capital LLC v. J.A.D.S. Children's Center Inc DBA
                                                                                              18-001914-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
J.A.D.S. Children's Center and and Yesenia Pena and Ilani Alejandro




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1 Global Capital LLC DBA 1st Global Capital LLC v. Koffel Associates Inc DBA Koffel
                                                                                               18-001875-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Associates and William E Koffel

1 Global Capital LLC DBA 1st Global Capital LLC v. Magnanimous Kids Childcare LLC DBA
                                                                                               18-001860-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Magnanimous Kids Childcare and Learning and Jessica Kinsale

1 Global Capital LLC DBA 1st Global Capital LLC v. Jonathan Mortimer DBA Carefree
                                                                                               18-001039-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Catering Concepts and Jonathan Mortimer

1 Global Capital LLC DBA 1st Global Capital LLC v. Empire Furniture USA Inc DBA Empire
                                                                                               18-001022-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Furniture USA and Tufan Sagmal

1 Global Capital LLC DBA 1st Global Capital LLC v. Cardam, Inc DBA Supermercado Tu
                                                                                               18-000961-CACE          Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Vecino and M Rodriguez Velez

1 Global Capital LLC DBA 1st Global Capital LLC v. Barret Wesley Lang a/k/a/ Barret W
                                                                                               18-000948-CACE          Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Lang DBA Bear's Honeypot and Barret Wesley Lang a/k/a/ Barret W Lang

1 Global Capital LLC DBA 1st Global Capital LLC v. Roman Security Agency LLC DBA Roman
                                                                                       18-000875-CACE                  Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Security Agency and Sebastiano Slino


1 Global Capital LLC DBA 1st Global Capital LLC v. Four.M Solutions LLC and Jose Martinez 18-000866-CACE               Contract and Indebtedness       Broward County Circuit Court       Disposition Entered


1 Global Capital LLC DBA 1st Global Capital LLC v. MSB Trading Company Inc DBA Phoenix
                                                                                       18-000862-CACE                  Contract and Indebtedness       Broward County Circuit Court       Pending
Technologies and Michael Bruton

1 Global Capital LLC DBA 1st Global Capital LLC v. O.O.W.T.S. Corp DBA O.O.W.T.S. and
                                                                                               18-000279-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Teruyuri Serizawa

1 Global Capital LLC DBA 1st Global Capital LLC v. PBC Professional Services Inc and Maria
                                                                                           18-000217-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending
Andrade

1 Global Capital LLC DBA 1st Global Capital LLC v. Ashley Stone LLC DBA Ashley Stone
                                                                                               18-000199-CACE          Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Home Solutions a/k/a Ashley Stone Interiors and John Nerdin

1 Global Capital LLC DBA 1st Global Capital LLC v. Jesse Johnson DBA Johnson Construction
                                                                                          18-000178-CACE               Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Jesse Johnson

1 Global Capital LLC DBA 1st Global Capital LLC v. Tessa Construction & Tech Comp LLC
                                                                                               18-000169-CACE          Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
DBA Tessa Construction and Siamak Lajmiri

1 Global Capital LLC DBA 1st Global Capital LLC v. Glorida Reese DBA ITE Transport
                                                                                               17-023440-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Services and Gloria Reese

1 Global Capital LLC DBA 1st Global Capital LLC v. Floridian Sun Materials LLC DBA
                                                                                               17-023421-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Floridian Sun Materials and Trace Plaugher

1 Global Capital LLC DBA 1st Global Capital LLC v. Star Intelligence Technology Inc Dba
                                                                                               17-023407-CACE          Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Star Intelligence Technology and Garrick King

1 Global Capital LLC DBA 1st Global Capital LLC v. Alden Fitz Group LLC DBA Alden Fitz
                                                                                               17-023404-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Group LLC and Lucenia W Dunn

1 Global Capital LLC DBA 1st Global Capital LLC v. Services by Enrique Cruz LLC DBA
                                                                                               17-023158-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Services by Enrique Cruz and Enrique Cruz and Judith Cruz

1 Global Capital LLC d/b/a 1st Global Capital LLC v. Zoomaway, Inc., George Morgan, and
                                                                                               17-023058-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
David Mustard

1 Global Capital LLC DBA 1st Global Capital LLC v. AB Harker & Associates LLC DBA ABH
                                                                                               17-023076-CACE          Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Towing & Recovery and Andrea Harker


1 West Capital Inc LLC v. Scott J Craig DBA Scott James Construction and Scott Craig           17-023074-CACE          Contract and Indebtedness       Broward County Circuit Court       Disposition Entered


1 Global Capital LLC DBA 1st Global Capital LLC v. Flawless Screen Prinitng LLC DBA
                                                                                               17-023062-CACE          Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Flawless Wireless and Edward Campbell

1 Global Capital LLC DBA 1st Global Capital LLC v. Zoomaway Inc and David Mustard and
                                                                                               17-023058-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
George D Morgan a/k/a Dan Morgan

1 Global Capital LLC DBA 1st Global Capital LLC v. Aslantas Corp DBA Gulf Express and
                                                                                               17-023057-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Oguzhan Aslantas

1 Global Capital LLC DBA 1st Global Capital LLC v. UD Transportation Inc DBA UD
                                                                                               17-023041-CACE          Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Transportation and Frederico Ulises Gonzalez a/k/a Frederico U Gonzalez

1 Global Capital LLC DBA 1st Global Capital LLC v. Step Up Construction LLC Step Up
                                                                                               17-023029-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Construction LLC and Wisney Cruz

1 Global Capital LLC DBA 1st Global Capital LLC v. 808 Property Services Inc DBA 808
                                                                                               17-023025-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Property Services and William Dale Mandeville

1 Global Capital LLC DBA 1st Global Capital LLC v. M & L Professional Installation Services
                                                                                               17-023024-CACE          Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Inc DBA M & L Professional Installation Services and Rafael Lorenzo Moya

1 Global Capital LLC DBA 1st Global Capital LLC v. Samia's Fashion Inc DBA HI Tech
                                                                                               17-022606-CACE          Contract and Indebtedness       Broward County Circuit Court       Pending
Wireless Inc and Samia Alsawaf

1 Global Capital LLC DBA 1st Global Capital LLC v. J.C. Builder's Inc DBA J.C. Builder's and
                                                                                               17-022589-CACE          Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Charles Neustadt




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1 Global Capital LLC
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1 Global Capital LLC DBA 1st Global Capital LLC v. Jose Morales DBA America's Automotive 17-022580-CACE                Contract and Indebtedness        Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. Sunland Investment LLC DBA Comfort
                                                                                             17-022575-CACE            Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Inn & Suites and Christopher Myong

1 Global Capital LLC DBA 1st Global Capital LLC v. Grable Services LLC DBA Grable Services
                                                                                           17-022553-CACE              Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
and Cleveland Grable Jr

1 Global Capital LLC DBA 1st Global Capital LLC v. Sheer Talent Ltd DBA Sheer Talent Ltd
                                                                                             17-022552-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
and Athenershire Psalidas a/k/a Vickie Sheer

1 Global Capital LLC DBA 1st Global Capital LLC v. Rios Striping Corp DBA Rios Striping and
                                                                                            17-022534-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Carlos Rios

1 Global Capital LLC DBA 1st Global Capital LLC v. Canning Logistic Services LLC DBA
                                                                                             17-021892-CACE            Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Canning Logistics Services and Timothy Lukowski

1 Global Capital LLC DBA 1st Global Capital LLC v. 1st Choice Facilities Services Corp and
                                                                                             17-021230-CACE            Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Gary Simone and George Rutigliano

1 Global Capital LLC DBA 1st Global Capital LLC v. LCL Dispatch LLC DBA TX Express and
                                                                                             17-020150-CACE            CC Equity > $5,000 - $15,000     Broward County Circuit Court       Pending
Christopher Leo

1 Global Capital LLC DBA 1st Global Capital LLC v. Sarayu Trading Company Inc DBA OM
                                                                                             17-020742-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Spices and Lakshim Peddyreddy

1 Global Capital LLC DBA 1st Global Capital LLC v. Adoring Hearts at Home Care LLC and
                                                                                             17-020734-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Karisha Thomas

1 Global Capital LLC DBA 1st Global Capital LLC v. Meridian Technology Solutions Inc DBA
                                                                                             17-019722-COCE            CC Equity > $5,000 - $15,000     Broward County Circuit Court       Pending
Meridian Technology and Baderuzzia M Ahmed

1 Global Capital LLC DBA 1st Global Capital LLC v. Dossantos Enterprise LLC and Josezito
                                                                                             17-020406-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Dossantos

1 Global Capital LLC DBA 1st Global Capital LLC v. Busy bee Developmental Learning
                                                                                             17-020368-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Center Inc DBA Busy Bee Developmental Learning Center Inc and Anna Beasley

1 Global Capital LLC DBA 1st Global Capital LLC v. Sehayan Corp DBA Song Food Jin Woo
                                                                                             17-020340-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
An

1 Global Capital LLC DBA 1st Global Capital LLC v. Accelerate Solar LLC DBA Accelerate
                                                                                             17-020335-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Solar and Xavier Veille and Chris Verner

1 Global Capital LLC DBA 1st Global Capital LLC v. Opes Express LLC and Gevork
                                                                                             17-019988-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Alachadzhyan

1 Global Capital LLC DBA 1st Global Capital LLC v. Epic Insulation LLC and Khamhoui
                                                                                             17-019962-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Sipayboun


1 Global Capital LLC DBA 1st Global Capital LLC v. LNO Tire Company and Oscar Ramirez        17-019896-CACE            Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC DBA 1st Global Capital LLC v. Praga Enterprises LLC Jhon Montero        17-019867-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. Easy Way to Scrap Corp and Alejandro
                                                                                             17-019571-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Moura

1 Global Capital LLC DBA 1st Global Capital LLC v. Higgins Renovations LLC and Jose
                                                                                             17-019358-CACE            Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Higgins


D/C Electrical Solutions and Charles Davis                                                   17-019274-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending


1 Global Capital LLC DBA 1st Global Capital LLC v. BSF Construction and 1 + 2 Auto
                                                                                             17-019209-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Collision and Michael S Kim

1 Global Capital LLC DBA 1st Global Capital LLC v. G4G LLC DBA G4G Electrical and Hoon
                                                                                             17-019165-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Kim

1 Global Capital LLC DBA 1st Global Capital LLC v. Willie Remodeling Inc DBA Willie
                                                                                             17-019146-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Remodeling and Mary Williams


Ascendo Resources v. 1 Global Capital LLC DBA 1st Global Capital LLC                         17-017347-CACE            Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC d/b/a 1st Global Capital LLC v. Lantern Fest Production Inc.            17-016985-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. Future Car Transport and Sebastian Posey                             17-017084-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. Safed Inc DBA Cleaning Master and Parviz Shahidi                     17-017082-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. Beeline Insurance Group LLC and Todd Brian Braeger                   17-017078-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending


1 Global Capital LLC v. Micro-Management Consulting Services LLC DBA Freddie's
                                                                                             17-016991-CACE            Contract and Indebtedness        Broward County Circuit Court       Pending
Restaurant and Steven George Slentz




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1 Global Capital LLC
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                                         Case Title                                             Case Number                         Nature of Matter                    Court or Agency      Status of Case

1 Global Capital LLC v. Dayes Holdings Ltd DBA Dayes Automotive Center and Tim Day       17-016990-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Lantern Fest Production Inc and Richard D Surber                 17-016985-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC v. WJR Communication Florida LLC and Jose Hernan Quijano and
                                                                                         17-016413-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Wilmer N Correa Plaza

1 Global Capital LLC v. Brookwood Opthhalmolody Imaging & Ancillary Services Inc and
                                                                                         17-016411-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Janie N White


1 Global Capital LLC v. Critical Room Management LLC and Roger Foster Claborn            17-016407-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Emrude11 LLC and Edward Milton Rude jr                           17-016403-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC v. Bryan A Graves DBA A-Access Lock and Key and Bryan Attwood
                                                                                         17-015385-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Graves


1 Global Capital LLC v. Artbox Il, Inc and Jeong Chul Lee                                17-015380-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Divine Styles Salon LLC and William A Brownlee                   17-015376-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Platinum Construction and Jonel Romero                           17-015374-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. New Jersey Safe Net Inc and Kenneth E Jones                      17-015368-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Untethered Developers Limited Inc and Silas K Herndon jr         17-015363-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Haulin Apps Transportation Inc and Daniel B Schaefer             17-015360-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 West Capital LLC v. Full Color Copier Inc and Anthony J Sr Argy                        17-015357-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Talcott Mountain Fence LLC and Stephen L Gifford                 17-015202-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Hotshot Holsinger Trucking LLC DBA HHT and William G Holsinger   17-015194-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 West Capital LLC v. CBM Logostics LLC and Catalin Badescu                              17-015191-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Davids Renovations Inc and David Thang Nguyen                    17-015183-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC v. Advance Lawn & Landscaping Inc and Christopher Dewayne
                                                                                         17-015149-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Barager

1 Global Capital LLC v. Intergrated Solutions Systems LLC DBA Intergrated Solutions
                                                                                         17-014496-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Systems and Brent Thomas Ferguson

1 Global Capital LLC v. Centrino Power Design Corp DBA A Shades Creation and Gustavo
                                                                                         17-014477-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Cella and Yericca Cella

1 Global Capital LLC v. Southside Auto & Diesel Inc DBA Southside Auto & Diesel and
                                                                                         17-014063-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Marc Alan Cantrell

1 Global Capital LLC v. Costa Brava Restaurant Inc DBA Costa Brava Resturant and Rosa
                                                                                         17-014062-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Castaneda

1 Global Capital LLC v. MJC Lachner LLC DBA Pizza Factory of Gresham and Michael James
                                                                                       17-014058-CACE                  Contract and Indebtedness       Broward County Circuit Court       Pending
Lachner


1 Global Capital LLC v. Renowned Painters Inc DBA Reowned Printers and Paul Benhamou 17-014057-CACE                    Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC v. Carmen Olivios Munford DBA Munford Jewelry Buyers and Carmen
                                                                                     17-014055-CACE                    Contract and Indebtedness       Broward County Circuit Court       Pending
Olivios Munford

1 Global Capital LLC v. Almanzar Enterprises LLC DBA Almanzar Enterprises and Richard
                                                                                         17-014052-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Ruben Almanzar Jr


1 Global Capital LLC v. ED3 Consultants Inc DBA ED3 and Denise Lynn Palmer               17-014050-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC v. B Green Drywall Inc DBA B Green Drywall and Brandon Nicolas
                                                                                         17-014049-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Green

1 Global Capital LLC v. Central KY Funeral Trade Services LLC DBA Central KY Funeral Trade
                                                                                           17-014047-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Services and Phillip Paul Wilmoth


1 Global Capital LLC v. Ristow Roofing Co Inc DBA Ristow Roofing Co and Dale P Ristow    17-013090-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered




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1 Global Capital LLC
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                                        Case Title                                                 Case Number                      Nature of Matter                    Court or Agency      Status of Case

1 Global Capital LLC v. Ability Moving and Storage LLC DBA Ability Moving & Storage and
                                                                                             XX-XXXXXXX-CACE           Contract and Indebtedness       Broward County Circuit Court       Pending
Geneva Jane Dupuy and Kerney Fenton Peart Jr

1 Global Capital LLC v. 24/7 Electrical Services LLC DBA 24/7 Electrical Services and Roland
                                                                                             17-013065-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Munoz

1 Global Capital LLC v. Sugar Sand Medical Consulting LLC DBA Sugar Sand Medical
                                                                                             17-012986-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Consulting and Jennifer Friend Aud and Joel Glyn Aud

1 Global Capital LLC v. Pro Master Movers LLC DBA Pro Master Movers and Shanice M
                                                                                             17-012638-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Southren

1 Global Capital LLC v. New Beginnings Landscaping LLC DBA New Beginnings Landscaping
                                                                                      17-012457-CACE                   Contract and Indebtedness       Broward County Circuit Court       Pending
and Kevin P Connor

1 Global Capital LLC v. Chameleon Lawn Care LLC DBA Chameleon Lawn Care and Kunle
                                                                                             17-012568-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Okubena

1 Global Capital LLC v. Anthony Heins DBA Rocking H Livestock and Anthony Gerhardt
                                                                                             17-012565-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Heins and Tamara Kaye Vollmer Heins


1 Global Capital LLC v. AC SS Inc DBA Eden Quick Group and Shazeb Monaf Choudhry             17-012551-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Just Winner, Inc DBA JW Royal Family and Joon Soo Choi               17-012037-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC v. Guard Force International Inc DBA Guard Force International and
                                                                                             17-012034-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Gordon L Brooks

1 Global Capital LLC v. Benny Hall & Sons Produce LLC DBA Benny Hall & Sons Produce
                                                                                             17-012032-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
and Benny Franklin Hall

1 Global Capital LLC v. Silas Radio & Televison Firm LLC DBA Silas Radio & Television Firm
                                                                                             17-012030-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
and Stephen Thomas Nortier

1 Global Capital LLC v. Master Diamond Pool Service Corp DBA AA Plus Construction
                                                                                             17-012018-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Management and Percy Munoz


1 Global Capital LLC v. T-Mobile Limited USA Inc and Karim Mohammed                          17-012099-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered

1 Global Capital LLC v. Sil's Home Center Inc DBA Sil's Home Center and Diane Marie
Zimmerman                                                                                    17-012094-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Revolution Motorsport Designs LLC and Robert Jay Piner               17-012085-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. MKJC Carpentry Inc and Stanley W Greene                              17-012071-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Kitchen Zone Inc DBA Kitchen Zone and Carlos E Bello and Yanaima
                                                                                         17-011917-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Bello

1 Global Capital LLC v. Marson Construction Repair & Maintenance LLC DBA Marson
                                                                                             17-011815-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Construction and Marco A Hernandez and Sonia M Rodriguez Hernandez


1 Global Capital LLC v. Flexpro Graphics LLC and William Steven Palmer                       17-012053-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Abe Addison Inc DBA Abe Addison and Helena Delacy                    17-011819-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Turtle Club Inc DBA Turtle Club and Andrei Aheyeu                    17-011793-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Ephesus Med LLC and Tyson Tayfun Denizhan                            17-011234-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC v. Texas Garage Door Service Co DBA Texas Best Garage Door Service
                                                                                        17-011215-CACE                 Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
and Omar Valadez


1 Global Capital LLC v. Affordable Sprinkler LLC and Nancy Elizabeth Bush Worrell            17-011205-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Piloto Deliveries and Recycling LLC and Adelkis Fernandes and
                                                                                             17-011200-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending
Yazmila Piloto


1 Global Capital LLC v. Game Loot LLC and Lance D Baker                                      17-010739-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Insight Cabinetry LLC and Crystal Mae Lozenski                       17-010733-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Major Touring LLC and Jovan Travis Peterson                          17-010730-CACE            Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Last Frontier Air Ventures LTD and David William King                17-010729-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Teldec Logistics LLC and Timothy Ray Johnson                         17-010728-CACE            Contract and Indebtedness       Broward County Circuit Court       Pending




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1 Global Capital LLC
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1 Global Capital LLC v. William Mckay Construction Managment LLC and William L McKay 17-010721-CACE                    Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Bennett Better Built Homes LLC and James Matthew Bennett         17-010708-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. W.I.T Auto Group of Texas LLC and Cecil Lee Pickett lll          17-010680-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Smiley Manor LLC and Naton A Smith and Valarie W Smith           17-010678-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Meter and Valve Co Inc and Michael Drury and Lenita Drury        17-010669-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Vasquez Citrus & Hauling Inc and Juan Vazquez                    17-009636-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Tylor Company LLC and Cami R Hopper and Bobby Darrell Hopper     17-009625-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. St Anthony's Hospice LLC and Lance Michael Vallo                 17-009617-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. C H Diamonds Inc and Yacov Ehrenreich                            17-009481-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Gsong Solutions Inc and Courtnee Garcia                          17-009518-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Riteway Dui & Consulting Ctr LLC and Christopher Lloyd Kirk      17-009110-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. JLW Mail Hauling Service, LLC and Ollie Williams                 17-009059-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Godleetikas International Inc and Sandro Quintero Hernandez    17-009021-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1st Global Capital LLC v. Garda Arch Fab LLC and Ivo Tombazzi and Louis Tombazzi         17-008980-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1st Global Capital LLC v. Chief Carriers LLC and Oscar Del Toro Jr.                      17-008967-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. National Security LLC and Oscar Junior Deltoro                 17-008152-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1st Global Capital LLC v. Stars & Stripes Logistics LLC and Aaron Lee Oehlschlager       17-008140-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Home Recovery Relief Inc and Gregory J Cirignao                17-008121-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1st Global Capital LLC v. Supreme Lawn & Landscaping Inc and Jamie Scott Songer          17-008058-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Misael Perez Ramos DBA Perez Precision Works and Misel Perez   17-007922-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1st Global Capital LLC v. Louis Clay Young DBA Corner Stone Roofing and Louis Clay Young 17-007915-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Boersen Farms Ag LLC and Dennis Alan Boerson                   17-007848-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Www.freehailestime.com LLC and Daniel Morgan Stephens          17-007820-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. R&M Design Group LLC and Ricky Lynn McGaha                     17-007416-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending



1st Global Capital LLC v. Bayside Gatherings LLC and Angela Marie Stallman               17-007393-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered


1st Global Capital LLC v. S&R Direct Group SE Inc and Sobrena K Robinson Buggan and
                                                                                         17-007328-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Royan C Hylton


1st Global Capital LLC v. Fleming Equipment Corporation Inc and Luis Fernando Caceda     17-007289-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending


1 Global Capital LLC v. Nutranomics INC/Health Education Corp DBA Nutranomics Inc and
                                                                                      17-007219-CACE                   Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Tracy Kent Gibbs


1 Global Capital LLC v. Cross Steel Inc and Revon Clarence Shaw                          17-007209-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Cash Express LLC and Alex David Goncharov and Richard K Myra   17-007171-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. AC Ninja LLC and Joseph Lee Stout                              17-007140-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered




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1 Global Capital LLC
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                                         Case Title                                               Case Number                        Nature of Matter                    Court or Agency      Status of Case

1 Global Capital LLC DBA 1st Global Capital LLC v. JA Gonzalez & Asociados Inc DBA Cancy
                                                                                         17-004803-COSO                CC Equity > $5,000 - $15,000     Broward County Circuit Court       Disposition Entered
Convience And Health Store and Jose Antonio Gonzalez Pueyo


1st Global Capital LLC v. Total Restoration & Stucco of Central Fl Inc and Yuluisa Nieves   17-007134-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. Mark R. O'Donnell, Inc and Mark R O'Donnell                         17-007118-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Sobeautiful Lifestyle LLC and James Henry Kolka                     17-007104-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Core Logistics Solutions LLC and Zachary Scott Thompson             17-007010-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. TMK Paving Inc and Norman D Hicks and Marie C Hicks                 17-006990-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Prestige Painting Services LLC and Reynaldo Miranda Gonzalez and
                                                                                         17-006969-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Raquel Armida Miranda

1 Global Capital LLC DBA 1st Global Capital LLC v. Tri-Star Construction Company and
                                                                                            17-004574-COSO             CC Equity > $5,000 - $15,000     Broward County Circuit Court       Disposition Entered
Christopher Lowell Montee


1 Global Capital LLC v. S A F E Produce Inc and Scott Anthony Favela                        17-006339-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. Thomas C Turner Trucking Inc and Thomas C Turner                    17-006329-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Erath Iron And Metal Inc and John Bradley Boyd and Nicole Joanne
                                                                                         17-006252-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Boyd

1 Global Capital LLC v. LaPage Enterprises Inc DBA 911 Restoration of CNY and Patrick
                                                                                            17-006143-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Michael LaPage


1 Global Capital LLC v. Carefully Chosen Hair Boutique Inc and Kikora Levesha Palmer        17-006092-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Baxbo LLC and Shawn W Baxter                                        17-006052-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC DBA 1st Global Capital LLC v. Fabian Howe Agency and Fabian S Howe 17-004546-COSO                 CC Equity > $5,000 - $15,000     Broward County Circuit Court       Disposition Entered


1 Global Capital LLC DBA 1st Global Capital LLC v. Q & A Enviromental , I LLC and John T
                                                                                            17-004544-COSO             CC Equity > $5,000 - $15,000     Broward County Circuit Court       Pending
Manning


1 Global Capital LLC v. NWTP Corp and Sandra G Bell and Thomas M Bell                       17-005862-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Tropico Frutas y Vegetales and Enrique E Mateo                      17-005842-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. SF5 Industries Inc and Tammy N Samek                                17-005834-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. Magnum DryWall, LLC and John Robert McKinney                        17-005833-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. AM Carpentry/AM Carpentry & Roofing and Andrew J Mann               17-005829-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Platinum Elite Distribution LLC and Heather Melina Sanchez and
                                                                                            17-005776-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Matthew Jon Sanchez

1 Global Capital LLC v. Nutranomics Inc/Health Educaction Corp DBA Nutranomics Inc and
                                                                                       17-005754-CACE                  Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Tracy Kent Gibbs


1st Global Capital LLC v. Ruxton Design & Build LLC and Frank Brian Zeberlein, IV           17-004506-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered


1st Global Capital LLC v. Land America Holdings & Investments Group LLC and Hillary
                                                                                            17-004418-CACE             Contract and Indebtedness        Broward County Circuit Court       Pending
Anne Reid and Noah Sweeney


1st Global Capital LLC v. Winona Inn LLP and Mark Lawrence Arend                            17-004326-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. My Handyman & Painting LLC and David Scott Gipson                 17-004244-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. AAA Tax & More Inc and Jeremiah William Johnston                  17-004050-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Berkay Trucking LLC and Behir Gunaydin and Necati Temur           17-004037-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Platinum Wireless Accessories Inc and Steven S Benshabat          17-003389-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered


1st Global Capital LLC v. Bluebird Design & Landscape LLC and Jeremy Stephen
                                                                                            17-003377-CACE             Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Whitehouse




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1st Global Capital LLC v. Enzo Motors Inc and Sayeda Vaseem Khan                          17-003310-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Pure Playazz Enterprises Inc and Brian Anthony Martin           17-003291-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. ACC Managment Group LLC and Matthew Garland Belle-Shead         17-002887-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered


1st Global Capital LLC v. Che Gourment Restaurant Corp DBA Sal Pa Fuera Restaurant and
                                                                                       17-001949-COSO                  CC Equity > $5,000 - $15,000     Broward County Circuit Court       Pending
Merdick Marcelo Davila Agosta


1 Global Capital LLC v. JCO Services Inc and Jeffrey Delano Cook                          17-002342-CACE               Contract and Indebtedness        Broward County Circuit Court       Pending



1st Global Capital LLC v. New Beginnings Real Estate Devel Corp and Derek James Ahart     17-001916-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. B Concepts LLC and David Gonzalez Torres                        17-001573-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered


1st Global Capital LLC v. CDC Holdings LLC DBA Real Deal Desserts and James W
                                                                                          17-001515-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Bewersdorf


1st Global Capital LLC v. Cognitive Concepts Inc and Gail Schmidt                         17-000950-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered


1st Global Capital LLC v. Dennisbilt LLC and Dennis Matthew Bracken and Amanda Jean
                                                                                          17-000537-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Bracken

1st Global Capital LLC v. Thomas Lynn Hall DBA A2Z Ditching and Septic Installed and
                                                                                          17-000501-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Thomas Lynn Hall


1 Global Capital LLC v. Juan Miguel Marquez DBA J & B Septic Tanks                        16-013269-COSO               CC Damages >$5,000 - $15,000     Broward County Circuit Court       Pending



1st Global Capital LLC v. American Century Sunshine Intl Trading Corp and Jiaming Zhang   16-023359-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Andsmar Sys Inc and Anthonio Andre Anderson                     16-023355-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. US Enforcement Agency LLC and Ronad V Bowman                    16-022888-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Elite Performance LLC and Joshua Bennett Borges                 16-022776-CACE               Contract and Indebtedness        Broward County Circuit Court       Pending


1st Global Capital LLC v. Gurmit Kaur Chima DBA Tower Super Market and Jagdishwar
                                                                                          16-022727-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Singh Chima


1 Global Capital LLC v. Jeffrey Maurice Travis DBA J Travis & Associates                  16-012272-COSO               CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Abraham Lopez As Sole Proprietor individually DBA Austin Abe's
                                                                                          16-012271-COSO               CC Damages >$5,000 - $15,000     Broward County Circuit Court       Pending
Construction Services


1st Global Capital LLC v. Royal Dragon Trade Inc and Igor Svechin                         16-022125-CACE               Contract and Indebtedness        Broward County Circuit Court       Pending



1st Global Capital LLC v. Allied Welding Inc. and Terry Richard Nelson                    16-022080-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Specrite Refrigeration Inc and Larry Neil Taylor                16-022046-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Big Dreams Auto Sales Inc and Jose Andres Diaz                  16-021892-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Khady African Hair Braiding Adm Inc and Aida Diaw Diop          16-021831-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered


1st Global Capital LLC v. United Intransit Transportation LLC and Cedrick Eugene Murray
                                                                                          16-021694-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
and Karla Michelle Murray


1st Global Capital LLC v. Katherine Lynette Brooks dba A Plus 24 Hr Towing                16-011713-COSO               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. S Litton & Associates LLC and Shane Mitchell Litton             16-021453-CACE               Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. Holy Angel Assisted Living LLC and Augusto Samson Santos          16-011254-COSO               CC Damages >$5,000 - $15,000     Broward County Circuit Court       Pending



1 Global Capital LLC v. The Perfect Smoke LLC and Darren Wade Moody                       16-011252-COSO               CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Dawn Royer DBA DMR Billing Associates                             16-011250-COSO               CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered



1st Global Capitlal v. J & R Fresh Produce LLC and Ackbar Shaheed                         16-021054-CACE               Contract and Indebtedness        Broward County Circuit Court       Pending




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1 Global Capital LLC
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                                         Case Title                                            Case Number                           Nature of Matter                    Court or Agency      Status of Case

1st Global Capitlal v. Top 2 Bottom Cleaning Service & Power Washing LLC and Gerard J
                                                                                         16-020840-CACE                Contract and Indebtedness        Broward County Circuit Court       Pending
Murphy, III


1 Global Capital LLC v. Robert Roberts First Coast Roofing Inc and Robert Earl Roberts   16-020723-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. JRB Trucking LLC and Billy Wayne Mcrae and Jessica Lee Morae     16-010720-COCE                CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered



1st Global Capitlal v. Galesburg Rheinschmidt's Inc and Terry G Hartley                  16-020529-CACE                Contract and Indebtedness        Broward County Circuit Court       Pending


1 Global Capital LLC v. Shoe Studio LLC (XX-XXXXXXX) and Shoe Studio LLC (XX-XXXXXXX)
                                                                                         16-020525-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
and Howard Darrick Mason, III


1 Global Capital LLC v. Tsavo Transporters LLC and Samuel Nganga Mwangi                  16-020491-CACE                Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. Elk Creek Landscaping LLC and Kathryn Ann Edwards                16-024137-COCE                CC Equity > $5,000 - $15,000     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Tim the Toolman Inc and Timothy Tyler                            16-022816-COCE                CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Friendly Shuttle & Delivery Inc and Omar O'Connell               16-019377-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Evolution Auto Inc and Ihor V Havryliv                           16-022520-COCE                CC Damages >$5,000 - $15,000     Broward County Circuit Court       Pending



1 Global Capital LLC v. Pilkinton Painting Co Inc and Daniel Pilkinton                   16-019198-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Classco Realty Corp and Robert L Lyons, Jr.                      16-019178-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. DAC Foods DBA Chef Dans Southern and Daniel Carter               16-019175-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Prime Transport, LLC and Sixto Vargas                            16-018664-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. R & S Oil Company Inc and Brian J Brooks                         16-018661-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Trotter Elite Auto Co LLC and John Trotter                       16-021697-COCE                CC Damages >$5,000 - $15,000     Broward County Circuit Court       Pending



1 Global Capital LLC v. Florida Executive Security and Heniy Lee Dixon                   16-021670-COCE                CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Get It Here Inc and Rebecca Waling                               16-018444-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Sullivan Health Mgmt Group LLC and Roderic Bain                  16-018423-CACE                Contract and Indebtedness        Broward County Circuit Court       Pending



1 Global Capital LLC v. Joshua R Newman Agricultural and Joshua Newman                   16-021270-COCE                CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. DVC Experts Inc and Janett Fernandez                             16-017927-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Magnus Construction Services Inc and Ricky Simpson               16-017913-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Ikonic Dance Atlanta Inc and Dennis Wimberly                     16-017840-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. DKG LLC DBA Rebel Drive In DBA Rebel Restaurant and David
                                                                                         16-020718-COCE                CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered
Green


1 Global Capital LLC v. Hayes Consulting LLC and Michael Hayes                           16-020474-COCE                CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. BFG & Associates DBA AB Realty Investments and Benjamin Guy
                                                                                         16-020748-COCE                Contract and Indebtedness        Broward County Circuit Court       Pending
Doing Business As AB Realty Investments

1 Global Capital LLC v. Caledonia Landscaping & Lawncare LLC and Eric E Binnert and
                                                                                         16-017248-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Kathleen A Hill

1 Global Capital LLC d/b/a 1st Global Capital LLC v. Freedom Home Health, Brett Lybrook,
                                                                                         16-017018-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposed
and Michelle Lybrook

1 Global Capital LLC v. Solar Wind Energy Systems LLC and Jamie Donaghe and Billy
                                                                                         16-017042-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered
Hamilton


1 Global Capital LLC v. 1st Class Realty LLC DBA 1st Class Realty and Serge Atiya        16-017028-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Freedom Home Health and Brett Lybrook and Michelle Lybrook       16-017018-CACE                Contract and Indebtedness        Broward County Circuit Court       Disposition Entered




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1 Global Capital LLC
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                                            Case Title                                           Case Number                        Nature of Matter                    Court or Agency      Status of Case

1 Global Capital LLC v. Namora Trading Inc and Khamed Beira                                16-016701-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. P Rojas Contractors Inc and Juan Guzman                            16-016532-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Sctienda USA LLC and Rene Gonzalez                                 16-016527-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Superior Builders,LLC and Jeremy Chad Milinar                      15-005127-COSO              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. E-Style Holdings LLC and Anthony Essence                           16-016181-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Superior Field Services Inc and Richard Reyes                      16-016177-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. USA Restaurant Inc DBA The PHO House Dallas/Galleria and Jeffrey
                                                                                         16-016144-CACE                Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Love


1 Global Capital LLC v. Niemann General Contractor Builder LLC and Erich Niemann           16-015919-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. and Carlin Miller                                                  16-015918-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Vinson Construction LLC and Michael Vinson                         16-015909-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Corporate Portfolio Mgmt Solutions and Terry Tomlinson             16-015267-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Eagle Construction & Contracting and Randall Bird                  16-015262-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. H4 Excavating LLC and Jerry M Burns                                16-016907-COCE              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. A Production Cleaning Co Inc DBA A Production Building Services
                                                                                           16-006197-COSO              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Pending
and Juanita Bycraft-Walker

1 Global Capital LLC v. Cobalt International LLC and Marckensie Theresias and Arthur
                                                                                           16-014293-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Watson


1 Global Capital LLC v. Symo Corp and Sherif Kassem                                        16-014273-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Hawtera Enterprise Inc DBA Texas Painting Company and Jeff
                                                                                           16-014266-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Hawken


1 Global Capital LLC v. One More Transport LLC and Sheri Calloway                          16-014253-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC/1 West Capital LLC and Vanguard Companies LLC and Ani Ghazaryan       16-014227-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. JLM Equipment Inc and John Mentz                                   16-015425-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Meadows Organics Inc DBA American Farmers Network and Irina
                                                                                           16-013955-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Protasov


1 Global Capital LLC v. A2B Delivery Inc and Andrew Beers and Marc Kleyman                 16-016202-COCE              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Oklahoma Spirit Academy and Will Strother                          16-013656-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Kidzz Palace and Erika Aziegre                                     16-015180-COCE              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Pending



1 Global Capital LLC v. La Una Cafe & Deli and Rabih Kassab                                16-014674-COCE              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Carons Equipment Sale And Service Inc and Chad Caron and Sarah
                                                                                           16-012614-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending
D Caron


1 Global Capital LLC v. Dave Brothers and Vibhyti Dave                                     16-012152-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Allstar Towing Repair and George Hildreth                          16-011784-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Allred Quality Exteriors LLC and William Ronald Allred             16-012862-COCE              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Kingdom Kare Learning Center and Shamso Hassan                     16-011120-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Fast Forward Transportation Inc and Edward Clark and Nakia Clark   16-011112-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending




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1 Global Capital LLC
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                                         Case Title                                              Case Number                        Nature of Matter                    Court or Agency      Status of Case

1 Global Capital LLC v. DW Transportation and David Welch                                  16-011110-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. C & W Development & Construction and Jesse Callis and Burton
                                                                                           16-009697-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Wheeler


1 Global Capital LLC v. Taffanelli Transport LLC and Xavier Taffanelli                     16-003490-COSO              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Florida Donut Partners LLC DBA So Nuts Donuts & Deli and David
                                                                                           16-009615-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered
Burke and Lynn Burke


1 Global Capital LLC v. Kingfish Group LLC DBA Confessional and Erika Fisher               16-009561-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Solar Wind Energy Systems Llc and Jamie Donaghe                    16-008927-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. All Metro Ambulance LLC and Victoria Kupriyanov                    16-009566-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. GRH Enterprises and George Hildreth                                16-009519-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Environment & Energy Group Inc and John Brink                      16-009028-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. VC Enterprises and Vaughn Colter                                   16-009021-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Jaber Oil & Gas DBA Finksburg Crown and Makram Naslah              16-009016-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Optionology LLC DBA Optionology/PHP and Symone Amani               16-003213-COSO              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Edward D Powers DBA Powers Drywall and Insulation Inc              16-008976-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. J&N International Inc and Senyu Dong                               16-008953-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Hour of Change Fitness and Nnamdi Ugbaja                           16-008275-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. MCK William Construction and William Orlando Sanchez               16-008114-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Enterprise Communications Services and Shaun Bloyer                16-007870-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Special Dollar Discount Corp and Lidia Fals                        16-007834-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Derrick Murray DBA Boardfetish a sole proprietorship and Derrick
                                                                                           16-002782-COSO              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Disposition Entered
Murray

1 Global Capital LLC v. Intact Integration Inc DBA 31 Cabling A Texas Corporation and
                                                                                           16-002665-COSO              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Disposition Entered
Heidi Cottingham and Timothy Cottingham


1 Global Capital LLC v. T & K Carriers LLC and Melvin Douglas Salone, III                  16-002653-COSO              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Tug Away Towing LLC and Mark Mecum                                 16-007598-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Casablanca Custom Design Inc and Ricardo Galindo                   16-006756-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Mint Cafe LLC DBA Cafe Lounge and Mohamed Abdi                     16-002315-COSO              CC Damages >$5,000 - $15,000    Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Best Deal on Security Inc and Rala Lauser                          16-006780-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Keralis Inter Inc and Marianela Duran and Alhai Eng                16-006767-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Blade Buster LLC DBA Blade Buster and Reginald Richardson          16-006730-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Capital One Health Care Consultants Corp and Beatriz Correon and
                                                                                         16-006682-CACE                Contract and Indebtedness       Broward County Circuit Court       Pending
Sonia Rodriguez


1 Global Capital LLC v. Quality Care Developmental and Tara White and Tito White           16-006380-CACE              Contract and Indebtedness       Broward County Circuit Court       Pending



1 Global Capital LLC v. Sook Corp DBA Super Mart and Mohammad Shahbaz                      16-005412-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Bohannon Oil Services and Reynaldo Peralez                         16-004501-CACE              Contract and Indebtedness       Broward County Circuit Court       Disposition Entered




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1 Global Capital LLC
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                                           Case Title                                             Case Number                        Nature of Matter                                 Court or Agency      Status of Case

1 Global Capital LLC d/b/a 1st Global Capital LLC v. Innovative Health Systems Inc., and
                                                                                           16-004425-CACE              Contract and Indebtedness                     Broward County Circuit Court       Reopen
Jeremy Ebeling


1 Global Capital LLC d/b/a 1st Global Capital LLC v. HDI Plastics, Inc. and Kenneth Brimmer 16-004459- CACE            Contract and Indebtedness                     Broward County Circuit Court       Disposed


1 Global Capital LLC v. Elaine E Home Furnishings and Robert Eccleston and Gervaise
                                                                                           16-004465-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered
Hylton


1 Global Capital LLC v. HDI Plastic Inc and Kenneth Brimmer                                16-004459-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Quality Landscape & Design Ct LLC and Kelly Engaldo and David
                                                                                           16-004202-CACE              Contract and Indebtedness                     Broward County Circuit Court       Pending
Quintin


1 Global Capital LLC v. Car Dents and Mikal Sanchez                                        16-003479-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Taylor's Rolling Thunder Construction and Gerald Taylor            16-000908-COSO              CC Damages >$5,000 - $15,000                  Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Christian Leader's Club and Christopher Kim                        16-000903-COSO              CC Damages >$5,000 - $15,000                  Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. MIA Cleaning Specialist LLC and Chris Bates and Javier Vazquez     16-002494-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. KAASI INC DBA Upper Deck Sports Bar & Grill and Kimberly Jean
                                                                                           16-000881-COSO              CC Damages >$5,000 - $15,000                  Broward County Circuit Court       Disposition Entered
Isaak


1 Global Capital LLC v. A Complete Cleaning Service and Kathy Tuttle                       16-001886-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Surface Quest LLC and Jean Ah Munroe                               16-001490-CACE              Contract and Indebtedness                     Broward County Circuit Court       Pending



1 Global Capital LLC v. Dezca Enterprises Inc and Belinda Castrillo and Marvin Castrillo   16-001464-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Transparent Mental Health Inc and Joe Scott                        16-000882-COSO              CC Damages >$5,000 - $15,000                  Broward County Circuit Court       Pending



1st Global Capital LLC v. J Leroy Charity Funeral Home Inc and Joseph L Charity            16-001725-COSO              CC Damages >$5,000 - $15,000                  Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Rosa International Group and Pablo Rosa, Jr.                       16-001242-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Healthy & Natural Trading LLC and Marcelo Lucena                   16-001711-COCE              CC Damages >$5,000 - $15,000                  Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Healthy and Natural Trading LLC and Marcelo Lucena                 16-000837-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Jason Garland DBA WNY Recovery & Towing                            16-000777-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Kent C Ellington                                                   15-022136-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Electronic Trade USA Inc and Kharon Rayford                        15-022993-COWE              CC Damages >$5,000 - $15,000                  Broward County Circuit Court       Pending



1 Global Capital LLC v. Crowe Contracting, Inc and Jayson Crowe                            15-021304-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. Greater Bethlehem Temple Ministries of Newnan, GA, Inc DBA
                                                                                           15-021269-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered
Greater Bethlehem Temple Ministries and Albert Jackson Jr. AKA Albert Jackson


1 Global Capital LLC v. GM Financial Center Inc and George Morcos                          15-025243-COCE              CC Damages >$5,000 - $15,000                  Broward County Circuit Court       Disposition Entered


                                                                                                                       Small Claims - Credit Card Debt
1 Global Capital LLC v. Ronald Bredlau DBA Next to Nature Landscape                        15-022642-COWE                                                            Broward County Circuit Court       Disposition Entered
                                                                                                                        - Credit Card Debt Damages > $500 - $2,500

                                                                                                                       Small Claims + - Damages
1 Global Capital LLC v. Stacy Cervantez DBA Certified Maid and Janitorial Services         15-022314-COWE                                                            Broward County Circuit Court       Disposition Entered
                                                                                                                       >$2,500 - $5,000

                                                                                                                       Small Claims + - Damages
1 Global Capital LLC v. Pure Organic Life Inc and Ivan Rincon                              15-022285-COWE                                                            Broward County Circuit Court       Disposition Entered
                                                                                                                       >$2,500 - $5,000


1 Global Capital LLC v. Johan's Trucking, Inc and Johan N Vinas                            15-023654-COCE              CC Damages >$5,000 - $15,000                  Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. SF Seguros Corp and Francisco Santos                               15-023649-COCE              CC Damages >$5,000 - $15,000                  Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Antonio Jointer DBA Mechanical Plumbing                            15-023623-COCE              CC Damages >$5,000 - $15,000                  Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. EZ Access Inc DBA L.I Finest and Ethan Zeb Jawad                   15-019394-CACE              Contract and Indebtedness                     Broward County Circuit Court       Disposition Entered




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1 Global Capital LLC v. WRP & Assoc, Inc and William Perry                                15-019282-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Xerveo LLC and REMY EL-BATRAWI                                    15-019279-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Marquiel Tailors LLC and Jerwin Marquiel Spigner                  15-019269-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Affordable Handyman, LLC and Jay H Warner                         15-023448-COCE               CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered


1 Global Capital LLC v. IMRC, LLC and VICTORIA CONSTANCE BORISOVNA and MOSEN
                                                                                          15-005425-COSO               CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered
MICHAEL DEFRAWY


1 Global Capital LLC v. Custom Cool LLC and Eliza Tepper-Gatfield                         15-017111-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Angel Sistemas CA Corp and Idamian Aguila                         15--017098-CACE              Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Bella Cleaning & Carting LLC and Benjamin E Raabe                 15-016940-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Epic Stop In, LLC and Ahmed Yehia Elsayed                         15-016818-CACE               Contract and Indebtedness        Broward County Circuit Court       Pending


1 Global Capital LLC v. STEADY RIDER BUSLINES, INC DBA STEADY RIDER BUS and Colum J
                                                                                    15-005006-COSO                     CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered
Flaherty


1 Global Capital LLC v. Red Brush Services and Gent Kumi and Kristina Kumi                15-014967-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Swift Trucking Inc and Errol H Sadler                             15-014961-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered



1 Global Capital LLC v. Elko Auto Svc, LLC and Theodore Thompson                          15-014878-CACE               Contract and Indebtedness        Broward County Circuit Court       Disposition Entered


1 Global Capital LLC d/b/a 1st Global Capital LLC v. CCME Transport Logistices and Amin
                                                                                          15-013225-CACE               Contract and Indebtedness        Broward County Circuit Court       Reclosed
Akida

1 Global Capital LLC v. Rand Street Construction LLC NKA Rand Street Construction Inc and
                                                                                          15-004554-COSO               CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered
Cleveland McRae


1 Global Capital LLC v. HDR MARKETING LLC and DeCarlos Garrett and Marcus A Small         15-004553-COSO               CC Damages >$5,000 - $15,000     Broward County Circuit Court       Disposition Entered



1st Global Capital LLC v. Genlab Corporation and Alejandro Pabriaga                       15-006181-COCE               CC Damages >$5,000 - $15,000     Broward County Circuit Court       Pending



1st Global Capital, LLC v. Triple HHH LLC, d/b/a Dog Hut and Sean Carey                   17-32973-COCI                Breach of Stipulation            Volusia County Court               Closed


Top 2 Bottom Construction Group, Inc., Mohamed Kassase, and Justin Crump v. 1st Global
                                                                                       17-CA-008069-O                  Unurious Contract                Orange County Circuit Court        Pending
Capital, LLC




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1 Global Capital LLC
SOFA 9 - Certain Gifts and Charitable Contributions



                                      Relationship
         Recipient's Name              to Debtor                    Description of the gifts          Dates Given  Value
Aventura Turnberry Jewish Center                      Donation                                          02/27/17 $ 2,083.37
Aventura Turnberry Jewish Center                      Donation                                          03/17/17    2,083.37
Aventura Turnberry Jewish Center                      Donation                                          03/31/17    2,083.29
Aventura Turnberry Jewish Center                      Donation                                          05/05/17    2,803.33
Aventura Turnberry Jewish Center                      Donation                                          06/05/17    2,803.33
Aventura Turnberry Jewish Center                      Donation                                          07/07/17      643.33
Aventura Turnberry Jewish Center                      Donation                                          08/15/17    2,083.33
Aventura Turnberry Jewish Center                      Donation                                          09/01/17    2,083.33
Aventura Turnberry Jewish Center                      Donation                                          10/02/17    2,083.33
Aventura Turnberry Jewish Center                      Donation                                          11/01/17    2,083.33
Aventura Turnberry Jewish Center                      Donation                                          12/01/17    2,083.33
Aventura Turnberry Jewish Center                      Donation                                          01/02/18    2,083.33
Aventura Turnberry Jewish Center                      Donation                                          04/25/18   25,000.00
                                                                                                                   50,000.00
Green Growth & Travelism Institute                    Donation                                          12/13/17     5,000.00
Green Growth & Travelism Institute                    Donation                                          11/14/17     5,000.00
Green Growth & Travelism Institute                    Donation                                          10/11/17     5,000.00
Green Growth & Travelism Institute                    Donation                                          09/18/17     5,000.00
Green Growth & Travelism Institute                    Donation                                          07/11/17     5,000.00
Green Growth & Travelism Institute                    Donation                                          05/30/17     5,000.00
Green Growth & Travelism Institute                    Donation                                          04/19/17     5,000.00
Green Growth & Travelism Institute                    Donation                                          03/29/17     5,000.00
Green Growth & Travelism Institute                    Donation                                          02/08/17     5,000.00
Green Growth & Travelism Institute                    Donation                                          12/20/16     5,000.00
Green Growth & Travelism Institute                    Donation                                          10/21/16     5,000.00
Green Growth & Travelism Institute                    Donation                                          08/15/16     5,000.00
Green Growth & Travelism Institute                    Donation                                          07/17/18     5,000.00
Green Growth & Travelism Institute                    Donation                                          05/31/18     5,000.00
Green Growth & Travelism Institute                    Donation                                          04/25/18     5,000.00
Green Growth & Travelism Institute                    Donation                                          03/27/18     5,000.00
Green Growth & Travelism Institute                    Donation                                          03/06/18     5,000.00
Green Growth & Travelism Institute                    Donation                                          02/05/18     5,000.00
Green Growth & Travelism Institute                    Donation                                          01/03/18    15,000.00
                                                                                                                   105,000.00




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1 Global Capital LLC
SOFA 9 - Certain Gifts and Charitable Contributions



                                      Relationship
          Recipient's Name             to Debtor                       Description of the gifts              Dates Given      Value
GreenEarth.travel SPRL                                International Advisor Services                           10/21/16        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           12/20/16        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           02/08/17        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           03/08/17        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           03/27/17        2,281.00
GreenEarth.travel SPRL                                International Advisor Services                           03/29/17        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           04/19/17        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           05/30/17        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           07/11/17        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           09/18/17        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           10/11/17        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           11/14/17        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           12/13/17        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           01/03/18       15,000.00
GreenEarth.travel SPRL                                International Advisor Services                           02/05/18        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           03/06/18        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           03/22/18       20,000.00
GreenEarth.travel SPRL                                International Advisor Services                           03/27/18        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           04/25/18        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           05/31/18        5,000.00
GreenEarth.travel SPRL                                International Advisor Services                           07/17/18        5,000.00
                                                                                                                             127,281.00
Susan G Komen for the Cure                            Donation                                                 09/27/17        1,500.00
Susan G Komen for the Cure                            Donation                                                 09/27/16        1,000.00
                                                                                                                               2,500.00
Jeffrey Wendel                                        Gift on behalf of Carl Ruderman                          01/31/17        3,000.00
Unknown                                               25 piece carmel boxes                                    12/12/16        1,888.00
Unknown                                               Wine.com gifts                                           12/08/16        1,310.05
Various ISO                                           Winn Dixie gift card                                     02/06/17        1,286.65
Various Lenders                       Lender          Holiday gift - Harry & David                             12/14/17        4,264.50
Various Lenders                       Lender          Holiday gift - Harry & David                             12/15/17        2,708.07
Various Lenders                       Lender          Holiday gift - Harry & David                             12/16/17        1,368.18
Various lenders                       Lender          20 Platinum Finish Mont Blanc - Agents Holiday Gifts     11/09/17        7,062.00
Grand Total                                                                                                                $ 307,668.45




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1 Global Capital LLC
SOFA 30 - Payments, distributions or withdrawals to insiders


                  Payee                  Date        Amount                              Description

Mercedes-Benz Financial Services       01/01/18 $     1,116.69     Automobile lease payment on behalf of Carl Ruderman
Mercedes-Benz Financial Services       02/01/18       1,116.69     Automobile lease payment on behalf of Carl Ruderman
Mercedes-Benz Financial Services       03/16/18       1,116.69     Automobile lease payment on behalf of Carl Ruderman
Mercedes-Benz Financial Services       04/16/18       1,116.69     Automobile lease payment on behalf of Carl Ruderman
Mercedes-Benz Financial Services       05/16/18       1,116.69     Automobile lease payment on behalf of Carl Ruderman
Mercedes-Benz Financial Services       06/18/18       1,116.69     Automobile lease payment on behalf of Carl Ruderman
Mercedes-Benz Financial Services       07/16/18       1,116.69     Automobile lease payment on behalf of Carl Ruderman
                                                      7,816.83
Jiang Chao                             02/23/18      25,832.59     Cryptocurrency purchase
Jiang Chao                             02/23/18      15,642.73     Cryptocurrency purchase
Jiang Chao                             02/23/18      19,487.52     Cryptocurrency purchase
Jiang Chao                             02/23/18      21,583.28     Cryptocurrency purchase
Jiang Chao                             02/23/18       9,945.88     Cryptocurrency purchase
                                                     92,492.00
Tiago Fernandes                        02/23/18       4,786.00 Cryptocurrency purchase
Tiago Fernandes                        02/23/18       3,828.00 Cryptocurrency purchase
                                                      8,614.00
TraNexus Ireland LTD 7209              05/10/18      61,014.05 Cryptocurrency purchase
                                                     61,014.05

Grand Total                                       $ 169,936.88




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